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                                        #:396


 1   Michael I. Katz (CA State Bar No. 181728)
        mkatz@mabr.com
 2
     Charles S. Barquist (CA State Bar No. 133785)
 3      cbarquist@mabr.com
     Jared J. Braithwaite (CA State Bar No. 288642)
 4
        jbraithwaite@mabr.com
 5   M ASCHOFF B RENNAN
     100 Spectrum Center Drive, Suite 1200
 6
     Irvine, California 92618
 7   Telephone: (949) 202-1900
     Facsimile: (949) 453-1104
 8
 9   Attorneys for Defendant L ITRINIUM , I NC .
10                           UNITED STATES DISTRICT COURT
11                         CENTRAL DISTRICT OF CALIFORNIA
12                                     SOUTHERN DIVISION
13    MACOM Technology Solutions Inc.,                  Case No. 8:19cv-00220-JVS-JDE
14    a Delaware corporation;
      Mindspeed Technologies, S.A.S., a                Declaration of Michael I. Katz in
15    French corporation,                              Support of Defendant Litrinium,
                                                      Inc.’s Motion to Dismiss Plaintiffs’
16                       Plaintiffs;                       First Amended Complaint
17
            v.                                     Assigned to: Hon. James V. Selna
18                                                 Trial Date:   None set
      Litrinium, Inc., a Delaware corporation;     Hearing Date: June 3, 2019, 1:30 p.m.
19    Jerome Garez, an individual; and
20    Does 1 through 20, inclusive,
21                       Defendants.
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                                        #:397


 1                         DECLARATION OF MICHAEL I. KATZ
 2        I, Michael I. Katz, declare as follows:
 3        1.   I am an attorney licensed to practice law in all courts in the State of California
 4   and am admitted to practice before the United States District Court, Central District of
 5   California. I am a partner in the law firm of Maschoff Brennan Laycock Gilmore
 6   Israelsen & Wright, PLLC, and one of the attorneys responsible for the representation of
 7   Defendant Litrinium, Inc. in this matter. I make this declaration of my own personal
 8   knowledge, unless the context indicates otherwise, and, if called as a witness, I could and
 9   would testify competently to the facts stated herein. This declaration is submitted in
10   support of Defendant Litrinium Inc.’s Motion to Dismiss Plaintiffs’ First Amended
11   Complaint.
12        2.   Attached hereto as Exhibit 1 is a true and correct copy of a datasheet entitled
13   “CMOS Transimpedance Amplifier with AGC for Fiber Optic Networks up to 622
14   Mbps,” which is available from MACOM’s website at the following address:
15   https://cdn.macom.com/datasheets/M02011.pdf.
16        3.   Attached hereto as Exhibit 2 is a true and correct copy of a document entitled
17   “Optoelectronics & Photonics,” which is available from MACOM’s website at the
18   following address:
19   https://www.macom.com/files/live/sites/ma/files/pdf/OptoBrochure_2018_072518_lr.pdf.
20        4.   Attached hereto as Exhibit 3 is a true and correct copy of U.S. Patent
21   No. 5,343,160, entitled “Fully Balanced Transimpedance Amplifier with Low Noise and
22   Wide Bandwidth,” issued on August 30, 1994, and which was initially assigned to
23   TriQuint Semiconductor, Inc.
24        5.   Attached hereto as Exhibit 4 is a true and correct copy of U.S. Patent
25   No. 5,602,510, entitled “Automatic Transimpedance Control Amplifier Having a
26   Variable Impedance Feedback,” issued on February 11, 1997, and which was initially
27   assigned to Anadigics, Inc.
28

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 1        6.   Attached hereto as Exhibit 5 is a true and correct copy of U.S. Patent
 2   No. 5,646,573, entitled “Automatic Gain-Control Transimpedance Amplifier,” issued on
 3   July 8, 1997, and which was initially assigned to Anadigics, Inc.
 4        7.   Attached hereto as Exhibit 6 is a true and correct copy of U.S. Patent
 5   No. 6,084,478, entitled “Transimpedance Amplifier with Automatic Gain Control,”
 6   issued on July 4, 2000, and which was initially assigned to Vitesse Semiconductor Corp.
 7        8.   Attached hereto as Exhibit 7 is a true and correct copy of U.S. Patent
 8   No. 6,504,429, entitled “Wide Dynamic Range Transimpedance Amplifier,” issued on
 9   January 7, 2003, and which was initially assigned to Sirenza Microdevices, Inc.
10        9.   Attached hereto as Exhibit 8 is a true and correct copy of U.S. Patent
11   No. 7,605,660, entitled “Linear Multi-stage Transimpedance Amplifier,” issued on
12   October 20, 2009, and which was initially assigned to RF Micro Devices, Inc.
13        10. Attached hereto as Exhibit 9 is a true and correct copy of U.S. Patent
14   No. 8,509,629, entitled “High Sensitivity Two-Stage Amplifier,” issued on
15   August 13, 2013, and which was initially assigned to Mindspeed Technologies, Inc.
16        11. Attached hereto as Exhibit 10 is a true and correct assignment record for the
17   U.S. Patent No. 8,509,629, attached as Exhibit 9, which shows MACOM Technology
18   Solutions Holdings, Inc. as the current assignee, and which was retrieved by the publicly
19   available assignment information on the website for the U.S. Patent and Trademark
20   Office.
21        12. Attached hereto as Exhibit 11 is a true and correct copy of U.S. Patent
22   No. 9,030,263, entitled “Transimpedance Amplifier (TIA) Circuit and Method,” issued
23   on May 12, 2015, and which was initially assigned to Avago Technologies General IP
24   (Singapore) Pte. Ltd.
25        13. Attached hereto as Exhibit 12 is a true and correct copy of U.S. Patent
26   No. 9,577,753, entitled “Transimpedance Amplifier,” issued on February 21, 2017, and
27   which was initially assigned to Sumitomo Electric Industries, Ltd.
28

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     Case 8:19-cv-00220-JVS-JDE Document 35-1 Filed 05/06/19 Page 4 of 230 Page ID
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 1        14. Attached hereto as Exhibit 13 is a true and correct copy of U.S. Patent
 2   Application Publication No. 2004/0129862, entitled “Wideband Transimpedance
 3   Amplifier with Automatic Gain Control,” which was published on July 8, 2004.
 4        15. Attached hereto as Exhibit 14 is a true and correct copy of U.S. Patent
 5   Application Publication No. 2005/0200421, entitled “Transimpedance Amplifier with
 6   Differential Peak Detector,” and which was published on September 15, 2005.
 7        16. Attached hereto as Exhibit 15 is a true and correct copy of U.S. Patent
 8   Application Publication No. 2017/0026011, entitled “Transimpedance Amplifier with
 9   Bandwidth Extender,” published on January 26, 2017, and which was initially assigned to
10   Mindspeed Technologies, Inc.
11        17. Attached hereto as Exhibit 16 is a true and correct assignment record for the
12   U.S. Patent Application Publication No. 2017/0026011, attached as Exhibit 13, which
13   shows MACOM Technology Solutions Holdings, Inc. as the current assignee, and which
14   was retrieved by the publicly available assignment information on the website for the
15   U.S. Patent and Trademark Office.
16
17        I declare under penalty of perjury under the laws of the United States of America
18   that the foregoing is true and correct, and that this Declaration was executed on the 6th
19   day of May, 2019, at Irvine, California.
20
21                                              By: /s/ Michael I. Katz
22                                                  Michael I. Katz

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                    EXHIBIT 1




                                                              Exhibit 1, Page 5
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                                            #:401
    M02011
    CMOS Transimpedance Amplifier with AGC
    for Fiber Optic Networks up to 622 Mbps                                                                                                                                Rev V5



    Applications                                                                             Features
    • APON                                                                                   • Typical –34 dBm sensitivity, +6 dBm saturation at 622 Mb/s when used with 0.9
    • BPON                                                                                     A/W InGaAs PIN.
                                                                                               (Cpd ≤ 0.5 pF, BER 10–10)
    • ATM/SONET
                                                                                             • Typical differential transimpedance: 65 kΩ
                                                                                             • Fabricated in standard CMOS
                                                                                             • Differential output
                                                                                             • Standard +3.3 Volt supply
                                                                                             • Available in die form only
                                                                                             • Monitor output
                                                                                             • AGC provides dynamic range of 40 dB
                                                                                             • Internal or external bias for photodiode
                                                                                             • PIN or APD sensor
                                                                                             • Same pad layout and die size as M02013/14/15/16

    The M02011 is a CMOS transimpedance amplifier with AGC. The AGC gives a wide dynamic range of 40 dB. The
    high transimpedance gain of 66 kΩ ensures good sensitivity.
    For optimum system performance, the M02011 die should be mounted with a GaAs or InGaAs PIN photodetector
    inside a lensed TO-Can or other optical sub-assembly.
    The M02011 can either bias the PIN diode from the internal regulator, or use an externally biased PIN diode.
    A replica of the average photodiode current is available at the MON pad for photo-alignment and 'Loss of Signal'
    monitoring.

                                                                         Typical Applications Diagram

                                                                   1 nF                     VCC



                                             470 pF
                                                                                                            Typically
                                                                                                          AC-Coupled
                                                                                                           to Limiting
                                                                                                            Amplifier
                                                                   PINK
                                                                                             DOUT
                                                                                                                                      Limiting
                                                                                M02011                                                Amplifier
                                                                   PINA
                                                                                            DOUTB
                                                                                          Monitor Output
                                                                                         Rm


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                                            #:402
    M02011
    CMOS Transimpedance Amplifier with AGC
    for Fiber Optic Networks up to 622 Mbps                                                                                                                                   Rev V5



    Ordering Information
                          Part Number                                                  Package                                             Operating Temperature
                            M02011-XX*                                                Waffle Pack                                              –40 °C to 95 °C
                            M02011-XX*                                     Expanded whole wafer on a ring                                      –40 °C to 95 °C
     NOTE:
     *For full ordering number please contact sales



    Revision History
      Revision                Level                        Date                                                         Description
          V5                Released                     May 2015     Updated logos and page layout. No content changes.
        D (V4)              Released                    August 2007   Production release. Revised Absolute Maximum Ratings Table, Table 1-1.
        C (V3)              Released                     May 2007     Production release. Increased max operating temperature, updated specifications based on full
                                                                      device characterization and included information on assembly, IMON and using the device with
                                                                      externally biased detectors in the Applications Information section.




                                    Top Level Diagram                                                                           Pad Configuration


                              PINK           MON             VCC                                                                      1         12
                                                                                                                           2                               11

                                                                                                                          VCC        AGC      DOUT     DOUTGND           10


                                                                                                             3    PINK                                            GND

                                                                           DOUT

        PINA
                                                                                                             4   PINA                                            GND
                                                                            DOUTB
                                                                                                                          VCC       MON       DOUT     DOUTGND            9

                                                                                                                           5          6         7          8



                               AGC                          GND                                      Die size ≈ 1090 x 880 µm
2
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    CMOS Transimpedance Amplifier with AGC
    for Fiber Optic Networks up to 622 Mbps                                                                                                                                     Rev V5




    1.0 Product Specification

    1.1                            Absolute Maximum Ratings
    These are the absolute maximum ratings at or beyond which the IC can be expected to fail or be damaged.
    Reliable operation at these extremes for any length of time is not implied.

    Table 1-1.               Absolute Maximum Ratings
           Symbol                                                      Parameter                                                            Rating                       Units
              VCC          Power supply (VCC-GND)                                                                                          -0.4 to +4                      V
               TA          Operating ambient                                                                                               -40 to +95                      °C
             TSTG          Storage temperature                                                                                            -65 to +150                      °C
               IIN         PINA Input current                                                                                                8 (1, 2)                    mAPP
             VPINA         Maximum input voltage at PINA                                                                                -0.4 to +2.0 (2)                   V
             IPINK         Maximum average current sourced out of PINK                                                                         10                         mA
      VPINK, VDout,        Maximum input voltage at PINK, Dout, DoutB, AGC and MON                                                      -0.4 to Vcc +0.4                   V
      VDoutB,VAGC,
         VMON
          IDout, IDoutB    Maximum average current sourced out of Dout and DoutB                                                               10                         mA
     NOTES:
     1.       Equivalent to 4.9 mA average current.
     2.       Do not exceed either the IIN or VPINA rating. PINA damage will result in performance degradation which is difficult to detect.




    1.2                            Recommended Operating Conditions
    Table 1-2.               Recommended Operating Conditions
           Symbol                                                        Parameter                                                             Rating                    Units
              VCC          Power supply (VCC – GND)                                                                                          3.3 ± 10%                     V
              CPD          Max. Photodiode capacitance (Vr = 1.8 V), for 622 Mbps data rate                                                       1.0                      pF
               TA          Operating ambient temperature                                                                                     –40 to +95                    °C




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                                             #:404
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    for Fiber Optic Networks up to 622 Mbps                                                                                                                                Rev V5


    1.3                           DC Characteristics
    Table 1-3.              DC Characteristics
            Symbol                                                     Parameter                                    Min.           Typ.               Max.             Units
               VB              Photodiode bias voltage (PINK – PINA)                                                1.7              2.0              2.2                 V
              VCM              Common mode output voltage                                                           0.7               1               1.3                 V
               ICC             Supply current (no loads)                                                             20               28               35                mA
             RLOAD             Recommended differential output loading                                              85            100 (1)              —                 W
     NOTE:
     1.    100Ω is the load presented by the limiting amplifier.




    1.4                           AC Characteristics
    Table 1-4.              AC Characteristics
          Symbol                                Parameter                                       Condition                      Min.           Typ.(1)         Max.            Units
             ROUT            Output impedance (single ended)                                                                    30              50              70              W
             LFC             Low frequency cutoff (2)                                                                           —               13              17              kHz
              VD             Differential output voltage                           100Ω differential load                       —               250            450              mV
             DCD             Duty cycle distortion (3)                             622 Mbps                                     —                —              80              ps
              DJ             Deterministic jitter (includes DCD) (3)               622 Mbps, 223 – 1 PRBS                       —                —             120            psPP
             PDJ             Pattern Dependant Jitter (at crossing point), 622 Mbps, 223 – 1 PRBS                               —                —              55            psPP
                             with no DCD
                             Total input RMS noise                                 DC to 467 MHz (Bessel Filter),               —               50              60              nA
                                                                                   Cin = 0.5 pF
            In, rms
                             Total input RMS noise                                 DC to 467 MHz (Bessel Filter),               —               56              70              nA
                                                                                   Cin = 1 pF
       PIN_mean_min          Optical Sensitivity (4)                                                                            –33             –34             —               dBm
                                                        (5)
           Imon_off          Monitor Output Offset                                 VMON = 0 to 2V                               —                —             1.3              µA
                                                               (5)
          Imon_ratio         Monitor Output Gain Ratio                             VMON = 0 to 2V                               —               0.7             —               —
                                                              (3, 5)
          Imon_error         Monitor Output Accuracy                               VMON = 0 to 2V                               —                —             ±2               dB
     NOTES:
     1.    Die designed to operate over an ambient temperature range of –40°C to +85°C, TA and VCC range from 3.0 – 3.6V. Typical values are tested at
           TA = 25° C and VCC = 3.3V.
     2.    Input –33 dBm, Extinction Ratio = 10, Temp = 25°C.
     3.    Input current < 1 mA average.
     4.    BER 10–10, PD capacitance = 0.5 pF, Responsivity 0.9 A/W, Extinction Ratio = 10, Temp = 25°C.
     5.    Offset and slope adjustment necessary to achieve rated accuracy.

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    for Fiber Optic Networks up to 622 Mbps                                                                                                                                Rev V5


    1.5                           Dynamic Characteristics
    Table 1-5.              Dynamic Characteristics
            Symbol                                             Parameter                                              Min.              Typ.             Max.             Units
                               Transimpedance
                G              • Single ended                                                                          26.5              32.5              38              kΩ
                               • Differential                                                                           53                65               76
                               Bandwidth to –3 dB point @ –33 dBm, 0.9A/W, 0.5 pF PD                                   450               600               —
               BW                                                                                                                                                         MHz
                               Bandwidth to –3 dB point @ –33 dBm, 0.9A/W, 1 pF PD                                      —                460               —
               RC              AGC loop time constant                                                                   —                 2                —                µs
              IAGC             AGC threshold                                                                            —                 5                —              µAPP
              IOVL             Maximum functional input current                                                       3.6 (1)             —                —               mA
             PSRR              Power supply rejection, f < 1 MHz                                                        —                 22               —               dB
     NOTES:
     1. Equivalent to +3.4 dBm input optical power at Extinction Ratio = 10, Responsivity = 1.0 A/W.




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    for Fiber Optic Networks up to 622 Mbps                                                                                                                                Rev V5


    1.6                                                      Typical Performance
    VCC = 3.3V, Temperature = 25°C, LIN = 1 nH, unless otherwise stated.
    Figure 1-1.                            Typical Performance Diagrams 1 of 3



                                                                     Typical Differential Transimpedance vs. VAGC


                                                            70
                         Differential Transimpedance (kΩ)




                                                            60

                                                            50

                                                            40

                                                            30

                                                            20

                                                            10

                                                            0
                                                                 0        0.5                   1                             1.5                             2
                                                                                           VAGC (V)




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    M02011
    CMOS Transimpedance Amplifier with AGC
    for Fiber Optic Networks up to 622 Mbps                                                                                                                                Rev V5


    VCC = 3.3V, Temperature = 25°C, LIN = 1 nH, unless otherwise stated.
    Figure 1-2.             Typical Performance Diagrams 2 of 3


                                                                                           M02011 Bandwidth vs . Input Capacitance
                                                                                                   3.3V, NOM, L IN = 1nH


                                                              750

                                                              700
                                      Bandwidth (MHz)




                                                              650                                                                                   T = -40ºC
                                                              600                                                                                   T = 0ºC
                                                                                                                                                    T = 27ºC
                                                              550
                                                                                                                                                    T = 85ºC
                                                              500                                                                                   T = 110ºC

                                                              450

                                                              400
                                                                         0.2       0.4                0.6                 0.8          1
                                                                                                       CIN (pF)

                                                                                               M02011 Bandwidth vs . Temperature
                                                                                                     3.3V, NOM, LIN = 1nH


                                                                     750

                                                                     700
                                                  Bandwidth (MHz)




                                                                     650
                                                                                                                                                   CIN = 0.3pF
                                                                     600                                                                           CIN = 0.5pF
                                                                     550                                                                           CIN = 0.75pF
                                                                                                                                                   CIN = 1.0pF
                                                                     500

                                                                     450

                                                                     400
                                                                             -40             10                           60               110
                                                                                               Junction Temperature (ºC)

                                                                                         M02011 Jitter Characteristics vs . I IN
                                                                                   3.3V, NOM, LIN = 1 nH, C IN = 0.5 pF, 622 Mbps
                                                                                                  (note: DJ = PDJ + |DCD|)
                                                                    60

                                                                    40

                                                                    20
                                       Jitter (ps)




                                                                                                                                                      PDJ psPP
                                                                    0                                                                                DCD ps
                                                                                                                                                     DJ psPP
                                                              -20

                                                              -40

                                                              -60
                                                                         1          10                      100                 1000       10000
                                                                                                  Input Current (μAPP )

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    CMOS Transimpedance Amplifier with AGC
    for Fiber Optic Networks up to 622 Mbps                                                                                                                                Rev V5


    VCC = 3.3V, Temperature = 25°C, LIN = 1 nH, unless otherwise stated.
    Figure 1-3.                                Typical Performance Diagrams 3 of 3



                                                                 M02011 Imon Characteristics After Calibration

                                              1600

                                              1400

                                              1200
                     Imon Current (uA)




                                              1000

                                               800

                                               600

                                               400

                                               200

                                                 0
                                                      0    200         400              600              800               1000               1200               1400
                                                                                      Input Current (uA)



                                                                      M02011 Imon Error After Calibration

                                              1.20

                                              1.00
                    Imon Error (dB Optical)




                                              0.80

                                              0.60

                                              0.40

                                              0.20

                                              0.00

                                              -0.20

                                              -0.40
                                                      0          1                 10                        100                      1000                     10000
                                                                                      Input Current (uA)




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                                           #:409
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    for Fiber Optic Networks up to 622 Mbps                                                                                                                                Rev V5




    2.0 Pin Definitions

    Table 2-1.              Pad Description
      Die Pad No                 Name                                                                       Function
             1                   AGC              Monitor or force AGC voltage
             2                    VCC             Power pin. Connect to most positive supply
             3                   PINK             Common PIN input. Connect photo diode cathode here and a 470 pF capacitor to Gnd (1)
             4                   PINA             Active PIN input. Connect to photo diode anode
             5                    VCC             Power pin. Connect to most positive supply (only one VCC pad needs to be connected)
             6                   MON              Analog current source output. Current matched to average photodiode current
             7                   DOUT             Differential data output (goes low as light increases)
             8                DOUTGND             Ground return for DOUT pad (2)
             9                   GND              Ground pin. Connect to the most negative supply (2)
            10                   GND              Ground pin. Connect to the most negative supply (2)
            11                DOUTGND             Ground return for DOUT pad (2)
            12                   DOUT             Differential data output (goes high as light increases)
            NA                 Backside           Backside. Connect to the lowest potential, usually ground
     Notes:
     1.     Alternatively the photodiode cathode may be connected to a decoupled positive supply, e.g. VCC.
     2.     All ground pads are common on the die. Only one ground pad needs to be connected to the TO-Can ground. However, connecting more than one ground
            pad to the TO-Can ground, particularly those across the die from each other can improve performance in noisy environments.




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     CMOS Transimpedance Amplifier with AGC
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     Figure 2-1.             Bare Die Layout



                                                                                  2          1         12         11

                                                                                VCC        AGC       DOUT     DOUTGND           10


                                                                    3    PINK                                           GND




                                                                    4   PINA                                            GND

                                                                                VCC        MON       DOUT    DOUTGND            9

                                                                                  5          6         7          8




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     M02011
     CMOS Transimpedance Amplifier with AGC
     for Fiber Optic Networks up to 622 Mbps                                                                                                                                Rev V5




     3.0 Functional Description

     3.1                           Overview
     The M02011 is a CMOS transimpedance amplifier with AGC. The AGC gives a wide dynamic range of 40 dB. The
     high transimpedance gain of 66 kΩ ensures good sensitivity.
     For optimum system performance, the M02011 die should be mounted with a GaAs or InGaAs PIN photodetector
     inside a lensed TO-Can or other optical sub-assembly.
     The M02011 can either bias the PIN diode from the internal regulator, or use an externally biased PIN diode.
     A replica of the average photodiode current is available at the MON pad for photo-alignment and 'Loss of Signal'
     (LOS) monitoring.

     Figure 3-1.             M02011 Block Diagram


                                                             MON




                  PINK                                       DC
                                                           Restore

                                      2.6 V

                                                                                                                                                                    DOUT
                                                                                             Phase
                  PINA                                                                                                  DC Shift
                                                                                             Splitter
                                                                                                                                                                    DOUT




                                                                                                                                                1V




                                                               AGC




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     3.2                           General Description

     3.2.1                         TIA (Transimpedance Amplifier)
     The transimpedance amplifier consists of a high gain single-ended CMOS amplifier (TIA), with a feedback resistor.
     The feedback creates a virtual earth low impedance at the input and virtually all of the input current passes through
     the feedback resistor, defining the voltage at the output. Advanced CMOS design techniques are employed to
     maintain the stability of this stage across all input conditions.
     An on-chip low dropout linear regulator has been incorporated into the design to give excellent noise rejection up to
     several MHz. Higher frequency power supply noise is removed by the external 470 pF decoupling capacitor
     connected to PINK.
     The circuit is designed for PIN photodiodes in the “grounded cathode” configuration, with the anode connected to
     the input of the TIA and the cathode connected to AC ground, such as the provided PINK terminal. Reverse DC
     bias is applied to reduce the photodiode capacitance. Avalanche photodiodes can be connected externally to a
     higher voltage.


     3.2.2                         AGC
     The M02011 has been designed to operate over the input range of +6 dBm to –34 dBm. This represents a ratio of
     1:10000 whereas the acceptable dynamic range of the output is only 1:30 which implies a compression of 333:1 in
     the transimpedance. The design uses a MOS transistor operating in the triode region as a “voltage controlled
     resistor” to achieve the transimpedance variation.
     Another feature of the AGC is that it only operates on signals greater than –26 dBm (@0.9 A/W). This knee in the
     gain response is important when setting “signal detect” functions in the following post amplifier. It also aids in active
     photodiode alignment.
     The AGC pad allows the AGC to be disabled during photodiode alignment by grounding the pad through a low
     impedance. The AGC control voltage can be monitored during normal operation at this pad by a high impedance
     (>10 MΩ) circuit.


     3.2.3                         Output Stage
     The signal from the TIA enters a phase splitter followed by a DC-shift stage and a pair of voltage follower outputs.
     These are designed to drive a differential (100Ω) load. They are stable for driving capacitive loads, such as
     interstage filters. Each output has its own GND pad, all four GND pads on the chip should be connected for proper
     operation. Since the M02011 exhibits rapid roll-off (3 pole), simple external filtering is sufficient.


     3.2.4                         Monitor O/P
     High impedance output sources a replica average photodiode current for monitoring purposes. This output is
     compatible with the DDMI Receive Power Specification (SFP-8472) and MACOM’s range of DDMI controllers.
     Ensure that the voltage on VMON is in the range of 0 to 2V. Refer to Figure 4-1.



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     4.0 Applications Information

     4.1                           Recommended Pin Diode Connections
     Figure 4-1.             Suggested PIN Diode Connection Methods

                                                                                                  1 nF              VCC



                                                                               470 pF



                                                                                                 PINK
                                                                                                                     DOUT

                                                                                                            M02011
                                                                                                 PINA
                                                                                                                    DOUTB
                                                                                                                   Monitor Output
                                                                                                                  Rm



                                                                                  Recommended Circuit

                                                                                                         1 nF               VCC



                                                                                      470 pF
                                                                                                         500 Ω

                                                                                                       470 pF
            Note:                                                                                                           DOUT
                                                                                                          PINK
            Selection   of     Rm                                                                                  M02011
            depends     on     the                                                                        PINA              DOUTB
            maximum          input
            current as detailed in                                                                                         Monitor Output
            Table 4-1.                                                                                                    Rm



                                                                Alternative Circuit - Cathode Connected to VCC
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     4.2                           Monitor Calibration
     To achieve the best monitor accuracy, both the slope and calibrated offset should be used. The offset calibration is
     achieved by measuring the dark current from the MON output. The calibrated monitor value is usually determined
     by y = mx + b or:
     IMON_CALIBRATED = (Slope * IMON_READING) + IMON_OFFSET
     Where Slope = 1/Imon_ratio (Table 1-4) = 1/0.7 = 1.43 and
     IMON_OFFSET = IINPUT@CAL – (IMON_READING@CAL * Slope)



     4.3                           Selecting the Monitor Resistor
     As described earlier the high impedance monitor output sources a replica average photodiode current for
     monitoring purposes. If detected by converting the current to a voltage through an external resistor (Figure 4-1),
     ensure that the voltage on VMON is in the range of 0 to 2V. The table below provides suggested values for the
     monitor resistor.

     Table 4-1.              Selection of Rm for Maximum Input Current
               IIN Max (mA)                              Optical Power (dBm)                                Rm (Ω)
                       4                                         +6                                            500
                       2                                         +3                                           1000
                       1                                          0                                           2000
                      0.5                                        –3                                           4000




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     4.4                           TO-Can Layout
     Figure 4-2.             Typical Layout Diagram with Photodiode Mounted on PINK Capacitor (5 pin TOCAN)




                                                                           DOUT                         DOUTB

                                                                           1nF


                                                                                          470pF
                                                                            VCC                           MON




      NOTES:
      Typical application inside of a five lead TO-Can.
      Only one of the VCC pads and all of the GND pads need to be connected. The backside must be connected to the lowest potential, usually ground, with conductive
      epoxy or a similar die attach material. If a monitor output is not required then a four lead TO-Can may be used.




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     Figure 4-3.             Typical Layout Diagram with Photodiode Mounted on TOCAN base (5 pin TOCAN)




                                                                          DOUT                         DOUTB

                                                                          1nF



                                                                           VCC           470pF           MON




      NOTE:
      Typical application inside of a five lead TO-Can.
      Only one of the VCC pads and all of the GND pads need to be connected. The backside must be connected to the lowest potential, usually ground, with conductive
      epoxy or a similar die attach material. If a monitor output is not required then a four lead TO-Can may be used.




     4.5                           Treatment of PINK
     PINK requires bypassing to ground with a capacitor when powering a photo diode. If PINK is not used to bias the
     photo diode, then it is not necessary to bypass an unused PINK.




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     4.6                           T0-Can Assembly Recommendations
     Figure 4-4.             TO-Can Assembly Diagram

                                                                             NOT Recommended Example
                                                                                            PIN                         Capacitor
                                                                                           Diode
                                                                                                                                     Wire Bond
                                                                                                                  470
                                                                                                                  pF

                                                                           M02015

                                                                                                                                      TO Can Leads
                                                                                                      Ceramic Shim                    (x 4or 5)
                                                                                                       Submount


                                                                                    TO-CAN Header




                                                                               Recommended Example

                                                                    M02015                                        PIN
                                                                                                                 Diode         Capacitor
                                                                                                                                     Wire Bond
                                                                                                                  470
                                                                                                                  pF




                                                                             Metal Shim                                                TO Can Leads
                                                                                                        Ceramic Shim                   (x 4or 5)
                                                                                                         Submount



                                                                                    TO-CAN Header




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     4.6.1                         Assembly
     The M02011 is designed to work with a wirebond inductance of 1 nH ± 0.25 nH. Many existing TO-Can
     configurations will not allow wirebond lengths that short, since the PIN diode submount and the TIA die are more
     than 1 mm away in the vertical direction, due to the need to have the PIN diode in the correct focal plane. This can
     be remedied by raising up the TIA die with a conductive metal shim. This will effectively reduce the bond wire
     length. Refer to Figure 4-4 for details.
     MACOM recommends ball bonding with a 1 mil (25.4 µm) gold wire. For performance reasons the PINA pad is
     smaller than the others and also has less via material connected to it. It therefore requires more care in setting of
     the bonding parameters. For the same reason PINA has no ESD protection.
     In addition, please refer to the MACOM Product Bulletin (document number 0201x-PBD-002-A). Care must be
     taken when selecting chip capacitors, since they must have good low ESR characteristics up to 1.0 GHz. It is also
     important that the termination materials of the capacitor be compatible with the attach method used.
     For example, Tin/Lead (Pb/Sn) solder finish capacitors are incompatible with silver-filled epoxies. Palladium/Silver
     (Pd/Ag) terminations are compatible with silver filled epoxies. Solder can be used only if the substrate thick-film
     inks are compatible with Pb/Sn solders.


     4.6.2                         Recommended Assembly Procedures
     For ESD protection the following steps are recommended for TO-Can assembly:
     •     Ensure good humidity control in the environment (to help minimize ESD).
     •     Consider using additional ionization of the air (also helps minimize ESD).
     •     As a minimum, it is best to ensure that the body of the TO-Can header or the ground lead of the header is
           grounded through the wire-bonding fixture for the following steps. The wire bonder itself should also be
           grounded.
     1. Wire bond the ground pad(s) of the die first.
     2. Then wire bond the VCC pad to the TO-Can lead.
     3. Then wire bond any other pads going to the TO-Can leads (such as DOUT, DOUT and possibly MON)
     4. Next wire bond any capacitors inside the TO-Can.
     5. Inside the TO-Can, wire bond PINK.
     6. The final step is to wire bond PINA.




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     4.7                           TIA Use with Externally Biased Detectors
     In some applications, MACOM TIAs are used with detectors biased at a voltage greater than available from TIA
     PIN cathode supply. This works well if some basic cautions are observed. When turned off, the input to the TIA
     exhibits the following I/V characteristic:

     Figure 4-5.             TIA Use with Externally Biased Detectors, Powered Off



                                                                                PINA Unbiased

                                                                            100



                                                                             50



                                                                              0
                      -800           -600           -400         -200             0           200            400            600            800           1000          1200


                                                                            -50
                µA




                                                                           -100



                                                                           -150



                                                                           -200



                                                                           -250



                                                                           -300

                                                                                              mV




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     In the positive direction after about 700 mV, the impedance of the input is relatively high. After the TIA is turned on,
     the DC servo and AGC circuits attempt to null any input currents (up to the absolute maximum stated in Table 1-1)
     as shown by the I/V curve in Figure 4-6.

     Figure 4-6.             TIA Use with Externally Biased Detectors, Powered On



                                                                                  PINA biased

                                                           1000


                                                             800


                                                             600


                                                             400


                                                             200
               µA




                                                               0
                     -300            -200           -100           0           100            200            300            400           500            600            700

                                                            -200


                                                            -400


                                                            -600


                                                            -800


                                                           -1000

                                                                                              mV



     It can be seen that any negative voltage below 200 mV is nulled and that any positive going voltage above the
     PINA standing voltage is nulled by the DC servo. The DC servo upper bandwidth varies from part to part, but is
     generally at least 30 kHz.
     When externally biasing a detector such as an APD where the supply voltage of the APD exceeds that for PINA
     Table 1-1, care should be taken to power up the TIA first and to keep the TIA powered up until after the power
     supply voltage of the APD is removed. Failure to do this with the TIA unpowered may result in damage to the input
     FET gate at PINA. In some cases the damage may be very subtle, in that nearly normal operation may be
     experienced with the damage causing slight reductions in bandwidth and corresponding reductions in input
     sensitivity.




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     5.0 Die Specification

     Figure 5-1.             Bare Die Layout



                                                                                                           Pad
                                         10a
                            10b




                                                                             9b                                                 Pad                 X                Y
                                                                 9a



                                                                                                          Number
                  10a




                                         GND




                                                                                        9c
                                                                   GND




                                                                                                               1           AGC                   –329              –76

                                                                                                             2 (1)         VCC                   –329              –228
                           DOUTGND




                                                                              DOUTGND




                                                                                                               3           PINK                  –124              –434
                  11




                                                                                        8



                                                                                                               4           PINA                   124              –434

                                                                                                             5 (1)         VCC                    329              –228
                           DOUT




                                                                              DOUT
                  12




                                                                                                               6           MON                    329              –76
                                                                                        7




                                                                                                               7           DOUT                   329               76

                                                                                                             8 (1)         DOUTGND                329              228
                           AGC




                                                                              MON

                                                                                        6
                  1




                                                                                                           9c (1, 2)       GND                    329              360

                                                                                                           9b (1, 2)       GND                    255              434

                                                                                                           9a (1, 2)       GND                    124              434
                          VCC




                                                                             VCC
                  2




                                                                                        5




                                                                                                          10a (1, 2)       GND                   –124              434
                                         PINK




                                                                  PINA




                                                                                                          10b (1, 2)       GND                   –255              434

                                                                                                          10c (1, 2)       GND                   –329              360
                                         3




                                                                 4




                                                                                                            11 (1)         DOUTGND               –329              228

                                                                                                              12           DOUT                  –329               76
            Notes:                                                                                       NOTES:
            Process technology: CMOS, Silicon Nitride passivation                                        1. It is only necessary to bond one VCC pad and one
            Die thickness: 300 µm
                                                                                                             GND pad. However, bonding one of each pad (if
            Pad metallization: Aluminium
                                                                                                             available) on each side of the die is encouraged
            Die size: 880 µm x 1090
                                                                                                             for improved performance in noisy environ-
            Pad opening: 86 µmsq.
                                                                                                             ments.
            Octagonal pad: 70 µm across flat PINA (70 µm x 70 µm)
                                                                                                         2. Each location is an acceptable bonding location.
            Pad Centers in µm referenced to center of device
            Connect backside bias to ground




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       Optoelectronics & Photonics
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             Products and Technology to meet the high bandwidth and low latency requirements
             of Cloud Data Centers and 5G Optical Networks


             MACOM supports a large portfolio of electronic and lightwave components, lasers, and

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             interfaces between electrical and optical domains, providing solutions to meet the demanding

             size, power and signal integrity requirements of today’s high speed networks—which are

             expanding to meet the continuously growing demand for data capacity. These products

             include high performance modulator drivers, transimpedance amplifiers, clock/data

             recovery circuits, APD, PIN photodiodes, FP and DFB lasers, Silicon Photonics, PAM4 PHYs

             and TOSAs and ROSAs: for datacenter, enterprise, and telecom optical systems operating up

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             limiting amplifiers, APD, PIN photodiodes, and TIAs covering systems from GPON,

             EPON to XG-PON.
                                                                                                                                                Limiting Driver




                                                                                                                                                                                   Linear Driver
                                                                                                                                                                   Linear Driver
                                                                                                       PAM-4 PHYs




                                                                                                                                 Limiting TIA
                                                                            Laser Diode




                                                                                                                    Photodiode
                                                                                          DML Driver
                                                   TX/RX CDR

                                                               EML Driver




                                                                                                                                                                                                   Linear TIA
                                                                                                                                                                                   4 x 64GG
                                                                                                                    25G PIN




                                                                                                                                                4 x 32G




                                                                                                                                                                   4 x 32G




                               GPPO Module
                              Surface Mount
                                          Die

      2                                                               100G Client Side                                                                            100G Line Side
                                                                                                                                                                   Exhibit 2, Page 30
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                    MACOM Products
                >   CDRs                                                                                               >      L-PIC™ Silicon Photonics                                                       >            Photodiodes
                >   Crosspoint Switches                                                                                >      MACsec                                                                         >            Physical Media Devices
                >   Gearbox                                                                                            >      Modulator Drivers                                                              >            PLC Mux/Demux
                >   Lasers                                                                                             >      OTN–Framer and Mapper                                                          >            PMDs
                >   Limiting Amplifiers                                                                                >      PAM-4 PHY                                                                      >            TIAs
                                                                                                                                                                                                             >            TOSA/ROSA
                    MACOM Technologies
                > SiPh                                                                                                 > SAEFT™                                                                             > GaAs
                > InP                                                                                                  > CMOS                                                                               > SiGe


                    MACOM Markets




                FTTx/PON                                                   Wireless Fronthaul/                                                Cloud Data Center                       Metro                                                            Long Haul
                                                                           Backhaul



                                                                                                                                                                  Central Office                                     Central Office             C-RAN
                                                                                                                                                                                                                                                Fronthaul
                                                                                                                                  Internet Exchange                                                                                             CPRI
                                                                                                                                                                             Metro, Long Haul DWDM                                        Backhaul
                                                                                                                                                                                       > 1 20 km                                           < 20 km




                                                                                                                                                                       Data Center Interconnect
                                                                                                                                                                               40 km – 1 20 km
                    FTTx/PON                                                      Enterprise                                             Data Center
                                                                                 10 m– 40 km                                                   < 1 0 km
                    < 20 km
                                                                                                                                                                                                 MACOM Technologies and Products
                                                                                                                                                                                                 in Optical & Photonic Content

                                                                                                                                   Intra Data Center
                                                                       Burst Mode Driver +




                                                                                                                                                                                                    Limiting/Linear TIA




                                                                                                                                                                                                                                                        Limiting Amplifier


                                                                                                                                                                                                                                                                             Limiting Amplifier
                                                                       Limiting Amplifier


                                                                                               Burst Mode TIA




                                                                                                                                                 Post Amplifier




                                                                                                                                                                                                                                                        Laser Driver +




                                                                                                                                                                                                                                                                                                  Laser Driver +
                                                                                                                                                                                                                                                                             EML Driver +




                                                                                                                                                                                                                                                                                                                   EML Driver +
                                          Limiting TIA




                                                                                                                               Laser Driver
                                                         Laser Diode




                                                                                                                                                 Burst Mode
                                                                                                                Laser Diode




                                                                                                                                                                                                                            Laser Diode
                              APD & PIN




                                                                                                                                                                                                                                                                                                  Dual CDRs


                                                                                                                                                                                                                                                                                                                   Dual CDRs
                                                                                                                                                                                                                                           PIN Diode




                M




        Die                                                                                                                                                              Die

        QFN Package                                                                                                                                                      QFN Package

                              PON ONU Side                                                             PON OLT Side                                                                                For 100 Mbps to 12 Gbps SFP+/XFP and SFP/CSFP/QSFP+
                                                                                                                                                                                                                                                       Exhibit 2, Page 31
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             MACOM Optoelectronic & Photonic Technologies
             Creating innovative design solutions to solve complex challenges


             Indium Phosphide (InP)                                                          CMOS
             MACOM has assumed a key position in the market as a                             MACOM utilizes CMOS technology extensively for
             premier supplier of both photonic devices such as lasers,                       design in a range of applications from wireless infrastruc-
             and optoelectronics products such as high speed modulator                       ture basestations to aerospace and defense, to include the
             drivers, based on InP technology. Key applications                              IEEE 802.1AE MACsec Standard, which solves the security
             include laser diodes for silicon photonics, data centers,                       issues of Ethernet networks by providing confidentiality,
             mobile backhaul, access networks and metro markets, and                         authenticity and integrity of data. Enabling high-speed
             modulator drivers for 100G and 400G coherent networks,                          data transmission, typical products and applications
             metro networks and data centers.                                                include PAM-4 PHYs, MACsec, mobile phones, cellular
                                                                                             basestations/wireless infrastructure, satellite radio,
             Self-Aligning Etched Facet (SAEFT™)
                                                                                             GPS and DAB, 2.4 GHz and 5.0 GHz WLAN, VSAT, CATV
             MACOM’s lasers are attached to the silicon PIC using                            and broadband, commercial and military radar, and
             MACOM’s patented Self-Aligning Etched Facet (SAEFT™)                            multi-market applications.
             technology for precision assembly and
             alignment of lasers to silicon photonic                                         Silicon Germanium (SiGe)
             waveguides. This self-aligning laser attach technology is                       Building upon a long history in designing integrated
             enabled by MACOM’s patented etched facet lasers and                             circuits and subsystems for radar and mmW markets,
             completely eliminates the costly manufacturing steps of                         MACOM leads the way in applying SiGe BiCMOS
             actively aligning lasers, photomonitor diodes, and lenses                       technology to both commercial and military needs.
             in the production of TOSA products. MACOM’s L-PIC™                              We see SiGe as a high value, differentiating technology
             transmitters are shipped with lasers already attached to                        which we will continue to leverage in MACOM’s core
             the silicon photonic circuit.                                                   product segments. Key applications include high-speed
                                                                                             optical network transceivers, basestations, wired broad-
             Silicon Photonics (SiPh)
                                                                                             band communications, high speed crosspoint switches
             Silicon-based Photonic Integrated Circuits (PICs) is an                         and global positioning systems.
             emerging technology that uses crystalline semiconductor
             wafers as the platform for the integration of active and                        Gallium Arsenide (GaAs)
             passive photonic circuits to provide a complete TOSA or                         For over three decades, MACOM has been the world
             ROSA optical path on a single chip. MACOM’s silicon PIC                         leader in the advancement of GaAs technology,
             platform enables innovative solutions with the benefits                         producing state-of-the-art, high performance discrete
             of high-density, low-cost and performance scalability by                        devices, control components, mixed signal processing
             integrating lasers, photodetectors, optical modulators,                         and converters, driver amplifiers, CATV amplifiers, LNAs
             and multiplexers onto a single chip. Along with an                              and power amplifiers as single purpose and multi-function
             optimized quad modulator driver and a PIC controller IC,                        MMICs. Key applications include wireless backhaul,
             this chipset solution has been developed for 100G                               industrial, scientific and medical, global positioning system,
             CWDM4 and 400G PAM4                                                             CATV and wired broadband, aerospace and defense, and
             Datacom applications.                                                           satellite communications.
                                                                     Rx TIA/CDR
                                                                                       Photodetectors                  R-PIC™ Receiver
                                             SiPh Controller ASICs
                                                                                                                      Demultiplexer
                                        Tx Driver                                                                                 SM Optical Fiber




                                                    CW Lasers                                                                                 Input

                                                            Modulators                                                           Output
                                                                         Multiplexer                    L-PIC™ Transmitter   '
       4
                                                                                                                                           Exhibit 2, Page 32
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             MACOM EVMs and Reference Design Kits
             Enhance new product development, reduce costs and optimize time-to-market


             In addition to the support of our world-class application team, MACOM offers a number of custom reference
             design kits, EVM and design guides which enhance the development of new products, reduce costs and
             optimize time-to-market.

             MACOM EVMs provide customers with a vehicle to test product features, measure product peformance,
             and help design the product into their application. From backplanes to line cards and optical modules,
             MACOM reference design kits and EVMs are built to ease the evaluation of our latest solutions into the
             application environments of our customers and partners.

             We package these offerings with our extensive GUI support as well. In addition to the EVM and the required
             software and user guide, schematics of circuit boards and modules, and supporting documents are provided.

             From low-speed solutions to those operating at 100G and above, MACOM offers hardware expertise and design
             support to enable innovative, next-generation optical products in a wide variety of markets.

             Contact the MACOM sales team to learn more.




                                                                                                                            5
                                                                                                       Exhibit 2, Page 33
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          Optoelectronics & Photonics


                                                        GPON ONU BOSA-on-Board                           A

                                                         BOSA

                                                                    APD
                                                                                    TIA
                                                                                                           GPON
                                                                                                          DRIVER
                                                                                                          COMBO
                                                                                                           CHIP
                                                FIBER
                                                                                   DFB




              10 PON ONU/OLT             B

                                                               BOSA                                     BOSA

                                                  10G APD                                                           10G APD
                  10G BM LIA     10G TIA                                                                                                 10G TIA
                                                  L-PIC™                                                                                                    10G
                                                CONTROLLER
                                                                                                                                                           DRIVER
                                                                                                                                                           COMBO
                                10G L-PIC™ EOML                                                                                                             CHIP
                                                                                    ODN
                  10G DRIVER             OR                                FIBER
                     CHIP                                 THIN                                                    THIN                   DFB
                                      10G EML             FILM                                                    FILM
                                                          FILTER                                                FILTER
                                                                                                                                     2




                                                        25G SChipset: SFP28 SR/LR/ER                         C

                                                               28G VCSEL / DML /EML
                                                                                                           2 x 25G
                                                                                                            CDR
                                                FIBER                                                     with DML
                                                                                                          DRIVER
                                                            28G PIN/ APD           28G TIA




                                               100G Chipset: CWDM4 Solution                         D
                                                                                                                          TOSA
                                         25G                          28G LDD             28G DFB   25G /
                                TX0

                                         25G                                                        25G /
                                                                                                                    OPTICAL MUX




                                TX1                                   28G LDD             28G DFB
                                                                                                                     4:1 CWDM4




                                                  QUAD
                                                   25G                                                                                          SMF
                                      25G                                                           25G /                           4 x 25G /
                                TX2               CDR                 28G LDD             28G DFB
                                      25G                                                           25G /
                                TX3                                   28G LDD             28G DFB

                                CAUI-4                                                                                              100G OPTICAL

                                         25G                          28G TIA             28G PIN       25G /
                                RX0
                                                                                                                    OPTICAL DEMUX




                                         25G                                                            25G /
                                                                                                                      4:1 CWDM4




                                RX1               QUAD                28G TIA             28G PIN
                                                   25G                                                                                          SMF
                                         25G                                                            25G /                       4 x 25G /
                                RX2               CDR                 28G TIA             28G PIN
                                         25G                                                            25G /
                                RX3                                   28G TIA             28G PIN
                                                                                                                         ROSA

      6
                                                                                                                                                   Exhibit 2, Page 34
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                                       Wireless Fronthaul eCPRI Aggregation Solution                                                 E
                                                      100G
                                                     OPTICAL                    MULTI-LINK GEARBOX
                                                                      10 x 10 Gb SFI
                                                               SFP+
                                                               SFP+
                                                                                                                4 x 25 Gb                       100G
                                                                                                                 CAUI-4                        OPTICAL
                                                               SFP+
                                                               SFP+                                                                                      FIBER
                                                               SFP+                          MLG
                                                               SFP+                         S28115                          QSFP28
                                                               SFP+
                                                               SFP+
                                                               SFP+
                                                               SFP+

                                REMOTE RADIO SITES                              TRAFFIC AGGREGATOR                                             WIRELESS FRONTHAUL
                                                                                                                                                    NETWORKS



            100G SR4 VCSEL Chipsets                  F

                 4 x 850 nm                  4 x VCSEL
                   VCSEL                    DRIVER + CDR
                   ARRAY                                                                          200/400G SR4 VCSEL Chipset                                     H
                                                                        4 x 28G
    FIBER                                                             ELECTRICAL

                  4 x PIN                   4 x TIA + CDR
                                                                                                          VCSEL                            4 x 28 Gb               4 x 28 Gb
                                                                                                         LASERS                             DRIVER                ANALOG CDR
                                                                                                                                                                                4 x 28 Gb
                                                                                          FIBER                                                                                  PAM-4
                                                                                                                                                                               ELECTRICAL
                                                                       G                                                                                           4 x 28 Gb
                                                                                                          4 x PIN                       4 x 28 Gb TIA
                 4 x 850 nm                                                                                                                                       ANALOG CDR
                                               4 x VCSEL
                   VCSEL
                                                 DRIVER
                   ARRAY
                                                                        4 x 28G
    FIBER                                                             ELECTRICAL

                  4 x PIN                        4 x TIA




                                                      100G BASE-LR4/ER4 (QSFP28)                           I
                                                                                                                                     TOSA
                                               25G                             28G LDD               28G DFB     25G /
                                      TX0

                                               25G                                                               25G /
                                                                                                                              OPTICAL MUX
                                                                                                                              4:1 LAN-WDM




                                      TX1                  QUAD                28G LDD               28G DFB
                                       28 Gb
                                                            25G                                                                                                SMF
                                  D         25G                                                                  25G /                            4 x 25G /
                                      TX2                  CDR                 28G LDD               28G DFB
                                            25G                                                                  25G /
                                   TX3                                         28G LDD               28G DFB

                                      CAUI-4                                                                                                      100G OPTICAL

                                               25G                              28G TIA           28G PIN/APD       25G /
                                   RX0
                                                                                                                               OPTICAL DEMUX




                                               25G
                                                                                                                                4:1 LAN-WDM




                                                           QUAD                28G TIA            28G PIN/APD       25G /
                                   RX1
                                                            25G                                                                                                SMF
                                               25G                                                                  25G /                         4 x 25G /
                                   RX2                     CDR                 28G TIA            28G PIN/APD
                                               25G                                                                  25G /
                                   RX3                                          28G TIA           28G PIN/APD
                                                                                                                                    ROSA



                                                                                                                                                                                            7
                                                                                                                                                              Exhibit 2, Page 35
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                                                                                                                                                                                            T
                  100G CWDMA4 Silicon Photonics                         J                                100G Single Lambda                  K

                                                                 TOSA                                                PIC CONTROLLER
                                 PIC CONTROLLER


                                                                                                             1 x 53 Gb L-PIC™
                         4 x 28 Gb L-PIC™            4 x 25 Gb                                                  1 x LASER,
                           4 x LASERS,                CDR +                                                         MZM
                          MZM, 4:1 MUX                DRIVER                                                                                                                4 x 25 Gb NRZ
                                                                                                                                                            1 x 53 Gb
                                                                                                                                                                                CAUI-4
                                                                             4 x 26 Gb        FIBER                                                        PAM-4 PHY
                                                                                                                                                                            ELECTRICAL
          FIBER                                                               CAUI-4
                                                                            ELECTRICAL                                                 1 x 53 Gb                            28 Gb
                                                                                                               1 x 56G PIN
                                                                                                                                           TIA                          D
                         4 x 28 GbR-PIC™
                                                     4 x 25 Gb
                            1:4 DEMUX,
                                                     TIA + CDR
                             4 x PIN PD
                                                    4 x TIA +CDR                                         Silicon Photonic 100GBASE-DR/FR ompliant
                                                                                                         (single 53 Gbaud PAM-4 data lane)
                                PIC CONTROLLER                                                           Chipset provides automated PIC calibration and monitoring
                                                                                                         and Build in Self Test (BiST)
                                                                 ROSA


                  Optional Chip-on-Board (COB) Capable
                  Silicon Photonic 100G CWDM4 MSA compliant (four 25G data lanes)
                  Chipset provides automated PIC calibration and monitoring
                  and Build in Self Test (BiST)



                                                    400GBASE-FR4/LR4
                                                    MACOM Silicon Photonics Based Solution                                   L

                                                                                                  TOSA
                                                                 PIC CONTROLLER



                                                         4 x 53 Gb L-PIC™
                                                           4 x LASERS,                4 x 53 Gb
                                                          MZM, 4:1 MUX                 DRIVER
                                                                                                                                     8 x 26 Gb
                                                                                                                  4 x 53 Gb           CAUI-4
                                            FIBER
                                                                                                                 PAM-4 PHY          ELECTRICAL

                                                         4 x 53 Gb R-PIC™
                                                            1:4 DEMUX,              4 x 53 Gb TIA
                                                             4 x PIN PD



                                                                 PIC CONTROLLER
                                                                                                  ROSA                                       28 Gb
                                                                                                                                         D


                                                    EML Based Solution                M

                                                         EML TOSA
                                                       4 x WDM MUX/             4 x 53 Gb
                                                          LASERS                 DRIVER
                                                                                                                                     4 x 28 Gb
                                                                                                               4 x 28 Gb              PAM-4
                                            FIBER                                                             ANALOG CDR            ELECTRICAL
                                                           ROSA
                                                       4 x DEMUX/5G            4 x 53 Gb TIA
                                                            PIN



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                                                                                                                                                 Exhibit 2, Page 36
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                                    Data Center Switch Interconnect Security Solution                                  N

                                                   DATA CENTER ETHERNET SWITCH
                                                                100GE/50GE/40GE/25GE/10GE
                                                                       MACsec PHY                            FIBER or COPPER             ENCRYPTED
                                                                                                                                          ETHERNET
                                                                                                    QSFP28
                                                                       RETIMER                                                              100GE
                                                                                                    QSFP28
                                                                                                                                            50GE
                                        ETHERNET                          FEC                                                               40GE
                                         SWITCH                                                     QSFP28
                                                                                                                                            25GE
                                         SILICON                                                                                            10GE
                                                                    ASE256/ASE128
                                                                                                    QSFP28
                                                                     ENCRYPTION

                                                      8 x 25G            ES200                8 x 25G
                                                      or 10G                                  or 10G               DATA CENTER
                                                                                                               FABRIC INTERCONNECT



                                                                            SWITCH CARD

               O  Crosspoint
                    Switches
               and Backplane                                                     ETHERNET
                                                    BACKPLANE
                                                                                  SWITCH
                      Drivers                         DRIVER
                                                                                  SILICON




                                                                          LINE CARD
                                                                                                                           FIBER or COPPER           ENCRYPTED
                                                                                                                                                      ETHERNET
                                                                                            MACsec/PHY           QSFP28                                 100GE
                                                                                                                                                         50GE
                                                    BACKPLANE                               MACsec/PHY           QSFP28                                  40GE
                                                                     CROSSPOINT
                                                      DRIVER           SWITCH                                                                            25GE
                                                                                            MACsec/PHY           QSFP28                                  10GE
                                                                                            MACsec/PHY           QSFP28
                                                                                                         8 x 25G                   DATA CENTER
                                                                                                         or 10G                FABRIC INTERCONNECT


                   100/200/400/600G Long Haul/Metro/DCI Application Solutions                                              P
                            DUAL POLARIZATION IQ MODULATOR                                                   COHERENT RECEIVER
                               I
                        X
                               Q                                       FIBER
                                                                                                               90°
         TUNABLE                                                                     POLARIZATION            OPTICAL            4 x PD        4 x TIA
          LASER                I                                                     CONTROLLER              HYBRID
                        Y
                               Q




                                      4 x DRIVER




                                         DAC                                                                                                                ADC



                                                                                            DSP ENGINE

                                                                                        COHERENT ASIC
                                                                                                                                                                  9
                                                                                                                                         Exhibit 2, Page 37
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            Lasers and Modulator Drivers

                                                                                      Max                                        Max         Max
                                                                            Block     Data    Supply     Power               Output Mod    Output      Package Type
           Part                                                            Diagram    Rate    Voltage Consumption Channels    Current   Bias Current   and Size
           Number           Description                                      Key*    (Gbps)     (V)       (W)       (#)         (mA)        (mA)       (mm)


           M02061           4.3 Gbps, 3.3 or 5V Laser Driver                 A        4.3      3.3, 5        0.115       1       2.5         100       QFN
           M02066           Highly Integrated, Programmable                  A         2.5      3.3          0.19        1       85          100       BCC + 24L
                            Laser Driver for Short-reach SONET/SDH
           M02067           2.1 Gbps, 3.3 V Laser Driver                     A         2.1      3.3          0.17        1       85          100       QFN
           M02068           Highly Integrated, Programmable Laser Driver     A          1       3.3          0.14        1       85          100       BCC + 24L
                            for Telecom Applications up to 622 Mbps

           M02069           Highly Integrated, Programmable VCSEL            A        4.3      3.3, 5       0.095        1       45          50        QFN
                            Driver for SFP/SFF Modules to 4.3 Gbps

           M02076           Laser Driver/Limiting Amplifier                  A         3.1      3.3         0.205        1      100          100       4 mm QFN
                            + DDMI Controller and APD DC-DC Controller

           M02077           Laser Driver/Limiting Amplifier                  A         3.1      3.3         0.205        1      100          100       4 mm QFN
           M02090           2.5 Gbps, 3.3 V Burst-Mode Laser Driver/         A         2.5      3.3        0.4785        1      100          80        QFN
                            Limiting Amplifier

           M02094           Highly Integrated, Programmable VCSEL Driver     A         2       3.3, 5    0.1155, 0.175   1       45          50        QFN
                            for SFP/SFF Modules to 2.0 Gbps

           M02095           2.5 Gbps, 3.3/5 V Laser Driver/Limiting Amp      A         1.2     3.3, 5        0.31        1       85          100       5 mm QFN
           M02096           2.5 Gbps, 3.3/5 V Laser Driver/Limiting Amp      A        4.3      3.3, 5       0.225        1       85          100       5 mm QFN
           M02097           500 Mbps, 3.3/5 V LED Driver/Limiting Amp        A        0.5      3.3, 5        0.12        1      120           10       QFN
           M02098           Burst Mode Laser Driver/Limiting Amplifier       A         2.5      3.3          0.28        1      100          80        5 mm QFN
           M02099           Burst Mode Laser Driver/Limiting Amplifier       A         3.1      3.3         0.225        1      100          100       4 mm QFN
                            + DDMI Controller and APD DC-DC Controller
           M02100           Burst Mode Laser Driver/Limiting Amplifier       A         3.1      3.3         0.225        1      100          100       4 mm QFN
                            + DDMI Controller and APD DC-DC Controller
                            & amp, EEPROM

           M02170           11.3 Gbps, 3.3 V Laser Driver                    —        11.3      3.3         0.1914       1      100          180       5 mm QFN
           M02171           11.3 Gbps Dual Loop VCSEL Driver                 —        11.3      3.3         0.1782       1       25          25        QFN
           M02172           11.3 Gbps EML Driver                             —        11.3      3.3        0.2838        1     2.5 (V)       180       QFN
           M02180           Burst Mode Laser Driver/Limiting Amplifier       B        12.5      3.3         0.584        1      100          100       4.5 mm QFN
                            + Rx CDR + DDMI Controller and
                            APD DC-DC Controller & Amplifier; EEPROM

           M02193           12.5 Gbps Low Power Laser Driver and             —        12.5      3.3         0.314        1      100          100       4.5 mm QFN
                            Limiting Amplifier with DC-DC Controller
                            and EEPROM with Digital Diagnostics

           MALD-02101       3.1 Gbps Low Power Dual Closed Loop              A         3.1      3.3          0.23        1      100          100       4 mm QFN
                            Burst Mode Laser Driver with
                            Integrated Limiting Amplifier

           MALD-02102       3.1 Gbps Low Power Dual Closed Loop              A         3.1      3.3          0.23        1      100          100       4 mm QFN
                            Burst Mode Laser Driver with
                            Integrated Limiting Amplifier

           MALD-37030       28 Gbps Multi-Rate Laser Driver with LIA/CDR     C        26.5    1.8, 3.3      0.689        1       76          100       5 x 6 mm LGA
           MALD-37031       28 Gbps Multi-Rate Laser Driver with LIA/CDR     C        28.1    1.8, 3.3      0.689        1       76          100       5 x 6 mm LGA
           MALD-37345B      Quad 28G VCSEL Driver with Input Equalizer      F, G       28     1.8, 3.3       0.5         4    0.1 12.8      4 15       Die
                                                                                                                                ˜            ˜
           MALD-02181       12.5G Burst Mode Laser and LIA+ DC-DC            B        12.5      3.3         0.327        1      100          100       4.5 mm QFN
                            Controller, EEPROM and DDMI Controller
           MALD-02182       12.5G Burst Mode Laser and LIA+                  B        12.5      3.3         0.327        1      100          100       4.5 mm QFN
                            DC-DC Controller and DDMI Controller
           MALD-02194       12.5G Burst Mode Laser and LIA+                  —        12.5      3.3         0.327        1      100          100       4.5 mm QFN
                            DDMI Controller
           MALD-02195       12.5G DML Laser Driver and LIA+                  —        12.5      3.3         0.327        1      100          100       4.5 mm QFN
                            DC-DC Controller and DDMI Controller



      10   * Refer to Block Diagrams on pages 6-9
                                                                                                                                       Exhibit 2, Page 38
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           Lasers and Modulator Drivers: Client Side

                                                               Block Max Data               Min Input    Max Output   Supply         RF I/O          Power       Package
          Part                                                Diagram  Rate      Channels   Voltage       Voltage     Voltage       Interface      Dissipation   Type and
          Number             Description                        Key*  (Gbps)       (#)      (mVpp)          (V)         (V)                           (W)        Size (mm)

          MAOM-001201        11.3 Gbps Limiting                  —        11.3      1          400          2.3         3.3        Differential/      0.45       3 x 3 QFN
                             EML Driver                                                                                            Differential

          MAOM-002200        28 Gbps Limiting EML Driver         C        28        1          500          2.5         -5.2      Differential/       1.25       4 x 4 QFN
                             DC Coupled, Neg Supply                                                                               Single-ended

          MAOM-002203        28 Gbps Limiting EML Driver         C        28        1          500          2.5         4.3       Differential/       0.75       4 x 4 x 3 QFN
                             Integrated Bias-T, Pos Supply                                                                        Single-ended

          MAOM-002207        28 Gbps Limiting                    C        28        1          500          2.5         4.3       Differential/       0.75       Bumped Die
                             EML Driver Die                                                                                       Single-ended

          MAOM-003115        28 Gbps Linear                    C, H, I    28        1          600           2          3.6       Differential/       0.75       4 x 4 x 2.3
                             EA Modulator Driver IC                                                                               Single-ended                   QFN

          MAOM-003419        Quad Channel 28 Gbaud               P        28        4       600 (max)        2           3.3       Differential/    0.46/ch      6 x 9.1 x 1.33
                             Linear Modulator Driver                                                                              Single-Ended                   SMD

          MAOM-003401        Quad Channel 28 Gbps                 I       28        4          700           2           3        Differential/      0.2/ch      10 x 10 x 1.4
                             Limiting EML Driver, Low Power                                                                       Single-ended                   SMD

          MAOM-02204A        Quad Channel 28 Gbps                —        28        4          500          2.5         4.3       Differential/      0.75/ch     14 x 8 SMD


                                                                                               ˜
                             Limiting EML Driver                                                                                  Single-ended

          MAOM-002301-       Single Channel 28 Gbps Direct,    C, D, I    28        1       700 1400         —           3         Differential/     0.255       Die


                                                                                               ˜
          DIE                Modulated Laser Driver IC, Die                                                                       Single-Ended

          MAOM-002304-       Quad Channel 28 Gbps Direct        D, I      28        4       700 1400         —           3         Differential/    0.255/ch     Die
          DIE                Modulated Laser Driver IC, Die                                                                       Single-Ended

          MAOM-005411        Quad Channel 56 Gbaud               M       53/56      4       1000 (max)      1.8          9         Differential/     0.3/ch      7.2 x 7 x 1.4
                             Linear EML Driver                                                                                    Single-Ended                   SMD



           Lasers and Modulator Drivers: Metro/Line Side

                                                               Block  Max Data              Min Input    Max Output   Supply         RF I/O          Power       Package
          Part                                                Diagram   Rate     Channels   Voltage       Voltage     Voltage       Interface      Dissipation   Type and
          Number             Description                        Key*   (Gbps)      (#)      (mVpp)          (V)         (V)                           (W)        Size (mm)

          MAOM-002105        32 Gbps Limiting                    P       32         1          350           8           6        Single-ended/        1.8       14.4 x 7 x 2.3
                             MZ Modulator Driver                                                                                  Single-ended                   SMD

          MAOM-003107        Dual Channel 32 Gbps                P       32         2          400          8.2          7        Single-Ended/      2.4/ch      16.1 x 10.6 x 3.4
                             Limiting Modulator Driver IC                                                                         Single-ended                   SMD

          MAOM-003108        Dual Channel 32 Gbps Linear         P       32         2          200           6          6.5       Differential/       2/ch       10 x 10 x 2.29
                             Modulator Driver, Diff Input                                                                         Single-ended                   SMD

          MAOM-003405        Quad Channel 32 Gbps                P       32         4          300           7          6.5       Differential/     0.95/ch      13 x 19 x 2.46
                             Limiting MZ Modulator Driver                                                                         Single-ended      @5 Vout      SMD

          MAOM-003407        Quad Channel 32 Gbps                P       32         4          300           6          6.5       Differential/      1.6/ch      13 x 19 x 2.46
                             Limiting MZ Modulator Driver                                                                         Single-ended                   SMD

          MAOM-03409D        32 Gb/s Linear Differential         P       32         4       700 (max)        4        3.6 / 4.5   Differential/        —         9.1 x 14 x 2.29
                             Modulator Driver IC                                                                                  Single-ended                   SMD

          MAOM-003414        Quad Channel 32 Gbps                P       32         4       1000 (max)       6           6        Differential/      1.9/ch      27 x 29 x 6.4
                             Linear Modulator Driver                                                                              Single-ended                   GPPO/SMD

          MAOM-003417        Quad Channel 32 Gbps                P       32         4       700 (max)       4.5        3.3 / 5    Differential/      1.13/ch     9.1 x 14 x 2.29
                             Linear Modulator Driver                                                                              Single-ended                   SMD

          MAOM-003417B       Quad Channel 32 Gbps                P       32         4       500 (max)       4.5        3.3 / 5    Differential/      1.15/ch     9.1 x 14 x 2.85
                             Linear Modulator Driver                                                                              Single-ended                   SMD

          MAOM-003427        Quad Channel 46 Gbaud               P       46         4       700 (max)        5         3.3 / 6    Differential/      1.8/ch      13 x 19 x 2.46
                             Linear Modulator Driver                                                                              Single-ended                   SMD
          MAOM-006416        Quad Channel 64 Gbaud               P       64         4          300          4.5       3.3 / 4.5   Differential/      1 .1/ch     9.1 x 14 x 2.29
                             MZ Modulator Driver                                                                                  Single-ended                   SMD




          * Refer to Block Diagrams on pages 6-9                                                                                                                                     11
                                                                                                                                         Exhibit 2, Page 39
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            Lasers and Modulators: Metro/Line Side (continued)

                                                              Block  Max Data                Min Input          Max Output     Supply               RF I/O             Power           Package
           Part                                              Diagram   Rate     Channels     Voltage             Voltage       Voltage             Interface         Dissipation       Type and
           Number             Description                      Key*   (Gbps)      (#)        (mVpp)                (V)           (V)                                    (W)            Size (mm)

           MAOM-006418        Quad Channel 64 Gbaud             P      64          4           300                 4.5         3.3 / 4.5         Differential/         1 .1/ch         14 x 9.1 x 2.85
                              Linear Modulator Driver                                                                                            Single-ended                          SMD

           MAOM-03404A        4 x 32 Gbps Differential          P       32         4           300                  5          3.3 / 4.5          Differential/        0.75/ch         9.1 x 14 x 2.29
                              Limiting MZ Modulator Driver                                                                                        Differential                         SMD

           MAOM-03409B        32 Gb/s Linear Differential       P       32         4         300 (max)              4          3.6 / 4.5          Differential/          —             9.1 x 14 x 2.29
                              Modulator Driver IC                                                                                                 Differential                         SMD

           MAOM-03417L        Quad Channel Low Power            P       32         4         700 (max)             3.3           3.3             Differential/         0.6/ch          9.1 x 14 x 2.29
                              Linear Modulator Driver                                                                                            Single-ended                          SMD

           MAOM-006408        Quad Channel 64 Gbaud             P      64          4           500                  3             —               Differential/        0.4 /ch         Die
                              Linear Modulator Driver Die                                                                                         Differential

           MAOM-006412        Quad Channel 64 Gbaud             P      64          4           500                  4             —               Differential/        0.5 /ch         Die
                              Linear Modulator Driver Die                                                                                         Differential

           MAOM-010567        10 Gbps Limiting                  —       10         1           250                  8             5              Single-ended/         0.6/ch          11.4 x 8.9
                              MZ Modulator Driver                                                                                                Single-ended                          SMD



            Transimpedance Amplifiers (TIA)
                                                                                                                                 Input
                                                                        Max       Differential   Small                Input     Referred                  Output
                                                              Block     Data    Transimpedance Signal                Overload    Noise                     Swing           Power    Supply
           Part                                              Diagram    Rate          Gain     Bandwidth             Current (IRN, RMS nA)                Voltage       Consumption Voltage
           Number        Description                           Key*    (Gbps)      (kOhms)       (GHz)                (mA)        (nA)                     (mV)             (W)       (V)

           M02006        155 Mbps AGC Prep-Amplifier           —         0.2           260               0.1             2.2                8                300             0.15             5
           M02007        Low-noise Transimpedance              —         0.2           62            0.14                2.8                8                300             0.07            3.3
                         Amplifier with AGC

           M02009        Low-noise Transimpedance              —         0.6           36                0.4             4.5               70                400                 0.1         3.3
                         Amplifier with AGC
           M02011        622 Mbps AGC Pre-Amplifier            —         0.6           65                0.6             4                 50                  140           0.095           3.3
           M02013        3.2 Gbps AGC Pre-Amplifier            —         3.1           10                24              4                 475                 140           0.14            3.3
           M02014        Transimpedance Amplifier (TIA)        —         2.5           11                1.4             4                 250                 140           0.125           3.3
                          with Automatic Gain Control

           M02015        2.5 Gbps AGC Pre-Amplifier            —         2.5            9                1.4             4                 290                 140           0.096           3.3
           M02016        1.25 Gbps AGC Pre-Amplifier           —         1.3           24                 1              4                 130                 140           0.096           3.3
           M02020        4 Gbps CMOS Transimpedance            —         4.3           3.6               3.4             4                 550                 140           0.145           3.3
                         Amplifier with AGC

           M02024        2 Gbps AGC Ultra-high Sensitivity     —         2.5           51                1.27            4                 180                 110           0.13            3.3
                         Pre-Amplifier

           M02025        100 Mbps to 3.125 Gbps                —         3.2           20            1.45                4                 120                 50            0.14            3.3
                         Multirate CMOS TIA with AGC

           M02026        1.25 Gbps CMOS TIA with AGC           —         1.2           112           1.05                4                 120                 210           0.13            3.3
           M02027        100 Mbps to 3.1 Gbps                  —         3.1           42                1.5             4                  91                 —                 —            —
                         Multirate CMOS TIA with AGC

           M02028        100 Mbps to 1.25 Gbps                 —         1.2           24                0.13             4                80                  50            0.14            3.3
                         Multirate CMOS TIA with AGC

           M02029        100 Mbps to 1.25 Gbps                 —         3.1           10                1.85             4                1400                —                 —            —
                         Multirate CMOS TIA with AGC

           M02035        Burst Mode OLT TIA                     B        2.5           3.6               1.7             1.5               250                 —                 —            —
           M02036        2.5 Gbps Burst Mode GPON OLT TIA       B        1.3           3.8               0.8             2.5               170                 —                 —            —
           M02038        1.3 Gbps Burst Mode CMOS TIA           B        1.2           8.5           0.85                 4                350               275             0.082           3.3




      12   * Refer to Block Diagrams on pages 6-9
                                                                                                                                                        Exhibit 2, Page 40
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           Transimpedance Amplifiers (TIA) (continued)

                                                                                                                         Input
                                                                         Max        Differential   Small      Input     Referred      Output
                                                            Block        Data     Transimpedance Signal      Overload    Noise         Swing       Power    Supply
          Part                                             Diagram       Rate           Gain     Bandwidth   Current (IRN, RMS nA)    Voltage   Consumption Voltage
          Number           Description                       Key*       (Gbps)       (kOhms)       (GHz)      (mA)        (nA)         (mV)         (W)       (V)

          M02129           8.5 Gbps to 10.3 Gbps TIA          —          10.3           2           7.8          3        1200          200        0.115      3.3
                           with AGC

          M02139           1 Gbps to 10.3 Gbps TIA            —          10.3          2.5          7.5        2.5        1500          140        0.142      3.3
                           with AGC and Rate Select

          M03002           28 Gbps Transimpedance          C, D, G, I     28           2.9          22         3.5        1400          —            —         —
                           Amplifier (TIA)

          M03100           28 Gbps Quad Channel              D, I         28           2.9          22         2.8        1400          —            —         —
                           Transimpedance Amplifier

          M03101           28 Gbps Quad Channel              D, I         28            —           21          —          —            —            —         —
                           Transimpedance Amplifier

          M03102           28 Gbps Quad Channel              D, I         28            —           21          —          —            —            —         —
                           Transimpedance Amplifier

          MATA-003806 28 Gbps Quad Channel Linear              P          32          10000         25          3          17           —            —         —
                      TIA for DP-QPSK Advanced
                      Receivers

          MATA-005817      56 Gbaud Single Channel             K          56            6           35          2          0            —            —         —
                           Linear TIA

          MATA-02135       8.5/10/11.3 Gbps Limiting TIA     A, B        11.3          3.4          8.2         3         850           —            —         —
          MATA-02238       10G EPON Burst Mode TIA             B         10.3           6            9          1.6         1           —            —         —
                           with Rate Select

          MATA-03003       28 Gbps Quad Channel            C, D, G, I     28           3.8          21          4         1400          —            —         —
                           Transimpedance Amplifier

          MATA-03013       28 Gbps Quad Channel            C, D, G, I     28           3.8          21          4         1400          —            —         —
                           Transimpedance Amplifier

          MATA-03802A Dual Channel Linear TIA                  P          32            5           25          2          —            —            —         —
          MATA-38434       Quad 4 x 28 Gbaud                   H        28 / 56         4           25          2          2.4        CONTACT MACOM
                           PAM-4 (56G) Linear TIA

          MATA-03006       28G TIA with APD                    I          28           3.8          21          4         1400        CONTACT MACOM
          MATA-03819       Quad 4x 28 Gbaud PAM-4            H, M         28                              CONTACT MACOM
                           (56Gbit) Linear TIA 750 um

          MATA-03919       Quad 4x28 Gbaud PAM-4             H, M         28                              CONTACT MACOM
                           (56Gbith) Linear TIA 750 um

          MATA-03820       Quad 4x28 Gbaud PAM-4             H, M         28                              CONTACT MACOM
                           (56G) Linear TIA

          MATA-03920       Quad 4x28 Gbaud PAM-4             H, M         28                              CONTACT MACOM
                           (56G) Linear TIA

          MATA-38134       Quad 4x28 Gbaud PAM-4             H, M       28/53                             CONTACT MACOM
                           (56Gbit) Linear TIA

          MATA-03103       28G Quad Channel TIA,             D, I         21                              CONTACT MACOM
                           750um pitch for PIN

          MATA-03106       28G Quad Channel TIA,             D, I         21                              CONTACT MACOM
                           750um pitch for APD




          * Refer to Block Diagrams on pages 6-9                                                                                                                      13
                                                                                                                                     Exhibit 2, Page 41
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            Clock & Data Recovery

                                                                                Block            Max          Supply            Power                  Package
           Part                                                                Diagram         Data Rate      Voltage        Consumption    Channels   Type
           Number            Description                                         Key*           (Gbps)          (V)              (W)          (#)      and Size

           M21012            42 Mbps to 3.2 Gbps Quad Multirate CDR                 —             3.2          1.8 – 3.3        0.76          4x4      10 mm 72-pin QFN
           M21050            High-Performance Duplex Quad (octal)                   —             3.2          1.8 - 2.5          1           8x8      10 mm 72-pin QFN
                             Multirate Clock and Data Recovery

           M37045            Four Channel 25G / 28G CDR with                       D, I           24         3.3 and 1.8         —             4       3 x 2 mm Die
                             Integrated Input Equalizer
           M37046            Quad 24G / 26G TIA / LA with Integrated CDR           D, I          28.1             1.8            0.1           4       4 x 4.5 mm CSP
           M37047            Four Channel 25G / 28G CDR with Integrated             F             28        1.8 & amp; 3.3       0.3           4       4 x 4.5 mm CSP
                             EML Driver

           M37049            Four Channel 25G / 28G CDR with Integrated             F             28              1.8            0.1           4       4 x 4.5 mm CSP
                             Input Equalizer

           MALD-37059        Four Channel 25G / 28G CDR with Integrated          D, F, I                   Contact MACOM
                             DML Driver

           MALD-37045        Four Channel 25G / 28G CDR with Integrated          D, F, I         28.1       1.8 & amp; 3.3       —             4       Die 2 x 3 mm
                             VCSEL Driver

           MATA-37145        Four Channel 25G / 28G CDR with Integrated          D, F, I         28.1             —              —             —       Die 2 x 3 mm
                             VCSEL Driver
           MALD-37445        Quad 25G / 26G CDR / VCSEL Driver                   D, F, I          24         3.3 and 1.8         —             4       Die 3 x 2 mm
                             with Input Equalizer

           MALD-37645        Multirate 28G VCSEL Driver/ CDR                      F, G            28              1.8           0.26            1      Die 2.3 x 1.4 mm
                             with Input Equalizer

           MAOM-37051A       Quad 25G / 28G CDR with Integrated                   F, G            28              1.8            275           4       7 x 11 mm SMT
                             Equalization and EML Driver
           MAOM-03757        Quad 25G / 28G CDR with Integrated                   F, G            28              4             600            2       —
                             Equalization and Amplifier; EML Driver

           MAOM-37447A       Quad 25G / 28G CDR with Adaptive                        I           25.7             1.8            —             4       4 x 4.5 mm CSP
                             Equalization and EML Driver

           MAOM-38051        Quad 4 x 28 Gbaud PAM-4 (56 Gbit CDR)                   I                     Contact MACOM                               Die
                             Die for wirebonding

           MAOM-38053        Quad 4 x 28 Gbaud PAM-4 (56 Gbit CDR)                   I                     Contact MACOM                               Die
                             Die for wirebonding

           MASC-37028        Multirate, Dual 28 Gbps CDR with Integrated            C             28           1.8 / 3.3         —             2       5 mm LGA
                             Laser Driver
           MASC-37029        Multirate, Dual 28 Gbps CDR with Integrated            C            26.5          1.8 / 3.3         —             2       5 mm LGA
                             Laser Driver
           MASC-37048        Four Channel 25G / 28G CDR with Input Equalizer       D, I           28              1.8            0.1           4       4 x 4.5 mm CSP
           MASC-37053A       Quad 25G / 28G CDR with Adaptive                       J            25.8             —              —             4       4 x 4.5 mm CSP
                             Equalization and PCML Driver

           MASC-37446A       Four Channel 25G / 28G CDR with Integrated         D, F, G, I       28.1             1.8            0.1           4       4 x 4.5 mm CSP
                             Limiting Amplifier
           MASC-37448A       Four Channel 25G / 28G CDR with Input Equalizer    D, F, G, I        28              1.8            0.1           4       4 x 4.5 mm CSP

           MATA-37044        Four Channel 25G / 28G CDR with Integrated TIA    D, J, F, G, I     28.1       1.8 & amp; 3.3       —             4       Die 2 x 3 mm
           MATA-37144        Four Channel 25G / 28G CDR with Integrated TIA    D, J, F, G, I     28.1             —              —             —       Die 2 x 3 mm
           MATA-37244        Four Channel 25G / 28G CDR                        D, J, F, G, I      28        1.8 & amp; 3.3       —             4       Die 2 x 3 mm
                             with Integrated TIA / Limiting Amplifier

           MATA-37442        Quad 24G / 26G TIA / LA with Integrated CDR           FG             24         3.3 and 1.8         —             4       Die 3 x 2 mm
           MATA-37444        Quad 24G / 26G TIA / LA with Integrated CDR           FG             24         3.3 and 1.8         —             4       Die 3 x 2 mm
           MATA-37644        Multirate 28G CDR with TIA / LA Integrated            FG             28              1.8           0.26            1      Die 2.3 x 1.4 mm




      14   * Refer to Block Diagrams on pages 6-9
                                                                                                                                           Exhibit 2, Page 42
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             Optical Post Amplifiers

                                                                      Block     Max Data     Supply         Power                        Input        Output             Package
            Part                                                     Diagram      Rate       Voltage     Consumption    Channels       Sensitivity Swing Voltage         Type
            Number           Description                               Key*      (Gbps)        (V)           (W)          (#)         (mVpp)(mV)        (V)              and Size

            M02040        2.1 Gbps, 3.3 or 5 V Post-Amplifier            —         2.1        3.3, 5         0.17          1               2             400             3 mm QFN
            M02044        622 Mbps Post-Amplifier                        —         0.6        3.3, 5         0.1           1              2.5            —               5 x 6.2 mm QSOP
            M02046        1.25Gbps, 3.3 or 5 V Post-Amplifier            —         1.3        3.3, 5         0.2           1              2.8            800             5 x 6.2 mm QSOP
            M02050        Integrated High-Gain Limiting Amplifier        A         2.5         3.3           0.18          1              3.5            800             3 mm QFN
            M02140        12.5 Gbps Low Power 3.3 V Post-Amplifier       C         12.5        3.3          0.185          1               8             800             4 mm QFN
            M02142        11.3 Gbps Limiting Amplifier                 B, C        11.3        3.3          0.191          1               3             680             3 mm QFN
            M02049        4.3 Gbps Limiting Amplifier                    —        6.144       3.3, 5        0.09           1              2.6            400             3 mm QFN



             LED / Laser Drivers for Display

                                                                                                                      Programmable    Input              Automatic          Electronic
                                                                               Current Per      Max                   Internal PWM Integrated             Power               Laser
            Part                                                                Channel        Current       Channels   Generator     PMIC                Control           Despeckle
            Number           Description                                           (A)           (A)           (#)        (Y/N)       (Y/N)                (Y/N)              (Y/N)

            M08886           High-Performance RGB LED/ Laser Driver                2A             4A                3           Yes             No             Yes             Yes
                             with Despeckle Technology for
                             LCD/ LCoS /TI DLP¬Æ Projection Displays

            M08888           High-Performance 2A RGB LED/ Laser Driver             2A             6A                3           Yes             No             Yes             No
                             for LCD/ LCoS/ TI DLP¬Æ Projection Displays

            M08889           High-Performance 2A RGB LED/ Laser Driver             2A             2A                3           Yes             Yes            Yes             No
                             with Integrated Buck-Boost Converter for
                             LCD/ LCoS/ TI DLP¬Æ Projection Displays

            M08890           3-Channel 2A LED/ Laser Driver                        2A             6A                3           Yes             No             No              No
                             for Panel Based Projectors

            M08898           4-Channel 2A LED/ Laser Driver                        2A             8A                4           Yes             No             No              No
                             for Panel Based Projectors

            M08980           LED Driver and PMIC and Stepper Motor Driver         1.2A            1.2A              3           No              Yes            No              No
                             for TI DLP¬Æ Displays

            M09000           LED Driver and PMIC for TI DLP¬Æ Displays            1.2A            1.2A              3           No              Yes            No              No
                             in QFN Package

            M09001           LED Driver and PMIC for TI DLP¬Æ Displays            1.2A            1.2A              3           No              Yes            No              No



             Silicon Photonics

                                                                                                                            Max                           Temperature          Package
            Part                                                                                            Reach         Data Rate         Channels        Range              Type
            Number                Description                                                               (Km)           (Gbps)             (#)             (°)

            MAOP-L284CN           100G CWDMA L-PIC™ with Integrated Laser, Modulators, and MUX                 2               100         4x 28 Gbps          0 to 80         Die
        *   MAOP-R284CN           100G CWDM4 R-PIC™ Receiver with Monolithic Demux and Photodiodes             2               100         4 x 28 Gbps         0 to 80         Die
        *   MAOP-L561PP           100G Single Lambda L-PIC™ with Integrated Laser and Modulator                2               100        1 x 100 Gbps         0 to 80         Die
        *   MAOP-L564CP           400G CWDM4 PAM-4 L-PIC™ Integrated Laser, Modulators, and MUX                2               400        4 x 100 Gbps         0 to 80         Die
        *   MAOP-L101PN           10G XG-PON L-PIC™ with Integrated Laser and Modulator                       20               10          1 x 10 Gbps         0 to 80         Die
        *   157D-10G-xT6xx        10G XG-PON TOSA with MAOP-L101PN L-PIC™                                     20               10          1 x 10 Gbps         0 to 70         TO-Can
                                  and Micro-TEC in TO-Can coaxial package
            * In development, sampling late 2018




            * Refer to Block Diagrams on pages 6-9                                                                                                                                         15
                                                                                                                                                 Exhibit 2, Page 43
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           Photonic Devices


            2.5G Fabry-Perot Lasers

           Part                                                                         Block Diagram     Max Data Rate   Wavelength       Temp Options    Package Type
           Number                   Description and Applications                             Key*            (Gbps)         (nm)               (°C)        and Size (um)

           131F-02I-KCT11           Die, Laser, 2.5G FP NFF, Chip on Tape                      A               2.5            1310           -40 to 85     Die 265 x 250 x 100
                                    Applications: SDH, PON, Access, Optical Ethernet

           131F-02I-LCT11           Die, Laser, 2.5G FP, Chip on Tape                          A               2.5            1310           -40 to 85     Die 250 x 250 x 100
                                    Applications: PON, Access, Optical Ethernet



            10G Fabry-Perot Lasers
           Part                                                                         Block Diagram     Max Data Rate   Wavelength       Temp Options    Package Type
           Number                   Description                                              Key*            (Gbps)         (nm)               (°C)        and Size (um)

           131F-10I-LCT11-S         10G Hi-BW 1310 nm FP LD                                    A               10             1310           -40 to 85     Die 250 x 250 x 100
                                    Applications: Optical Ethernet, Fibre Channel

           131F-10I-LT5K1C-S        10G Hi-BW 1310 nm FP TO-Can                                A               10             1310           -40 to 85     TO-Can    TO-56
                                    Applications: Telecom, Optical Ethernet, Wireless



            2.5G Distributed Feedback Lasers
           Part                                                                         Block Diagram     Max Data Rate   Wavelength       Temp Options   Package Type
           Number                   Description and Applications                             Key*            (Gbps)         (nm)               (°C)       and Size (um)

           127D-02I-VT5AB           1270 nm Edge Emitting Narrow Farﬁeld DFB Laser          A, B               2.5            1270           -40 to 85    Aspherical lens cap
                                    Applications: NG-PON                                                                                                  (FL+7.5 mm) in
                                                                                                                                                          hermetic TO-56 package

           127D-02l-VCT11           1270 nm Edge Emitting Narrow Farﬁeld DFB Laser          A, B               2.5            1270           -40 to 85    Die 265 x 250 x 100
                                    Applications: NG-PON

           131D-02E-VCT11-50x       Die, Laser, 2.5G DFB NFF, Small Size, Chip on Tape      A, B               2.5            1310           -20 to 85    Die 265 x 250 x 100
                                    Applications: PON, Access, Optical Ethernet, SDH

           131D-02E-VT5TB-50x       TO, Laser, 2.5G DFB NFF,                                A, B               2.5            1310           -20 to 85    TO-Can    TO-56
                                    2 mm Ball Lens (6.6 mm FL), Pinout Type B
                                    Applications: PON, Access, Optical Ethernet, SDH



            10G Distributed Feedback Lasers

           Part                                                                             Block Diagram     Max Data Rate   Wavelength   Temp Options    Package Type
           Number                    Description and Applications                                Key*            (Gbps)         (nm)           (°C)        and Size (um)

           127D-10G-LCT11-504       10G Hi-BW 1270 nm CWDM DFB LD (WL -3.5/+2.5nm)                  B                10          1270         -5 to 85     Die 250 x 300 x 100
                                    Applications: Data Center, 40G QSFP Module,
                                    Optical Ethernet, Fibre Channel

           127D-10G-LT5AC-S         10G Hi-BW 1270 nm DFB TO-Can                                    B                10          1270         -5 to 85     TO-Can    TO-56
                                    Applications: Mobile Fronthaul/Backhaul,
                                    Optical Ethernet

           127D-10I-LT5AC-504       TO, Laser, 10G DFB, 1270 ±10 nm, Asph Lens,                    B, E              0           1270        -40 to 85     TO-Can    TO-56
                                    Pinout Type C
                                    Applications: Mobile Fronthaul/Backhaul, Optical Ethernet

           129D-10G-LCT11-504       Die, Laser, 10G DFB, 1290 -3.5 nm /+2.5 nm, Chip on Tape        B                10          1290         -5 to 85     Die   250 x 300 x 100
                                    Applications: Data Center, 40G QSFP Module,
                                    Optical Ethernet, Fibre Channel

           131D-10G-LCT11-504       10G Hi-BW 1310 nm CWDM DFB LD (WL -3.5 / +2.5 nm)               B                10          1310         -5 to 85     Die   250 x 300 x 100
                                    Applications: Data Center, 40G QSFP Module,
                                    Optical Ethernet, Fibre Channel




      16   * Refer to Block Diagrams on pages 6-9
                                                                                                                                               Exhibit 2, Page 44
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          Photonic Devices


           10G Distributed Feedback Lasers (continued)

          Part                                                                            Block Diagram   Max Data Rate   Wavelength   Temp Options   Package Type
          Number                   Description and Applications                                Key*          (Gbps)         (nm)           (°C)       and Size (um)

          131D-10G-LT5RC-S         TO, Laser, 10G DFB, 2 mm Ball Lens, WL= ± 10 nm,             B              10            1310        -5 to 85     TO-Can    TO-56
                                   Pinout Type C
                                   Applications: Optical Ethernet, Fibre Channel,
                                   SFP Module, Mobile (4G LTE), Data Center

          131D-10I-LT5RC-504       TO, Laser, 10G DFB, 2 mm Ball Lens, WL= ±10 nm,             B, E            10            1310        -40 to 85    Die   250 x 300 x 100
                                   Pinout Type C
                                   Applications: Optical Ethernet, Fibre Channel,
                                   SFP Module, Mobile (4G LTE), Data Center

          133D-10G-LCT11-504       Die, Laser, 10G DFB, 1330 -3.5 nm /+2.5 nm, Chip on Tape     B              10            1330        -5 to 85     Die   250 x 300 x 100
                                   Applications: Data Center, 40G QSFP Module,
                                   Optical Ethernet, Fibre Channel

          133D-10G-LT5AC-S         10G Hi-BW 1330 nm DFB TO-Can                                B, E            10            1330        -5 to 85     TO-Can    TO-56
                                   Applications: Mobile Fronthaul/Backhaul, Optical Ethernet

          133D-10I-LT5AC-504       TO, Laser, 10G DFB, 1330 ±10 nm, Asph Lens,                 B, E            10            1330        -40 to 85    TO-Can    TO-56
                                   Pinout Type C
                                   Applications: Mobile Fronthaul/Backhaul,
                                   Optical Ethernet



           25G Distributed Feedback Lasers

          Part                                                                            Block Diagram   Max Data Rate   Wavelength   Temp Options   Package Type
          Number                   Description and Applications                                Key*          (Gbps)         (nm)           (°C)       and Size (um)

          127D-25G-LCT11           CWDM Edge Emitting DFB Laser                                C, D            25            1271        -5 to 85     Die 250 x 250 x 100
                                   Applications: Optical Ethernet 25 Gbps/100 Gbps,
                                   Data Center, CWDM

          1295-25B-LCT11-S3        Die, laser, 25G DFB, 1300.05 ± 1 nm, Chip on Tape           C, I            25            1295         0 to 85     Die 250 x 250 x 100
                                   Applications: Data Center, 100G Base-LR4

          129D-25G-LCT11           CWDM Edge Emitting DFB Laser                                C, D            25            1291        -5 to 85     Die 250 x 250 x 100
                                   Applications: Optical Ethernet 25 Gbps/100 Gbps,
                                   Data Center, CWDM

          1300-25B-LCT11-S3        Die, Laser, 25G DFB, 1300.05 ± 1 nm, Chip on Tape           C, I            25            1300         0 to 85     Die 250 x 250 x 100
                                   Applications: Data Center, 100G Base-LR4

          1304-25B-LCT11-S3        Die, Laser, 25G DFB, 1304.58 ± 1 nm, Chip on Tape           C, I            25            1304         0 to 85     Die 250 x 250 x 100
                                   Applications: Data Center, 100G Base-LR4

          1309-25B-LCT11-S3        Die, Laser, 25G DFB, 1309.14 ± 1 nm, Chip on Tape           C, I            25            1309         0 to 85     Die 250 x 250 x 100
                                   Applications: Data Center, 100G Base-LR4

          131D-25G-LCT11           CWDM Edge Emitting DFB Laser                                C, D            25            1311        -5 to 85     Die 250 x 250 x 100
                                   Applications: Optical Ethernet 25 Gbps/100 Gbps,
                                   Data Center, CWDM

          131D-25G-LCT11-502       Laser, DE, 25G, DFB, 1310 nm, WL= +/-15 nm, CT              C, D            25            1310        -5 to 85     Die   250 x 250 x 100
                                   Applications: Optical Ethernet 25 Gbps/100 Gbps,
                                   Data Center, CWDM

          131D-25G-LT5TC           1310 nm Edge Emitting DFB Laser in                           C              25            1310        -5 to 85     TO-56    5.6 mm dia.
                                   TO-56 Package 25 Gbps
                                   Applications: SFP28

          133D-25G-LCT11           CWDM Edge Emitting DFB Laser                                C, D            25            1331        -5 to 85     Die 250 x 250 x 100
                                   Applications: Optical Ethernet 25 Gbps/100 Gbps,
                                   Data Center, CWDM




          * Refer to Block Diagrams on pages 6-9                                                                                                                              17
                                                                                                                                          Exhibit 2, Page 45
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           Photonic Devices


            Photodiodes: APD

           Part                                                   Block Diagram               Bandwidth    Wavelength      Responsivity        Sensitivity    Capacitance      Package
           Number             Description and Applications             Key*        Model        (GHz)        (nm)            (A/W)               (dBm)           (f F)         Type

           32420-01          10G APD, Backside Illuminated              B          APD10B          12       1250 – 1650            0.8              -28.5            105       CoC
           32420-02          Applications: NG-PON                                 APD10B-ES        10       1250 – 1650            0.8              -29.5            90        CoC
           32422-01FG                                                              APD10B          12       1250 – 1650            0.8              -28.5            105       Die
           32422-02FG                                                             APD10B-ES        12       1250 – 1650            0.8              -28.5            90        Die


           32391-03-PPR      28G APD, Backside Illuminated,            C, I        APD28A         20        1250 – 1650            0.8              -20              50        Die
           32392-03-PPR      integrated lens option                                APD28A         20        1250 – 1650            0.8              -20              50        Die
           32411-03-PPR      Applications: 25G or 100G ER4                         APD28A         20        1250 – 1650            0.8              -20              50        CoC
           32411-04-PPR                                                            APD28A         20        1250 – 1650            0.8              -20              50        CoC
           32412-03-PPR                                                            APD28A         20        1250 – 1650            0.8              -20              50        CoC



            Photodiodes: PIN

           Part                  Description                      Block Diagram               Bandwidth    Wavelength      Responsivity        Sensitivity    Capacitance      Package
           Number                and Applications                      Key*        Model        (GHz)        (nm)            (A/W)               (dBm)           (f F)         Type

           32436-04-PPR          28G PIN Backside Illuminated,         C, I        BSP28B          25       1200 – 1650            0.88              —               95        Die
           32438-04-PPR          integrated lens option                            BSP28B          25       1200 – 1650            0.88              —               95        CoC
                                 Applications: 25G or 100G LR4



           32436-01-PPR          56G PIN, Backside Illuminated,      K, L, M       BSP56B          30       1200 – 1650            0.8               —               50        Die
           32438-01-PPR          integrated lens option                            BSP56B          30       1200 – 1650            0.8               —               50        CoC
                                 Applications: 100G PAM-4



            Planar Lightwave Circuits: CWDM MUX/DEMUX

                                                                                                             Center
                                                                      Block                               Wavelength       Channel           1 dB

                                                                                                               ) (nm)
           Part                                                      Diagram       Channels   Passband      Accuracy       Spacing        Bandwidth          Pitch         Chip Size
           Number          Description and Applications                Key*          (#)      (PB) (nm)   (               (CS) (nm)         (nm)             (um)          (mm)

           A0410-DXX       4 X 10 Gbps CWDM AWG Chip DEMUX               D            4         +/- 6.5      +/- 1           20              13              250           2.5 x 10
                           Applications: Datacom 40G CWDM4

           A0410-MXX       4 X 10 Gbps CWDM AWG Chip MUX                 D            4           —          +/- 1           20               11             1100          4 x 10
                           Applications: Datacom 40G CWDM4

           A0425-DXX       4 X 25 Gbps CWDM AWG Chip DEMUX               D            4        +/- 6.5       +/- 1           20              13              750           4 x 10
                           Applications: Datacom 100G CWDM4

           A0425-MXX       4 X 25 Gbps CWDM AWG Chip MUX                 D            4           —          +/- 1           20               11             1100          4 x 10
                           Applications: Datacom 100G CWDM4



            Planar Lightwave Circuits: LANWDM MUX/DEMUX

                                                                                                            Center
                                                                       Block                              Wavelength       Channel           1 dB

                                                                                                                 )
           Part                                                       Diagram     Channels    Passband     Accuracy        Spacing        Bandwidth          Pitch         Package Size
           Number          Description and Applications                 Key*        (#)         (PB)        (             (CS) (nm)         (nm)             (um)          (mm)

           A0425-DLX       4 X 25 Gbps LANWDM AWG Chip DEMUX                I         4         +/- 1       +/- 0.5          4.5             2.8              750          4 x 10
                           Applications: Datacom 100G LR4

           A0425-MLX       4 X 25 Gbps LANWDM AWG Chip MUX                  I         4           —         +/- 0.5          4.5             2.2             1100          4 x 9.5
                           Applications: Datacom 100G LR4




      18   * Refer to Block Diagrams on pages 6-9
                                                                                                                                                   Exhibit 2, Page 46
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          Network Connectivity


           OTN: Framer/Mapper/FEC

                                                                               Max            Switch
                                                                               Data           Matrix         Supply                        Embedded Embedded          Package Type
          Part                                                                 Rate            Size          Voltage           Channels       CDR    SerDes           and Size
          Number           Description                                        (Gbps)        I/O Matrix         (V)               (#)         (Y/N)    (Y/N)           (mm)

          S10123           10G OTN Framer/Mapper/FEC                             11.3            1x1        2.5, 1.8, 1.2         1            Yes         Yes        19 mm 324-pin FCBGA
          S10124           10G OTN Framer/Mapper/FEC                             11.3          1x2          2.5, 1.8, 1.2         1            Yes         Yes        25 mm 576-pin FCBGA
          S10126           10G OTN Framer/Mapper/FEC                             11.3            1x1        2.5, 1.8, 1.2         1            Yes         Yes        19 mm 324-pin FCBGA
          S12312           24 x 10G/40G/100G OTN & MACsec                        11.2        24 x 24      1.8, 1.5, 1.2, 0.9     24            Yes         Yes        42.5 mm 1680-pin FCBGA
          S12411           12 x 10G/40G/100G OTN & MACsec                        28           12 x 12     1.8, 1.5, 1.2, 0.9      12           Yes         Yes        29 mm 783-pin FCBGA
          S12412           24 x 10G/40G/100G OTN & MACsec                       27.96        24 x 24      1.8, 1.5, 1.2, 0.9     24            Yes         Yes        42.5mm 1680-pin FCBGA
          S20101           PQ20T: 2 x 10G OTN Framer/Mapper/FEC                  11.19        2x2          2.5, 1.2, 0.9          4            Yes         Yes        35 mm 1155-pin FCBGA
          S40101           PQ40T:4 x 10G /40G OTN Framer/Mapper/FEC              11.19        4x4          2.5, 1.2, 0.9          4            Yes         Yes        35 mm 1155-pin FCBGA
          S50101           PQ50: 5 x 10G /40G OTN Framer/Mapper/FEC              11.19        5x5          2.5, 1.2, 0.9          5            Yes         Yes        35 mm 1155-pin FCBGA
          S60101           PQ60T: 6 x 10G/ 40G OTN Framer/Mapper/FEC             11.19        6x6          2.5, 1.2, 0.9          6            Yes         Yes        35 mm 1155-pin FCBGA


           Ethernet MACsec PHY                             Block Diagram Key*

          S12611           12 x 10G/40G/100G MACsec                  N          27.96         12 x 12     1.8, 1.5, 1.2, 0.9      12           Yes         Yes        29 mm 783-pin FCBGA
          S12612           12 x 10G/40G/100G OTN & MACsec            N          27.96        24 x 24      1.8, 1.5, 1.2, 0.9     24            Yes         Yes        42.5 mm 1680-pin FCBGA
          S20020           100G/50G/40G/50G/25G/                     N          26.56         8x8             1.8, 0.9            8            Yes         Yes        17 mm 256-pin HFCBGA
                           10G MACsec, 512SA


           Ethernet PHY

          MATP-10025A      PRISM: 1 x 53 Gbaud PAM-4 PHY             K          106.25           1x1       1.8, 1.0, 0.75         1            Yes         Yes        10 mm 177-pin HFCBGA
                           with FEC and Integrated Laser Driver

          MATP-40050A      PRISM4: 4 x 53 GBaud PAM-4 PHY            L          106.25        4x4          1.8, 1.0, 0.75         4            Yes         Yes        11 mm 441-pin HFCBGA
                           for 400G Optical Modules

          QT2025           10GE Serial to XAUI PHY for              —           10.52            1x1          1.8, 1.2            1            Yes         Yes        13 mm 144-pin PBGA
                           10GBASE-LRM, LR, SR, 10G BASE-KR

          QT2225           Dual 10GE Serial-to-XAUI PHY             —           10.52         2x2             1.8, 1.2            2            Yes         Yes        23 mm 484-pin BGA
                           for SFP+ and Serial Backplane

          S28010           100 Gbps Gearbox                          E          27.96            1x1       2.5, 1.2, 0.9          1            Yes         Yes        17 mm 248-pin HFCBGA
                           with CAUI-10 to CAUI-4
          S28110           100 Gbps Gearbox                          E          27.96        10 x 10       2.5, 1.2, 0.9          10           Yes         Yes        19 mm 324-pin HFCBGA
                           with CAUI-10 Retimer Mode

          S28115           100 Gbps Multi-Link Gearbox               E          25.78        10 x 10       2.5, 1.2, 0.9          10           Yes         Yes        19 mm 324-pin HFCBGA



           Embedded Processors

                                                                      Clock              DDR3 +            10/100/100                         Typical            USB 2.0       Package Type
          Part                                                      Frequency             ECC               Ethernet                          Power              with PHY      and Size
          Number         Description                                  (GHz)                                                                    (W)                             (mm)

          APM86190      Single Core Power™ Processor              800 MHz–1.2 GHz        64b / 32b       2 GbE: 2 RGMII            Single Core 5.49 W @ 1 GHz        3         27 x 27 FC-PBGA
          APM86290      Dual Core Power™ Processor                800 MHz–1.2 GHz        64b/32b         2 GbE: 2 RGM11               Dual Core 7.06 W @ 1 GHz       3         27 x 27 FC-PBGA
          APM86391      Single Core Power™ Processor              600 MHz–1 GHz            32b           2 GbE: 2 RGMII            Single Core 4.09 W @ 1 GHz        3         27 x 27 FC-PBGA
          APM86392      Dual Core Power™ Processor                600 MHz–1 GHz            32b           2 GbE: 2 RGMII                Dual Core 5 W @ 1 GHz         3         27 x 27 FC-PBGA
          APM86691      Single Core Power™ Processor              800 MHz–1.2 GHz        64b / 32b       4 GbE: 2 RGMII,           Single Core 5.49 W @ 1 GHz        3         27 x 27 FC-PBGA
                                                                                                          up to 4 SGMII

          APM86692      Dual Core Power™ Processor                800 MHz–1.2 GHz        64b / 32b       4 GbE: 2 RGMII,              Dual Core 7.06 W @ 1 GHz       3         27 x 27 FC-PBGA
                                                                                                          up to 4 SGMII

          APM86491      Single Core Power™ Processor              800 MHz–1 GHz          16b / 32b       2 GbE: 2 RGMII                   3.65 W @ 1 GHz         2 (USB 3.0)   19 x 19 WB-PBGA
          APM86791      Single Core Power™ Processor              800 MHz–1 GHz          16b / 32b       4 GbE: 2 RGMII,                  3.65 W @ 1 GHz             2         9 x 19 WB-PBGA
                                                                                                             2 SGMII




          * Refer to Block Diagrams on pages 6-9                                                                                                                                                 19
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          High Speed Optical Receivers


           Test & Measurement Receivers

          Part                                                             Bandwidth   Wavelength    Sensitivity      Responsivity    Gain
          Number          Description                        Type            (GHz)       (nM)          (dBm)            (A/W)        (V/W)

          11059-02        AD-40APDir-FC                APD Instrument         12       1250 – 1650      -27                —         3500
          11058-02P       AD-40xr-FC                    XR Instrument         12       700 – 1650        -19               —         400
          11001-03        D-15-FC                      VIS-ir Instrument      30       400 – 1700        —                0.2         —
          11212-01P       D-32xr-FC                     XR Instrument         28       800 -1650         —                0.77        —
          11057-02        D-8ir-FC                      IR Instrument         50       950 – 1650        —                0.7         —
          11012-05P       DG-15ir-FC                    IR Instrument         20       950 – 1650        —                0.6          —
          11206-01        DG-32xr-FC                    XR Instrument         28       800 – 1650        —                0.77        —
          11204-01        DGM-32xr-FC                  XR Photodetector       28       800 – 1600        —                0.77        —
          11204-05        DGM-32xr-DMD                 XR Photodetector       28       800 – 1600        —                0.77        —
          11204-06        DGM-32xr-SC                  XR Photodetector       28       800 – 1600        —                0.77        —
          11069-02        P-18A/3K/Z50/FC              IR Photodetector       19       1200 – 1650       —                0.9          —
          11112-04        P-40HPA/8V/Z50/AC/SC         IR Photodetector       40       1200 – 1650       —                0.65         —
          11113-04        P-40HPA/8V/Z50/DC/SC         IR Photodetector       40       1200 – 1650       —                0.65         —
          11113-05        P-40HPA/8V/Z50/DC/FC         IR Photodetector       40       1200 – 1650       —                0.65         —
          11088-05        P-50A/8V/Z50/DC/FC           IR Photodetector       50       1200 – 1650       —                0.5         —
          11238-01        P-50C/8V/Z50/DC/FC           IR Photodetector       50       1200 – 1650       —                0.7         —
          11241-01P       P-70A/8V/Z50/FC              IR Photodetector       70       1200 – 1650       —                0.5          —
          11104-05        PT-10SFA/17LP/DC/SC          IR Photodetector       8.5      1200 – 1650      -20                1          700
          11044-16        PT-12B/8SMA/TDC/FC           XR Photodetector       9.5      750 – 1650       -20               0.55        450
          11232-01        PT-28E/12XLMD/AC/FC          IR Photodetector       30       1200 - 1650       —                0.78       1900
          11245-01-PPR    PT-28F/8XLMD/DC/FC/SM        IR Photodetector       30       1200 – 1650       —                0.75        95
          11237-01P-PPR   PT-28F/10GDPPO/DC/FC         XR Photodetector       30       1200 – 1650       —                0.75        95
          11174-04        PT-40G/8LDGPPO/AC/LC/B1      IR Photodetector       35       1200 – 1650       -11              0.65       4200
          11174-05        PT-40G/8XLMD/AC/LC           IR Photodetector       35       1200 – 1650       -11              0.65       4200
          11174-06        PT-40G/8XLMD/AC/FC/B1        IR Photodetector       35       1200 – 1650       -11              0.65       4200
          11174-07        PT-40G/8XLMD/AC/FC           IR Photodetector       35       1200 – 1650       -11              0.65       4200
          11243-01        PT-50A/8V/DC/FC              IR Photodetector       50       1200 – 1650       —                0.55        105
          11000-03        PX-D7-FC                     VIS-ir Instrument      60       400 – 900         —               0.03          —



           Transmission Receivers

          Part                                                             Bandwidth   Wavelength    Sensitivity      Responsivity    Gain
          Number          Description                        Type            (GHz)       (nM)          (dBm)            (A/W)        (V/W)

          11218-02        AT-10D/5MMLC/8FPC               APD ROSA            8.5      1200 – 1600     -28.5              0.8        25000
          11153-02        AT-10SFA/17LP/AC/MM/FCs        APD Receiver         8.5      1250 – 1650      -28               0.8        1240
          11233-01        AT-10SFH/17LP/AC/MM/FC         APD Receiver         10.5     1250 – 1650     -28.5              0.7        12000
          11219-03        AT-2.5A/5MMLC/8FPC              APD ROSA             2       1200 – 1600      -35               0.7         —
          11215-01P       AT-2.5SFB/17LP/AC/MM/FC        APD Receiver         1.7      1250 – 1650      -33               0.7        7100
          11226-01        AT-2.5SFB/ER/17LP/AC/MM/FC     APD Receiver         1.7      1250 – 1650      -3.4              0.7        14000
          11132-03        PT-15SFA/17LP/AC/LC            PIN Receiver         12.5     1200 – 1650      -16.5             0.75        700




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          Package Guide


          Photonics                                                  Optoelectronics

          Die                                                        4 x 4.5 mm CSP
                                                                     3 mm QFN
                                                                     4 mm QFN
                                                                     5 mm QFN
                                                                     10 mm 72-pin QFN
          TO-Can TO56, TO46

                                                                     Surface Mount Devices (SMD)




          L-PIC™ Silicon Photonic Die




                                                                     Modules



          Ethernet PHYs and OTN Framers

          PQX                                S28010




                                                                     Crosspoint Switches

          Yahara                             S28110
                                                                     3 mm QFN
                                                                     4 mm 24-pin QFN
                                                                     6 mm 10-pin QFN
                                                                     10 mm 72-pin QFN
                                                                     12 mm 88-pin QFN

          ES200                              S28115                  17 mm 252-pin BGA
                                                                     19 mm 324-pin BGA
                                                                     21 mm 484-pin/ 1 924-pin BGA
                                                                     23 mm 484-pin / 1924-pin BGA
                                                                     23 mm 404-pin PBGA
                                                                     27 mm 676-pin BGA
          X240                               QT2225
                                                                     34 mm PBGA
                                                                     35 mm 1156-pin BGA
                                                                     35 mm 676-pin TEPBGA
                                                                     35 mm 1936-pin FCBGA
                                                                     50 mm 2389-pin BGA

          MATP-10025/6                       QT2025
          MATP-40050/1                                               ROSA & TOSA (Optical Sub Assemblies)




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                                                                     MACOM Technology Solutions Inc.
                                                                     100 Chelmsford Street
                                                                     Lowell, Massachusetts 01851

                                                                     North America
                                                                     800.366.2266
                                                                     Europe
                                                                     +353.21.244.6400
                                                                     India
                                                                     +91.80.43537383
                                                                     China (Shanghai)
                                                                     +86.21.6042.8200

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                    EXHIBIT 3




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  (12) United States Patent                                                                                        (10) Patent No.:              US 8,509,629 B2
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  (22) Filed:               Oct. 24, 2008
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                                                                                                                                           Ont1nue
  (60) Provisional application No. 61/000,524, filed on Oct.
       26, 2007.                                                                                              Primary Examiner — Shi K Li
  (51) Int. Cl.                                                                                               Assistant Examiner — Oommen Jacob
          H04B 10/06                                  (2006.01)                                               (74) Attorney, Agent, or Firm — Weide & Miller, Ltd.
          HO3F I/34                                   (2006.01)
          HO3F 3/68                                   (2006.01)                                               (57)                    ABSTRACT
  (52) U.S. Cl.
          USPC                        398/208398/2O2: 398/210: 330/293                                        The invention relates to amplifiers and in particular, to a
                    - ------ --- -                      s     330,277. 33069. 330,289                         transimpedance amplifier for high rate applications. Dis
   58)    Field of Classification S                                 h            s                    s       closed is a two stage transimpedance amplifier having a first
  (58) ise."                  SSCO Sea                                                     398/2O2. 208       stage comprising an amplifier and a load and a second stage
          S         licati - - - - - file? - - - - - - - - - - - - -let - - - - - - - - - - -h hist       s   comprising an amplifier and a resistor. Negative feedback is
              ee appl1cauon Ille Ior complete searcn n1Story.                                                 provided through a feedback resistor. Only two voltage con
  (56)                               References Cited                                                         versions occur which reduces phase distortion, as compared
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                                 1.                                                                         2
             HIGH SENSITVITY TWO-STAGE                                     embodiment, only two Voltage conversions occur. A Voltage
                     AMPLIFER                                              conversion is defined herein as amplification of a Voltage
                                                                           signal with or without an inversion. The amplifier stages may
                      1. PRIORITY CLAIM                                    be inverting or non-inverting.
                                                                              In one embodiment, the receiver further comprises a single
    This application claims priority to and the benefit of U.S.            ended to differential signal conversion unit configured to
                                                                           receive the output of the second stage and convert the output
  Provisional Application No. 61/000,524 entitled HIGH SEN                 to a differential signal. In one embodiment, the load com
  SITIVITY TWO-STAGE CMOS TRANSIMPEDANCE                                   prises a FET. It is contemplated that the first stage may com
  AMPLIFIER FOR 1-4 GBPS APPLICATIONS which was                            prise a Voltage to Voltage amplifier and the second stage may
                                                                      10
  filed on Oct. 26, 2007.                                                  comprise a Voltage to Voltage amplifier. It is also contem
                                                                           plated that the resistor of the second stage may comprise a
                2. FIELD OF THE INVENTION                                  semiconductor device. The first stage and the second stage
                                                                           may collectively perform two Voltage conversions, which in
    The invention relates to amplifiers and in particular, to a            turn introduce less phase shift as compared to a three stage
  transimpedance amplifier for high rate applications.                15   transimpedance amplifier performing three Voltage conver
                                                                           sions. In one embodiment, the feedback path provides nega
                        3. RELATED ART                                     tive feedback to the input of the first stage.
                                                                              Also disclosed herein is the transimpedance amplifier
     The designers of data communication systems continually               which in one embodiment may comprise an input node con
  strive to increase a communication system's data transmit                figured to receive a signal. Also part of the amplifier is a first
  rate, effective transmit distance, and accuracy of operation.            stage having an input connected to the input node and a first
  One aspect that controls the communication systems data                  stage output. A second stage is also present and has an input
  transmit distance is the sensitivity of the receiver. While par          which connects to the output of the first stage, and a second
  ticularly important in the optical signal communication, these           stage output. An output node connects to the second stage
  principles also apply for wire line applications.                   25   output. A feedback path having a resistance connects the
     As transmitted signals advance through a channel. Such                input node to the output node. In this example embodiment,
  signals become attenuated. In addition, at higher rates, the             only one of the stages is inverting.
  received signals may be more affected by crosstalk and dis                  In one embodiment, the first stage comprises an amplifier
  persion. As a result, increased sensitivity in the receiver              and a load. In one embodiment the second stage comprises an
  improves detection and decoding of received signals, particu        30   amplifier and a resistor. In this embodiment the feedback path
                                                                           provides negative feedback to the input node. It is contem
  larly when the received signal is a high rate, attenuated signal.        plated that the first stage and the second stage, when process
     One existing device used to detect attenuated received                ing a signal, are configured to perform no more than two
  signals is an Avalanche Photo Diode (APD). However, APDs                 Voltage conversions. In one embodiment, only two Voltage
  are undesirably expensive. For example, the APD may cost up              conversions occur.
  to ten times the cost of the PIN (positive-intrinsic-negative)      35      Also disclosed herein is a method for receiving and ampli
  photodiode, plus there is additional cost for the circuitry to           fying a receiving optical signal comprising receiving an opti
  provide and control the APD reverse-bias voltage.                        cal signal and converting the optical signal to an electrical
     Other solutions have been proposed, but these proposed                signal. Then, presenting the electrical signal to an input node
  Solutions do not meet the design specifications, such as noise           and combining the electrical signal with a feedbacks signal to
  limits. For example, people have used a three-stage CMOS            40   create a combined signal. This method then amplifies the
  inverter approach, but this approach has limited sensitivity.            combined signal with a first stage. In this embodiment, the
  The same applies to designs implementing a one-stage                     first stage performs a Voltage conversion on the combined
  CMOS inverter approach.                                                  signal to create a first amplified signal. The method then
                                                                           amplifies the first amplified signal with a second stage. In this
                            SUMMARY                                   45   embodiment the second stage performs a Voltage conversion
                                                                           on the first amplified signal to create a second amplified
     To overcome the drawbacks of the prior art and to provide             signal. The operation then outputs the second amplified signal
  additional benefits, disclosed herein is an optical signal               on an output node and attenuates the second amplified signal
  receiver. In one example embodiment, the receiver includes a             to create the feedback signal. In this embodiment, only 1 stage
  two stage transimpedance amplifier having reduced phase             50
                                                                           performs a phase inversion. Alternatively additional phase
  shift, delay, and distortion while maintaining or exceeding              inversion could occur to establish negative feedback.
                                                                              In one embodiment, the first stage comprises an amplifier
  gain specification. In one embodiment, the optical signal                and a load. In one embodiment, the second stage comprises an
  detector is configured to detect an optical signal and output a          amplifier and a resistor. As a benefit to this method over the
  corresponding electrical signal. The electrical signal is output         prior art, the two Voltage conversions create less phase dis
  to a two stage transimpedance amplifier configured to receive       55   tortion than three Voltage conversions.
  and amplify the electrical signal to a level suitable for down              Other systems, methods, features and advantages of the
  stream processing. In this embodiment, the two stage tran                invention will be or will become apparent to one with skill in
  simpedance amplifier comprises a first stage having an ampli             the art upon examination of the following figures and detailed
  fier and a load and a second stage having an amplifier and a             description. It is intended that all Such additional systems,
  resistor. Also part of this embodiment is a feedback path           60   methods, features and advantages be included within this
  including a feedback resistor. In this embodiment, the feed              description, be within the scope of the invention, and be
  back path connects an output of the second stage to an input             protected by the accompanying claims.
  of the first stage. One or more receiver processing elements
  may be located down stream and configured to process the                        BRIEF DESCRIPTION OF THE DRAWINGS
  amplified electrical signal received from the two stage tran        65
  simpedance amplifier. One of the stages is inverting to create             The components in the figures are not necessarily to scale,
  negative feedback as compared to the input signal. In this               emphasis instead being placed upon illustrating the principles
                                                                                                                Exhibit 9, Page 151
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  of the invention. In the figures, like reference numerals des              In general, for desired operation, a TIA requires negative
  ignate corresponding parts throughout the different views.              feedback to achieve desired operation. Prior to the present
     FIG. 1 illustrates an example environment of use of the              invention, two stage TIA designs were not possible because
  present invention.                                                      each stage created an inversion, and thus, two stages would
     FIGS. 2A and 2B are block diagrams of a two stage ampli              yield positive feedback. Stated another way, a two stage
  fier.                                                                   design would yield positive feedback, which is commonly
     FIG.3 illustrates an example circuit diagram of a two stage          understood to lead to system instability.
  amplifier.                                                                 To overcome the drawbacks in the prior art associated with
                                                                          TIA design and operation, a TIA comprised of two Voltage to
                  DETAILED DESCRIPTION                               10   Voltage stages is disclosed. FIG. 2A illustrates a block dia
                                                                          gram of an example embodiment of a two stage TIA. This is
     FIG. 1 illustrates an example environment of use of the              but one possible two stage TIA design and as Such, it is
  invention. This is but one possible example environment of              contemplated that other embodiments may be arrived at
  use and as Such, it is contemplated that the invention may also         which do not depart from the claims that follow. In FIG. 2A,
  be enabled in other environments. As shown, an amplifier (A)       15   an input current signal I, is present at an input node 204. The
  112 as disclosed herein is utilized in an optical communica             input node 204 connects to a feedback path and a Voltage to
  tion system. As is generally understood the amplifier 112 and           voltage (VtoV) amplifier 208. This input current flows
  a resistor 108 may comprise a TIA 114 which serves as a                 through the input impedance of the TIA to create a Voltage
  highly sensitive amplifier to receive and amplify weak signals          signal at the input, V.
  in a highly accurate and noise minimized manner.                           The VitoVamplifier 208 amplifies the input voltage V, to an
     In this example environment, an optical signal is presented          amplified version thereof. This amplified signal is inverted
                                                                          and is much like a VitoVamplifier stage used in a single stage
  to a photo diode 104. In this embodiment the optical signal             or a three stage amplifier.
  travels through an optical fiber (not shown) which is part of a            The output of the VitoVamplifier 208 connects to a second
  communication system and configured to carry communica                  VtoVamplifier 220. The VitoVamplifier 220 again amplifies
  tion signals to the system of FIG.1. The output of the photo       25   the received signal and provides an output Voltage V at an
  diode 104 connects to the amplifier A 112 as shown. The                 output node 224. The output node 224 presents the signal for
  feedback resistor R 108 provides attenuated feedback to                 Subsequent processing, such as shown in FIG. 1, or to other
  enable desired operation. The amplifier A 112 accurately                apparatus if operating in other environments of use. In addi
  amplifies the weak current signal from the photodiode 104               tion, the output signal at node 224 is provided to the feedback
  preferably without introducing unwanted noise or distortion.       30   resistor R,212. The resistor Rf 212 provides feedback to the
     The output of the TIA 114 connects to a single-ended to              input node 204 to provide negative feedback to the TIA input.
  differential conversion unit 120 which converts the single              As will be described, the second VtoVamplifier 220 does not
  ended output from the TIA 114 to a differential signal as               invert the Voltage polarity from input to output, which in
  shown. The differential output feeds into an output buffer              combination with the inverted polarity from VitoVamplifier
  124. The output buffer 124 buffers the received data before        35   208, results in negative feedback from output 224 to input 204
  forwarding it via the differential output 130 for further pro           of the overall amplifier.
  cessing.                                                                   As can be appreciated, this two stage design simplifies
     Although shown and described herein in relation to a TIA             enablement, reduces unwanted phase delay by minimizing
  amplifier, it is contemplated that the innovation may be                Voltage to Voltage conversions (referred to herein as a Voltage
  applied to amplifier environments other than a TIA. For            40
                                                                          conversion), and provides amplification levels necessary for
  example, any multistage amplifier may benefit by reducing               down stream processing.
  the number of Voltage conversions while still providing nega               FIG. 2B illustrates a block diagram of an example embodi
  tive feedback to the input. In one embodiment, any multistage           ment of the VitoV amplifier 220. This is but one possible
  amplifier system having an odd number of stages, which is               design for the VitoVamplifier 220 and as such, it is contem
  traditionally required for negative feedback, may benefit by            plated that other embodiments may be arrived at by one of
  having a reduced number of Voltage conversions.                    45   ordinary skill in the art. The amplifier 220 may be represented
     For the TIA 114, there has always been a desire for                  as a voltage to current amplifier 240 which amplifies a
  increased sensitivity. Increased sensitivity allows data sys            received Voltage V and outputs a current signal I. The current
  tems to receive and accurately process and decode weaker                is input to a current to Voltage amplifier 244, which amplifies
  received signals. As a result, transmit power can be reduced,           the received current to create an output Voltage. In this
  thereby extending transmitter life and reducing power con          50   embodiment, the amplifier 240 comprises a transconductance
  Sumption. In addition, increased sensitivity can provide the            amplifier and the amplifier 244 comprises a transimpedance
  necessary performance in the presence of additional loss,               amplifier. Therefore, the resulting amplifier effectively has
  which means transmission distance can be extended for a                 two Voltage to Voltage amplifiers, even though the second
  given transmit power level and data transmit rate.                      Voltage to Voltage amplifier is comprised of a Voltage to
     As discussed above, prior art TIAS were traditionally           55   current amplifier and a current to Voltage amplifier. There
  single stage or three stage inverter designs, where each                fore, the amplifier can be considered as two Voltage to Voltage
  inverter effectively acts like a voltage to voltage amplifier.          amplifiers while having the necessary signal inversion to
  These type of designs delivered negative feedback to the TIA            provide negative feedback and stability.
  input. The drawback to a single stage TIA is lack of amplifi               FIG.3 illustrates an example circuit level embodiment of a
  cation. While a three stage design can be made to meet gain        60
                                                                          two stage transimpedance amplifier. This is but one possible
  specification, the drawback to a three stage TIA is that cumu           circuit level implementation and as such, it is contemplated
  lative delay and distortion in each stage of the three stage TIA        that one of ordinary skill in the art may arrive at other circuit
  leads to unwanted distortion in the output. In particular, three        implementations. In this example embodiment, an optical
  stage TIA designs introduce an unacceptable amount of phase             signal 304 is presented to a photodiode 308. The photodiode
  shift and distortion. This, combined with a lack of phase               308 converts the lightenergy to an electrical current signal I,
  margin, leads to system instability and an increase in the bit     65   which is in turn provided to an input node 312. The input node
  error rate, both of which are unacceptable in optical commu             312 receives the input signal I, and a feedback signal from a
  nication systems.                                                       feedback path, which includes a feedback resistor 340. The
                                                                                                                    Exhibit 9, Page 152
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  input signal I, creates a Voltage V, by flowing through the                As can be seen, as the open loop gain value A becomes larger,
  input impedance of the TIA. This voltage V, is sent to a first             the total gainTZ is closely related to R.
  amplifier stage 320 as shown. The first amplifier stage 320                  The variable A may be further defined by the following
  includes an amplifier 324 and a load 328. The devices may                  equations:
  comprise P-type and N-type MOSFETs as shown in any
  combination. It is also contemplated that other technology
  devices may be utilized including, but not limited to bipolar                                A as                (gmp
  transistors, JFETs and MESFETs.                                                                       (gml)       gmp + gn)2R
                                                                                                                          gmin 2ff,
     The load 328 comprises a semiconductor device as shown.
  In other embodiments, the load 328 may comprise a resistor            10
  to a reference Voltage oran amplifier stage. The load converts               where the value (g+ga), is the gain of the first stage
  the current output from the amplifier 324 to a voltage. This               device 324 and g is the gain of the load 328. The term
  voltage V is presented to a second stage 330. The signal V is              (gmp+gmn) is the gain of the second stage amplifier 330.
  inverted as compared to the input signal I.                                The value R is the value of the resistor in the device 336.
     The second stage 330 comprises a transconductance ampli            15   Device 336 performs the conversion to voltage and provides
  fier 332, which amplifies the received signal V to generate a              gain. The total value A may only be made so large in a single
  current i as an output. The second stage 332 connects to a                 stage, so multiple stages are combined to obtain a level of
  voltage conversion device 336 to convert the current signal i              amplification which is adequate for the signal input to Subse
  to a voltage V. The voltage conversion device 336 includes                 quent stages. In addition, the bandwidth of the TIA amplifier
                                                                             is defined as:
  a resistor Ro, which is discussed below in more detail. The
  amount of gain in the second stage 330 is based on the resistor
  value Ro. Both devices 332 and 336 of the second stage 330                                                        A
  serve as a single stage because it performs a Voltage to Voltage                                     fdb St.
                                                                                                                 27 Rf Ced
  amplification and thus, from a phase delay contribution, it           25
  appears as a single stage. The device 336 is a Voltage creating
  resistance. Stated another way, the output of device 336 is                  where f is the bandwidth of the TIA and C is the
  inverted, as compared to the input, in this innovative design              capacitance of the photodiode. It may be desirable to mini
  thereby providing negative feedback, but only two phase                    mize the capacitance of the photodiode C, which in turn will
  delays occur in the overall amplifier, thereby minimizing             30   increase the bandwidth. In one embodiment, the bandwidth is
  unwanted phase distortion.                                                 between 800 MHz and 3.5 GHz and may be used in 1 to 4
     The output of the second stage 330 is provided as a voltage             gigabit applications. In other embodiments, this method and
  signal V to an output node 350. It is contemplated that the                apparatus may find application in other bandwidth environ
  order of the first stage 320 and the second stage 330 may be               ments. As can be seen, the bandwidth is also inversely related
  reversed. The output signal V may be provided to a gain               35
                                                                             to the value R. As a result, while increasing the value R,
  stage or any other down stream processing. The output node                 increases gain, it also reduces the bandwidth.
  350 also connects to the feedback path and in particular to                  Noise, which is preferably minimized, is defined as fol
  resistor R340. The feedbackpath provides negative feedback                 lows:
  to the first stage as is preferred for desired amplifier operation.
  As an advantage to this configured over prior art designs,            40
  phase delay is reduced because only two stages are present,
  namely two Voltage conversions occur. Voltage to Voltage                                                           4kTAf
                                                                                                      noise.mss        Rf
  conversions introduce phase shift and this two stage design
  eliminates a Voltage to Voltage conversion, as compared to
  prior art three stage TIA unit which has three voltage to             45     where the term k is the Boltzmann constant, T is the tem
  Voltage conversion units. As a result, phase shift is reduced. It          perature in Kelvin Scale, and Afis the bandwidth. Again, it is
  is contemplated that the gain of the second stage 330 may be               apparent that the noise is related to the value of the feedback
  different or the same as the gain of the first stage 320. In this          R. Hence, by increasing R, the noise is reduced, but the
  embodiment, it is contemplated that gain may be greater than               bandwidth is reduced by increasing R. If noise is increased,
  in a three stage design because gain can be increased without         50   then sensitivity decreases. In general, thermal noise, includ
  the associated distortion resulting from the unwanted three                ing the term Ra is the dominant factor. It is desired to have the
  phase shifts in three stage designs.                                       TIA create as little noise as possible because the bit error rate
     The following equations aid in understanding the behavior               is a function of the noise, and as Such, increased noise levels
  of the example embodiment of FIG. 3. In particular, the gm,                are unacceptable. Stated another way, to minimize noise, the
  defined as the transconductance of the first stage 320 and the        55   system may increase the feedback resistor Ra but increasing
  second stage 330, define the open loop gain of the TIA in                  R, causes the bandwidth to go down.
  addition to Ro. The value Ro is the value of the resistorin the               In a three stage application, the open loop gain A must be
  device 336. In general, the gain of the transimpedance ampli               limited to limit phase delay created by each Voltage inversion.
  fier is defined by the following equation:                                 But, with the two stage design as shown and described herein,
                                                                        60   phase distortion is reduced, and the open loop gain A may be
                                                                             increased without peaking. In fact, A may be increased to an
                              Tzs 1AR+ A                                     operation level that is greater than the gain of a three stage
                                                                             TIA. This may occur because with fewer voltage conversions,
                                                                             for example only two instead of three, less distortion is intro
    where TZ is the transimpedance gain of the entire system of         65   duced, primarily in the nature of phase distortion. As such,
  FIG. 3, from the input current to the output voltage. A is the             with less phase distortion, gain can be increased without
  open loop gain and Riis the value of the feedback resistor 340.            increasing bit error rate.
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    It should also be noted that there is a degree of freedom to                and amplify the electrical signal to a level suitable for
  increase Ro, which in turn increases gain, without increasing                 downstream processing, the transimpedance amplifier
  distortion. As such, by increasing Rogain is increased with                   comprising:
  out increasing distortion.                                                 a first stage comprising one amplifier and a load, the first
    With higher internal gain A, the overall bandwidth               5          stage configured to receive a first stage input current and
  increases as seen from the equations above, so one can                        generate a first stage output Voltage;
  increase the feedback resistor value to keep the same band                 a second stage forming a second stage output Voltage Such
  width while at the same time lower the noise contribution                     that the first stage input signal and the second stage
  from the amplifier.                                                           output Voltage have opposite Voltage polarity and the
     One benefit of this proposed design, over prior art configu     10
                                                                                second stage is a single stage based on phase delay
  rations, is that a significantly higher sensitivity can be                    contribution because it performs a Voltage to Voltage
  achieved. In addition, the prior art teaches the need for a                   amplification, the second stage comprising:
  negative feedback in an amplifier system, and as such, this                   one amplifier configured to receive and amplify the first
  prior art teaching teaches away a two stage amplifier system.
  Implementing a prior art amplifier in a two stage configura        15            stage output Voltage and generate a second stage
  tion will not operate due to the feedback issue. This design                     amplifier output current;
  achieves a two stage design while maintaining negative feed                   a Voltage conversion device configured to receive and
  back.                                                                            convert the second stage amplifier output current to
     The following references further aid in understanding the                     the second stage output Voltage, the second stage out
  disclosure and are incorporated by reference in their entirety                   put Voltage inverted in relation to the second stage
  herein.                                                                          amplifier output current;
  1. Low power and noise tolerant 20 Gb/s CMOS TIA for                          a feedback path including a feedback resistor, the feed
     short-distance optical interconnect, Paillet, F.; Karnik, T.;                 back path connecting an output of the second stage to
     Mixed-Signal Design, 2003, Southwest Symposium on                             an input of the first stage to provide negative feedback
     23-25 Feb. 2003 Page(s):49-53.                                  25            as a result of the opposite Voltage polarity;
  2. A CMOS 18 THzOhm 240 Mb/s Transimpedance Ampli                          one or more receiver processing elements configured to
     fier and 155 Mb/s LED-Driver for Low Cost Optical Fiber                    process the amplified electrical signal received from the
     Links, Mark Ingels et al., IEEE Journal of Solid-state                     transimpedance amplifier.
    circuits, Vol. 29, No. 12, December 1994.                                2. The receiver of claim 1, further comprising a single
  3. A CMOS inverter TIA modeling with VHDL-AMS, Kar                 30   ended to differential signal conversion unit configured to
     ray, M.: Desgreys, P.; Charlot, J.-J.; System-on-Chip for            receive the output of the second stage and convert the output
     Real-Time Applications, 2003. Proceedings, The 3rd IEEE              to a differential signal.
     International Workshop on, 30 Jun.-2 Jul. 2003 Page(s):                 3. The receiver of claim 1, wherein the load comprises a
    172-174.                                                              FET.
     Also disclosed is herein is a multistage amplifier compris      35      4. The receiver of claim 1, wherein the first stage comprises
  ing an input node configured to present an input signal and N           a Voltage to Voltage amplifier and the second stage comprises
  number of amplifier stages which are sequentially connected.            a Voltage to Voltage amplifier.
  These stages comprise a first stage and a last stage such that             5. The receiver of claim 1, wherein the second stage
  the first stage has an input connected to the input node to             includes a semiconductor device.
  receive the input signal and the last stage has a last stage       40     6. The receiver of claim 1, wherein the first stage and the
  output which presents an amplified inverted signal, in com              second stage collectively perform two Voltage conversions,
  parison to the input signal. In this embodiment N is any odd            which introduces less phase shift as compared to a three stage
  number greater than or equal to three and N-1 Voltage con               transimpedance amplifier performing three Voltage conver
  versions occur.N-2 phase inversion(s) occur in the N number             sions.
  of amplifier stages. Also part of this embodiment is an output     45     7. An optical signal receiver comprising:
  node that is connected to the last stage output and is config             an optical signal detector configured to detect an optical
  ured to receive the amplified inverted signal. A feedback path               signal and output a corresponding electrical signal;
  connects the input node to the output node. In one embodi                 a transimpedance amplifier having only two amplifier
  ment, the feedback path comprises a feedback resistor.                       stages which combined provide only two phase delays,
     In one configuration at least one of amplifier stage com        50        the transimpedance amplifier configured to receive and
  prises a load or a resistance. In one configuration, the feed                amplify the electrical signal to a level suitable for down
  back path is configured to provide negative input to the input               stream processing, the transimpedance amplifier com
  node and an even number of Voltage inversions occur.                         prising:
    While various embodiments of the invention have been                    a first stage forming a first stage output Voltage such that a
  described, it will be apparent to those of ordinary skill in the   55        first stage input Voltage and the first stage output Voltage
  art that many more embodiments and implementations are                       have opposite Voltage polarity and the first stage is a
  possible that are within the scope of this invention. In addi                single stage because it performs a Voltage to Voltage
  tion, the various features, elements, and embodiments                        amplification thereby acting as a single stage based on
  described herein may be claimed or combined in any combi                     phase delay contribution, the first stage comprising:
  nation or arrangement.                                             60        one amplifier configured to receive and amplify the first
    What is claimed is:                                                           stage input voltage and generate a first stage amplifier
    1. An optical signal receiver comprising:                                      output current;
    an optical signal detector configured to detect an optical                   a Voltage conversion device configured to receive and
       signal and output a corresponding electrical signal;                        convert the first stage amplifier output current to the
    a transimpedance amplifier having only two amplifier             65            first stage output Voltage, the first stage output Voltage
       stages which combined provide only one phase inver                          inverted in relation to the first stage amplifier output
       sion, the transimpedance amplifier configured to receive                    current;
                                                                                                                    Exhibit 9, Page 154
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     a second stage comprising one amplifier and a load, the
        second stage configured to receive the first stage output
        Voltage and generate a second stage output Voltage;
     a feedback path including a feedback resistor, the feedback
        path connecting an output of the second stage to an input
        of the first stage to provide negative feedback as a result
        of the opposite Voltage polarity between the first stage
        output Voltage and a second stage output Voltage; and
     one or more receiver processing elements configured to
        process the amplified electrical signal received from the     10
        transimpedance amplifier.
     8. The receiver of claim 7, further comprising a single
  ended to differential signal conversion unit configured to
  receive the second stage output Voltage of the second stage
  and convert the second stage output Voltage to a differential       15
  signal.
     9. The receiver of claim 7, wherein the load comprises a
  FET.
     10. The receiver of claim 7, wherein the first stage com
  prises a Voltage to Voltage amplifier and the second stage
  comprises a Voltage to Voltage amplifier.
     11. The receiver of claim 7, wherein the second stage
  further includes a semiconductor device.
    12. The receiver of claim 7, wherein the first stage and the
  second stage collectively perform two Voltage conversions,          25
  which introduces less phase shift as compared to a three stage
  transimpedance amplifier performing three Voltage conver
  S1O.S.




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                   EXHIBIT 10




                                                             Exhibit 10, Page 156
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Assignment abstract of title for Application 12288982

Invention title/Inventor            Patent          Publication    Application       PCT International registration
High sensitivity two-stage amplifier 8509629        20090110409    12288982
Hehong Zou, Krishna Shivaram, Daniel Aug 13, 2013   Apr 30, 2009   Oct 24, 2008
Draper


Assignments (6 of 6 total)

Assignment 6
Reel/frame                          Execution date          Date recorded            Properties       Pages
039164/0638                         Jun 01, 2016            Jun 24, 2016             29               10

Conveyance
CHANGE OF NAME (SEE DOCUMENT FOR DETAILS).

Assignors                                                                  Correspondent
M/A-COM TECHNOLOGY SOLUTIONS HOLDINGS,                                     ROB WINDER
INC.                                                                       4000 MACARTHUR BLVD
                                                                           NEWPORT BEACH, CA 92660
Assignee
MACOM TECHNOLOGY SOLUTIONS HOLDINGS,
INC.
100 CHELMSFORD STREET
LOWELL, MASSACHUSETTS 01851



Assignment 5
Reel/frame                          Execution date          Date recorded            Properties       Pages
037274/0238                         Dec 10, 2015            Dec 11, 2015             94               8

Conveyance
ASSIGNMENT OF ASSIGNORS INTEREST (SEE DOCUMENT FOR DETAILS).

Assignors                                                                  Correspondent
MINDSPEED TECHNOLOGIES, INC.                                               ROB WINDER
                                                                           4000 MACARTHUR BLVD
                                                                           NEWPORT BEACH, CA 92660
Assignee
M/A-COM TECHNOLOGY SOLUTIONS HOLDINGS,
INC.
100 CHELMSFORD STREET
LOWELL, MASSACHUSETTS 01851



Assignment 4
Reel/frame                          Execution date          Date recorded            Properties       Pages
032861/0617                         May 08, 2014            May 09, 2014             303              28

Conveyance
RELEASE BY SECURED PARTY (SEE DOCUMENT FOR DETAILS).

Assignors                                                                  Correspondent
JPMORGAN CHASE BANK, N.A.                                                  ROPES & GRAY LLP
                                                                           PRUDENTIAL TOWER 800 BOYLSTON
                                                                           STREET
                                                                           BOSTON, MA 02199-3600

                                                                                           Exhibit 10, Page 157
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                                      #:553
Assignee
MINDSPEED TECHNOLOGIES, INC.
4000 MACARTHUR BLVD.
NEWPORT BEACH, CALIFORNIA 92660



Assignment 3
Reel/frame                      Execution date      Date recorded             Properties       Pages
032859/0374                     May 08, 2014        May 09, 2014              406              25

Conveyance
SECURITY INTEREST (SEE DOCUMENT FOR DETAILS).

Assignors                                                          Correspondent
M/A-COM TECHNOLOGY SOLUTIONS HOLDINGS,                             SKADDEN, ARPS, SLATE, MEAGHER &
INC.                                                               FLOM LLP
MINDSPEED TECHNOLOGIES, INC.                                       FOUR TIMES SQUARE
BROOKTREE CORPORATION                                              NEW YORK, NY 10036

Assignee
GOLDMAN SACHS BANK USA
200 WEST STREET
NEW YORK, NEW YORK 10282



Assignment 2
Reel/frame                      Execution date      Date recorded             Properties       Pages
032495/0177                     Mar 18, 2014        Mar 21, 2014              303              27

Conveyance
SECURITY INTEREST (SEE DOCUMENT FOR DETAILS).

Assignors                                                          Correspondent
MINDSPEED TECHNOLOGIES, INC.                                       DUSAN CLARK, ESQ.
                                                                   SIDLEY AUSTIN LLP
                                                                   717 N. HARWOOD ST., SUITE 3400
                                                                   DALLAS, TX 75201
Assignee
JPMORGAN CHASE BANK, N.A., AS
ADMINISTRATIVE AGENT
10 SOUTH DEARBORN
CHICAGO, ILLINOIS 60603



Assignment 1
Reel/frame                      Execution date      Date recorded             Properties       Pages
021771/0592                     Oct 22, 2008        Oct 24, 2008              1                5

Conveyance
ASSIGNMENT OF ASSIGNORS INTEREST (SEE DOCUMENT FOR DETAILS).

Assignors                                                          Correspondent
ZOU, HEHONG                                                        CHAD W. MILLER
SHIVARAM, KRISHNA                                                  7251 W. LAKE MEAD BLVD.
DRAPER, DANIEL                                                     SUITE 530
                                                                   LAS VEGAS, NV 89128
Assignee
MINDSPEED TECHNOLOGIES, INC.
4000 MACARTHUR BLVD.
NEWPORT BEACH, CALIFORNIA 92660-2558




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                   EXHIBIT 11




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                                                                                                 US009030263B2


  (12) United States Patent                                                 (10) Patent No.:     US 9,030,263 B2
         Robinson et al.                                                    (45) Date of Patent:     May 12, 2015
  (54) TRANSIMPEDANCE AMPLIFIER (TIA)                                    (56)                     References Cited
         CIRCUIT AND METHOD
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  (71) Applicant: Avago Technologies General IP                                 5.483.200 A *      1/1996 Okabayashi et al. ......... 330/308
                  (Singapore) Pte. Ltd., Singapore (SG)                         6,342,694 B1*      1/2002 Satoh ............................ 330/308
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  (72) Inventors: Michael Robinson, Freemont, CA (US);                          6,879,216 B2 * 4/2005 Chen et al. .................... 330/308
                  Vishant Tyagi, Santa Clara, CA (US);                          7,030,702 B2       4/2006 Denoyer et al.
                  Peter Ho, Union City, CA (US)                                 8,766,728 B2 *     7/2014 Ito et al. ........................ 330/308
                                                                          2009/0051442 A1          2/2009 Seo et al. ...................... 330/308
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  (73) Assignee: Avago Technologies General IP
                  (Singapore) Pte. Ltd., Singapore (SG)                                     OTHER PUBLICATIONS

  (*) Notice:         Subject to any disclaimer, the term of this        Keiji Tanaka, Morihiro Seki, Seigo Furudate, Akihiro Moto, Toshio
                      patent is extended or adjusted under 35            Takagi, Satoshi Yoshikawa, Tomoya Saeki, Katsumi Uesaka, SDH/
                      U.S.C. 154(b) by 91 days.                          Sonet Multi-rate SFP Module with Gain Selectable Transimpedance
                                                                         Amplifier and Extinction Ratio Control Unit, Journal, 2007, pp.
  (21) Appl. No.: 13/838,039                                             1294-1299, Electronic Components and Technology Conference,
                                                                         Reno, Nevada, United States.
  (22) Filed:         Mar 15, 2013
  (65)                   Prior Publication Data                          * cited by examiner
         US 2014/0266453 A1               Sep. 18, 2014                  Primary Examiner — Khanh V Nguyen
  (51)   Int. C.                                                         (57)                       ABSTRACT
         HO3F 3/08                  (2006.01)                            A TIA circuit and method are provided that merge the auto
         HO3G 3/30                  (2006.01)                            matic gain control function with the bandwidth adjustment
  (52)   U.S. C.                                                         function to allow the TIA circuit to operate over a wide
         CPC ................................... H03G 3/3063 (2013.01)   dynamic range at multiple data rates. The TIA circuit has an
  (58)   Field of Classification Search                                  effective resistance that is adjustable for adjusting the gain
         CPC. H03G 1/0047; H03G 3/3084; H03G 1/0023;                     and the bandwidth of the TIA circuit. The mechanism of the
                  H03G 1/008: HO3F 3/087; H03F 3/082:                    TIA circuit that is used to adjust the effective resistance, and
                 H03F 3/085; HO3F 3/08: HO3F 3/45475;                    hence the gain and bandwidth of the TIA circuit, is tempera
               G01J 1/44; H04B 10/6931; H04B 10/6911;                    ture independent, and as such, the performance of the TIA
                                                     GO1N 21/5907        circuit is not affected by temperature variations.
         USPC .................. 330/59, 308: 250/214A, 214 AG
         See application file for complete search history.                                24 Claims, 6 Drawing Sheets


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                           27                                 20
                                                   SUPLY2




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                                                                         2O1
       PROVIDE ATIA CIRCUIT HAVING ATIA, AN AGC CIRCUIT AND A BWA
                                 CIRCUIT

                                                                         2O2
       IN THE TIA, RECEIVING ANELECTRICAL SIGNAL GENERATED BY AN
                           OPTICAL DETECTOR

                                                                         2O3
      IN THE AGC CIRCUIT, RECEIVING ANELECTRICAL SIGNAL GENERATED
         BY THE OPTICAL DETECTOR AND COMPARING THE RECEIVED
            ELECTRICAL SIGNAL WITHAT LEAST A FIRST THVALUE

      OUTPUTTING AN AGC OUTPUT SIGNAL FROM THE AGC BASED ON THE          204
      COMPARISON OF THE RECEIVED ELECTRICAL SIGNAL AND AT LEAST
                             THE FIRST TH


         INTHE BWA CIRCUIT, RECEIVING THE AGC OUTPUT SIGNALAND           2O5
       COMBINING T WITH WITH ABWA SIGNAL GENERATED BY THE BWA
               CIRCUIT TO OBTAIN A COMBINED BWA SIGNAL


          IN THE BWA CIRCUIT, USING THE COMBINED BWA SIGNAL TO           2O6
      PRODUCE AT LEAST ONE DRIVE SIGNAL AND OUTPUTTING THE DRIVE
                     SIGNAL FROM THE BWA CIRCUIT




         IN THE TIA, RECEIVING THE DRIVE SIGNAL AND ADJUSTING THE        2O7
      EFFECTIVE RESISTANCE OF THE TIA BASED ON THE DRIVE SIGNAL TO
           CONTROL THE GAIN AND BANDWDTH OF THE TIA CIRCUIT




                               FIG. 6



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                                                         US 9,030,263 B2
                                 1.                                                                       2
          TRANSIMPEDANCE AMPLIFIER (TIA)                                   input signal grows so as to prevent the TIA from Saturating
                  CIRCUIT AND METHOD                                       and producing distortion at its output. In addition, the TIA
                                                                           also needs to operate at multiple data-rates, which requires
         TECHNICAL FIELD OF THE INVENTION                                  adjustment of the bandwidth of the TIA.
                                                                              FIG. 1 is a block diagram of a typical TIA circuit 2 that has
     The invention relates to optical communications systems               resistive feedback architecture. The TIA circuit 2 comprises a
  and networks. More particularly, the invention relates to a              feedback resistor R3, a first metal oxide semiconductor field
  transimpedance amplifier (TIA) circuit for use in an optical             effect transistor (MOSFET) M-4, a second MOSFETM,
  receiver of an optical communications network.                           5, a resistor 6, a third MOSFET M 7, a photodiode 8, first
                                                                      10   and second bipolar junction transistors (BJTs) 9 and 11, a
            BACKGROUND OF THE INVENTION                                    current source 12, and a dummy side 13. The dummy side 13
                                                                           comprises resistors 14 and 15, BJTs 16 and 17, and current
     A typical optical transceiver module currently used in opti           source 18 that mirror resistors 3 and 6, BJTs 9 and 11, and
  cal communications includes a transmitter portion and a                  current source 12, respectively. The value of the feedback
  receiverportion. The transmitter (TX) portion includes a laser      15   resistor, R. 3 is either fixed or minimally adjustable and
  driver, which is typically an integrated circuit (IC), one or            serves to set the gain and bandwidth ranges of the TIA circuit
  more laser diodes, and an optics system. The laser driver                2. The value of R. 3 varies quite a bit (e.g., 25 to 30%) over
  outputs electrical signals to the laser diodes to modulate them.         process and temperature. Some of the process variations can
  When the laser diodes are modulated, they output optical                 be calibrated out, but temperature variations will continue to
  signals, which are then directed by the optics system of the             affect the gain and bandwidth of the TIA circuit 2. The band
  TX portion onto the ends of respective transmit optical fibers           width Voltage, V, which is applied to the gate of M-4, is
  or waveguides held within a connector that mates with the                a digitally-controlled signal that changes the effective band
  transceiver module. The TX portion typically also includes an            width of the TIA circuit 2 by turning Mr. 4 ON and OFF.
  open loop or closed loop optical output power control system             When M4 is turned ON, the TIA circuit 2 operates at a first
  for maintaining the average optical output power levels of the      25   data rate having a first bandwidth. When M. 4 is turned
  lasers at Substantially constant levels.                                 OFF, the TIA circuit 2 operates at a second data rate having a
     The receiver (RX) portion of the optical transceiver module           second bandwidth.
  typically includes at least one photodiode, at least one TIA,               The operation of M., 5 is controlled by a direct current
  and at least one limiting amplifier (LA). The photodetector,             (DC) cancellation signal, DC, which is driven by a DC
  which is typically a P-intrinsic-N (PIN) photodiode, produces       30   cancellation block (not shown for purposes of clarity). M5
  an electrical current signal in response to light detected by the        is operated in a manner that causes TIAOUT<0> and
  photodetector. The TIA forms the front-end of the RX por                 TIAOUT<1> to track one another by sinking the average
  tion. The photodiode converts the input light into an electrical         input current through M., 5. A replica of this average current
  current signal and presents it at the input of the TIA. The TIA          is pushed into a fixed resistor to generate the AGC Voltage
  converts this electrical current signal into an output Voltage      35   signal, V, which turns ON M 7. M. 7 turns ON
  having some gain, commonly referred to as transimpedance                 stronger as the average input current increases and hence
  gain, and this signal is further processed by other stages (i.e.,        reduces the effective feedback resistance R3 and the gain of
  the LA, output driver, etc.) in the RX portion.                          the TIA circuit 2 to allow it to handle a larger signal at the
     The TIA handles input signals (the photodiode output) of              input where the TIA circuit 2 connects to a photodiode 8.
  varying optical modulation amplitude (OMA) and average              40      One of the disadvantages of the TIA circuit 2 and similar
  power (P), and therefore needs to have a wide input                      designs is that they have a limited dynamic range, and there
  dynamic range. OMA is expressed as OMAP1-P0, where                       fore are not capable of adequately handling input signals of
  P1 is the optical power generated by the laser diode when it is          varying OMA and P. Another disadvantage of such TIA
  in the logic 1 state and P0 is the optical power generated by the        circuits is that while Some of the process variations associated
  laser diode when it is in the logic 0 state. The average optical    45   with variations in the value of R can be removed through
  power is expressed as P. (P1+P0)/2. Another important                    calibration, temperature variations that cause the value of R
  term is extinction ratio (ER), which is defined as the ratio             to vary generally cannot be removed. Therefore, the perfor
  between the two optical power levels, ER-P1/P0. OMA is                   mance of such TIA circuits can be detrimentally affected by
  related to P. and ER as: OMA-2*P*(ER-1)/(ER+1).                          temperature variations. Yet another disadvantage of Such
  The photodector creates an average current, I, corre                50   designs results from the operation of M 7. The signal
  sponding to P and has a current amplitude, CA, corre                     V, that controls the operations of M. 7 is an analog
  sponding to OMA. The TIA amplifies the current to create a               signal. When the value of V, is such that M. 7 is not
  modulated signal with a Voltage Modulation Amplitude,                    turned fully ON or fully OFF. M., 7 operates in a nonlinear
  VMA, which is used in some cases to control the automatic                region, which can result in distortion in the output of the TIA
  gain control function.                                              55   circuit.
     Wide input dynamic range calls for the use of an automatic               Accordingly, a need exists for a TIA circuit that has a wide
  gain control (AGC) circuit in the RX portion for automati                dynamic range over multiple data rates, that has performance
  cally adjusting the gain of the TIA based on the amplitude of            characteristics that are independent oftemperature variations,
  the input signal. Without an AGC circuit, the TIA tries to               and that avoids the aforementioned problems that can lead to
  convert the current into a corresponding output Voltage with        60   distortion in the output of the TIA circuit.
  its transimpedance gain as the amplitude of input signal cur
  rent increases. When this happens, however, the transimped                           SUMMARY OF THE INVENTION
  ance gain is limited by the Voltage headroom (the maximum
  high and low output voltage for linear operation of the TIA) as            The invention is directed to a TIA circuit and method. The
  the output Voltage Swing increases, which results in the output     65   TIA circuit includes at least a TIA and a bandwidth adjust
  signal becoming distorted. Hence, an AGC circuit is needed               ment (BWA) circuit. The TIA has an input that receives an
  in order to lower the gain of the TIA as the amplitude of the            electrical signal generated by an optical detector in response
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  to the optical detector converting an optical signal into the            The TIA circuit 10 typically, but not necessarily, also includes
  electrical signal. The TIA has an effective resistance that is           a limiting amplifier 50, a DC cancellation circuit 60 and an
  adjustable to control the gain and bandwidth of the TIA                  output driver 70, although these components are outside of
  circuit. The BWA circuit is electrically coupled with the TIA.           the scope of the discussion being provided herein. The dis
  The BWA circuit generates a BWA signal, which the BWA                    cussion being provided herein focuses on the TIA 20, the
  circuit uses to produce at least one drive signal that is output         AGC circuit 30 and the BWA circuit 40, which operate in
  to the TIA. The TIA adjusts the effective resistance of the TIA          conjunction with one another to allow the TIA circuit 10 to
  based on the drive signal to control the gain and the bandwidth          operate over a wide dynamic range with improved perfor
  of the TIA circuit independently of any variations in tempera            mance over temperature and process variations.
  ture or process.                                                    10     In accordance with this illustrative embodiment, the TIA
     The method comprises:                                                 20 includes at least one MOSFET M1 21, first and second
     providing a TIA circuit comprising a TIA and a bandwidth              BJTs 22 and 23, a resistor R1 24, and a current source 25. The
  adjustment (BWA) circuit;                                                base of the BJT 22 is connected to the anode of an optical
     in the TIA, receiving an electrical current signal generated          detector 26, which is typically, but not necessarily, a photo
  by an optical detector that converts an optical signal into the     15   diode. For exemplary purposes, the optical detector 26 will be
  electrical current signal;                                               referred to hereinafter as a photodiode. A resistor R2 27 is
     with the BWA circuit, generating a BWA signal;                        connected to a cathode of the photodiode 26 and to a Voltage
     in the BWA circuit, using at least the BWA signal to pro              supply 28. MOSFETM 21 has its drain connected to the base
  duce at least one drive signal and outputting the drive signal           of BJT 22 and has its source connected to the emitter of BJT
  from the BWA circuit; and                                                23 and to a terminal of the current source 25. The collector of
     in the TIA, receiving the drive signal and adjusting an               BJT 22 is connected to a terminal of the resistor R1 24 and to
  effective resistance of the TIA based on the drive signal to             the base of BJT 23. The opposite terminal of resistor R1 24 is
  control again and a bandwidth of the TIA circuit.                        connected to the collector of BJT 23. The emitter of BJT 22 is
     These and other features and advantages of the invention              connected to a terminal of the current source 25. The gate of
  will become apparent from the following description, draw           25   MOSFET M121 is connected to an output terminal 41 of the
  ings and claims.                                                         BWA circuit 40, as will be described below in more detail.
                                                                             The cathode of the photodiode 26 is connected to an input
          BRIEF DESCRIPTION OF THE DRAWINGS                                terminal 31 of the AGC circuit 30 such that the AGC circuit 30
                                                                           senses an average input current, I, of the photodiode 26.
    FIG. 1 is a block diagram of a known TIA circuit that has a       30   The AGC circuit 30 includes first and second current sources
  known resistive feedback architecture.                                   32 and 33, each of which has an input terminal that is con
    FIG. 2 illustrates a block diagram of a TIA circuit in accor           nected to the input terminal 31 of the AGC circuit 30 for
  dance with an illustrative embodiment of the invention.                  receiving the current signal generated by the photodiode 26 in
    FIG. 3 illustrates a block diagram of a TIA of a TIA circuit           response to the photodiode 26 detecting an optical signal. The
  in accordance with another illustrative embodiment.                 35   first and second current sources 32 and 33 also have input
    FIG. 4 illustrates a block diagram of a bandwidth adjust               terminals that receive first and second current threshold (TH)
  ment (BWA) circuit that is used in conjunction with the TIA              signals AGC TH1 34 and AGC TH2 35, respectively.
  shown in FIG. 3.                                                         AGC TH1 34 is less than AGC TH2 35.
     FIG. 5 illustrates a block diagram of an automatic gain                  If I exceeds AGC TH1 34, but is less than AGC TH2
  control (AGC) circuit that is used in conjunction with the TIA      40   35, the first current source 32 outputs a first current signal
  shown in FIG. 3 and with the BWA circuit shown in FIG. 4.                having a first amplitude and the second current source 33
    FIG. 6 illustrates a flow diagram of the method performed              outputs no current signal. If I exceeds AGC TH1 34 and
  by the TIA circuit in accordance with an illustrative embodi             exceeds AGC TH2 35, the first current source 32 outputs a
  ment.                                                                    first current signal having a first amplitude and the second
                                                                      45   current Source 33 outputs a second current signal having a
              DETAILED DESCRIPTION OF AN                                   second amplitude. If It is less than AGC TH1 34 and less
               ILLUSTRATIVE EMBODIMENT                                     than AGC TH2 35, the first and second current sources 32
                                                                           and 33 output no current signals. The current signal(s) that are
     In accordance with the invention, a TIA circuit is provided           output by the first and second current sources 32 and 33 are
  that merges the automatic gain control (AGC) function               50   summed at an output terminal 36 of the AGC circuit 30 to
  described above with the bandwidth adjustment (BWA) func                 produce I. The output terminal 36 of the AGC circuit 30 is
  tion described above to allow the TIA circuit to operate over            connected to an input terminal 42 of the BWA circuit 40.
  a wide dynamic range and at multiple data rates. The TIA                 Thus, the current signal I, that is output from the AGC
  circuit has an effective resistance that is adjustable for adjust        circuit 30 is injected into the BWA circuit 40.
  ing the gain and the bandwidth of the TIA circuit. The mecha        55      Thus, if I exceeds AGC TH1, the AGC circuit 30
  nism of the TIA circuit that is used to adjust the effective             increases the amplitude of the current signal I, that is
  resistance, and hence the gain and bandwidth of the TIA                  output from the AGC circuit and received by the BWA circuit
  circuit, is temperature independent. Consequently, the perfor            40 by a first amount. If I exceeds AGC TH2, the AGC
  mance of the TIA circuit is less detrimentally affected by               circuit increases the amplitude of the output current signal
  temperature variations than known designs such as the afore         60   I that is output from the AGC circuit and received by the
  mentioned designs. Illustrative, or exemplary, embodiments               BWA circuit by a second amount. The second amount
  of the method and apparatus will be described with reference             exceeds the first amount. Therefore, increasing the output
  to FIGS. 2-6, in which like reference numerals represent like            current signal I, by the first amount results in a first reduc
  elements, components or features.                                        tion in the effective resistance of the TIA 20 and a first
     FIG. 2 is a block diagram of the TIA circuit 10 in accor         65   reduction in the gain of the TIA circuit 10. Increasing the
  dance with an illustrative embodiment. The TIA circuit 10                output current signal I, by the second amount results in a
  includes a TIA 20, an AGC circuit 30 and a BWA circuit 40.               second reduction in the effective resistance of the TIA20 and
                                                                                                                 Exhibit 11, Page 168
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  a second reduction in the gain of the TIA circuit 10. Using the            have now been merged. Therefore, a separate MOSFET is not
  two threshold values to divide the operations of the AGC                   being turned ON and OFF to perform AGC, and therefore is
  circuit 30 helps to optimize the performance of the TIA 20 for             never operating in its nonlinear region. Rather than using a
  low, medium and high ranges of OMA and average power.                      separate MOSFET for this purpose, the amount of current that
     In accordance with this illustrative embodiment, the BWA                is into the input terminal 42 of the BWA circuit 40 is varied.
  circuit 40 includes a first current source 43, a resistor R344,            Thus, the problem of distortion in the TIA output due to
  an operational amplifier (Op Amp) 45, at least one MOSFET                  nonlinear operation of the AGC MOSFET is eliminated. This
  M2 46, and a second current source 47. The first and second                feature provides the TIA circuit 10 with a wide dynamic
  current sources 43 and 47 are bandgap current sources (i.e.,               range, without nonlinear effects from the AGC circuit 30, as
  V/R, where V is the bandgap voltage andR is the resistor),            10   well as temperature independence.
  and as Such have operating characteristics that are tempera                   ATIA circuit that implements the principles and concepts
  ture-independent. The first current source 43 generates a ref              described above with reference to FIG.2 may have a variety
  erence current, I, which passes through resistor R3 44 to                  of configurations. For example, another illustrative embodi
  create a reference Voltage, V., across resistor R344, which                ment of a TIA circuit that implements the principles and
  is process and temperature independent. The second current            15   concepts of the invention is shown in FIGS. 3-5. FIG. 3
  source 47 generates a BWA current, I, which passes                         illustrates a block diagram of the TIA 110 of the TIA circuit.
  through M246 from its drain to its source when M2 46 is                    FIG. 4 illustrates a block diagram of a BWA circuit 140 of the
  turned ON by Op Amp 45. The drain-to-source voltage of M2                  TIA circuit. FIG. 5 illustrates a block diagram of an AGC
  46 is referred to herein as V.                                             circuit 160 of the TIA circuit. The TIA circuit in accordance
     During operation of the BWA circuit 40, V and V.                        with this illustrative embodiment will now be described with
  remain equal to one another. As the amount of current that is              reference to FIGS. 3-5.
  injected into the BWA circuit 40 from the AGC circuit 30 is                   The TIA 110 (FIG. 3) has a real side 110a and a dummy
  varied based on the outputs of the current sources 32 and 33 of            side 110b. On the real side 110a, a plurality of MOSFETs
  the AGC circuit 30, Op. Amp 45 drives the gate of M246 in                  111-115 are in parallel with one another. An optical detector
  Such away that the values of the Voltage signals being applied        25   116, which is referred to hereinafter as a photodiode for
  to the input terminals of the Op Amp 45 remain approxi                     exemplary purposes, is electrically coupled to a node of the
  mately equal. Because V is temperature-independent, V                      TIA 110 that is electrically coupled to the sources of the
  which is maintained equal to V, is also temperature-inde                   MOSFETs 111-115. That same node is also electrically
  pendent. For this reason, the output signal of the BWA circuit             coupled to the drain of a MOSFET 117 and to the bases of BJT
  40 at terminal 41 of the BWA circuit 40 generates a voltage so        30   118. The gate of the MOSFET 117 receives a DC cancellation
  as to produce a temperature-independent resistance at MOS                  signal, DC, that is output from a DC cancellation circuit
  FET M2 46. The output signal of the BWA circuit 40 at                      (not shown for purposes of clarity). The DC cancellation
  terminal 41 is driven to achieve temperature independence at               circuit is outside of the scope of this invention and therefore is
  V of MOSFET M2 46, which then achieves temperature                         not shown or described herein.
  independence for the effective feedback resistance of the TIA         35      The collector of the BJT 118 is electrically coupled to a
  20 due to the matching characteristics of MOSFETs M246                     terminal of a resistor 120. The opposite terminal of the resis
  and M1 21. The output signal at terminal 41 varies with                    tor 120 is electrically coupled to a terminal of an inductor 121.
  temperature to achieve this result.                                        The emitter of the BJT 118 is electrically coupled to the
     The output signal of the BWA circuit 40 at terminal 41 is               source of MOSFET 117 and to a terminal of a current source
  used as an input signal to the TIA20 for driving the gate of M1       40   121. The opposite terminal of the current source 121 is elec
  21 of the TIA 20. The manner in which the gate of M121 is                  trically coupled to the emitter of BJT 119. The collector of
  driven controls the effective feedback resistance of the TIA               BJT 119 is electrically coupled to a terminal of the inductor
  20, which controls the gain and the bandwidth of the TIA                   121.
  circuit 10. The larger the current signal that is injected into the          The dummy side 110b of the TIA 110 includes a resistor
  BWA circuit 40 by the AGC circuit 30 at node 42, the greater          45   122, BJTs 123 and 124, a resistor 125, MOSFETs 126-130,
  the reduction in the gain of the TIA 20. Conversely, the                   and a current source 131, which are coupled together in a
  smaller the current signal that is injected into the BWA circuit           manner similar to the manner in which analogous compo
  40 by the AGC circuit 30 at node 42, the smaller the reduction             nents of the real side 110a are coupled together. The output of
  in the gain of the TIA 20.                                                 the real side 110a of the TIA 110 is TIAOUT<O> and the
     In addition, because the output signal at terminal 41 of the       50   output of the dummy side 110b of the TIA 110 is
  BWA circuit 40 is designed to generate a temperature-inde                  TIAOUT<1>. The MOSFETs 111-115 provide the feedback
  pendent resistance of MOSFET M246 which matches MOS                        resistance of the TIA 110, and the feedback resistance is
  FETM1 21, the gain and the bandwidth of the TIA circuit 10                 altered by changing the gate Voltage of one or more of the
  have less temperature dependence than they would without                   MOSFETs 111-115, as will be described below in more
  the use of the invention. In other words, the gain and the            55   detail.
  bandwidth of the TIA circuit 10 are relatively constant over                 The BWA circuit 140 (FIG. 4) includes first and second Op
  temperature. Furthermore, the configuration of the TIA cir                 Amps 141 and 142, a plurality of MOSFETs 143-147 con
  cuit 10 obviates the problem described above with reference                nected in parallel with one another, a reference resistor, R,
  to FIG. 1 caused by M.7 operating in the nonlinear region,                 148, a digital-to-analog converter (DAC) current source 149.
  leading to distortion in the output of the TIA circuit 2. In the      60   and a fixed current source 154. The current sources 149 and
  TIA circuit 2 shown in FIG. 1, the signal V, that drove the                154 are bandgap current sources, and as Such have operating
  gate of MAGC 7 was an analog signal that could leave M,                    characteristics that are temperature-independent. The MOS
  7 barely OFF or barely ON, resulting in MAGC 7 operating in                FETs 143-147 are exact replicas of the MOSFETs 111-115
  nonlinear regions. Unlike the TIA circuit 2 shown in FIG. 1,               (FIG. 3). As will be described below in more detail, the gate
  inaccordance with the illustrative embodiment shown in FIG.           65   voltage of one or more MOSFETs 111-115 and 143-147 is
  2, a separate MOSFET is not used for performing AG.C.                      varied to change the effective resistances provided by each of
  Rather, M121 is used for AGC and BWA, as these functions                   the parallel arrangements. The control signals Vgf and
                                                                                                                   Exhibit 11, Page 169
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  Vgf sw-3:0> that are used to switch on the MOSFETs 111                  two-bit control (0.5 dB-2 dB) of the variable resistor combi
  115 are derived from the control signals Vg and Vg sw-3:0>.             nation 165/166 (FIG. 5) to set the threshold AGCtr.
  respectively, that are used to switch on the MOSFETs 143                   With reference to the BWA circuit 140 (FIG. 4), the fixed
  147, as will be described below in more detail. Filter circuitry        Voltage VI 153xR 148 is replicated as Vds of the
  represented by elements 155-158 (FIG. 3) shows how the                  MOSFETs 143-147. In the closed loop, Op. Amp 141 changes
  control signals Vgf and Vgf Sw<3:0> are derived from the                the gate voltage, Vg, of MOSFET 143 in order to force the
  control signals Vg and Vg sw-3:0>, respectively. The cur                input Voltages V and V of the Op Amp 141 to be equal:
  rent signal I, 151 that is injected into the drains of the              V. V. As the known current I, 152 is pushed into the
  MOSFETs 143-147 is an output of the AGC circuit 160                10
                                                                          drains of the MOSFETs 143-147, Op. Amp 141 changes Vg
  shown in FIG. 5. The current signal I, 152 is a program                 and hence the effective resistance provided by the MOSFETs
  mable current signal that is generated by the DAC current               143-147 such that the voltage Vds across MOSFETs 143-147
  source 149. The current signal I 153 is a fixed current                 is equal to V. Thus, the effective resistance provided by
  signal that is generated by the current Source 154.                     the MOSFETs 143-147 is equal to R/n, where n is the ratio
     The AGC circuit 160 (FIG.5) includes three fixed resistors      15   of I, and I in the BWA circuit 140. The same control
  161-163, three variable resistors 164-166, three BJTs 167               signalVg (filtered) that is used to bias the MOSFETs 143-147
  169, two MOSFETs 171 and 172, two fixed current sources                 (FIG. 4) is used to bias the MOSFETs 111-115 (FIG. 3).
  173 and 174, and two variable current sources 175 and 176.              Because the closely-matched MOSFETs 111-115 and 143
  The variable resistor 164 is used to set a first average power          147 have the same Vgs, R/n of the BWA circuit 140 is
  threshold, AGCth. The combination of the variable resistors             replicated in the TIA 110 by turning ON the respective MOS
  165 and 166 is used to set the range of OMA over which AGC              FETs 111-115 in the TIA 110 to provide the TIA 110 with an
  transition, AGCtr, takes place. There are two of such AGC               effective feedback resistance that is equal to R/n. Thus, by
  circuits 160 implemented in the design which are used to                changing the current I-152 generated by the DAC current
  adjust the gain of the TIA circuit in two stages (giving two            source 149 (controlled by BW<3:0>), the effective feedback
  threshold levels AGCth1 and AGCth2) based on the average           25   resistance of the TIA 110 is changed, thereby changing the
  current, I, of the current signal produced by the photo                 gain and bandwidth of the TIA circuit.
  diode 116 (FIG. 3), as will be described below in more detail.             For example, assuming T-25 microampere (LLA).
  The variable current source 175 is a replica of the average             R. 4 kilo-ohm and I-250 LA, the effective feedback
  current output by the photodiode 116 (FIG. 3). Variable cur             resistance of the TIA 110 (FIG. 3) is equal to about 400 ohm.
  rent source 176 is a DAC current source that is programmable       30   Process variations can be calibrated out during wafer testing
  such that it can be set to achieve a desired value for current          by targeting a certain resistance and setting BW<3:0> (FIG.
  signal Loc. 151.                                                        4) to generate a current signal I, 152 that achieves the
     The combined circuitry of the TIA 110, the BWA circuit               targeted resistance. Because the effective feedback resistance
  140 and the AGC circuit 160 forms the TIA circuit of this               of the TIA 110 (FIG. 3) tracks Rs. 148 of the BWA circuit
  embodiment. The manner in which the TIA circuit operates           35   140 (FIG. 4), which does not vary much with variations in
  will now be described with reference to FIGS. 3-5. In accor             temperature for the reasons described above, the gain of the
  dance with this illustrative embodiment, the TIA circuit is             TIA 110 does not vary much if at all with variations in
  configured for multi-data rate operations (e.g., 4 Gigabits per         temperature.
  second (Gbps) to 14 Gbps) over a wide dynamic range of                    For AGC operation, the reduction in gain is achieved by
  OMA (e.g., -8 decibel milliwatt (dBm) to 7 dBm) and ER             40   pushing more of the current I, 151 (FIGS. 4 and 5) into
  (e.g., 3 dB to 11 dB) while maintaining very good perfor                MOSFETs 143-147 once threshold AGCth is exceeded. The
  mance characteristics that are not detrimentally affected by            control signal BWSW3:0> (FIG. 4) controls the effective
  variations in temperature. The TIA circuit has multi-data rate          size of the MOSFET associated with MOSFETs 143-147 by
  functionality achieved by adjusting the feedback resistance of          turning them ON or OFF such that they can handle the maxi
  the TIA 110 (FIG. 3) to attain the desired bandwidth. The          45   mum current I, 151 without railing Vg (-Vbe + 1.75V).
  DAC current source 149 (FIG. 4) has 4-bit control for adjust            This rail voltage is limited to prevent the MOSFETs 143-147
  ing the current I-152 to achieve the bandwidth adjustment.              from becoming overstressed. On the other hand, if the MOS
     The photodetector 116 generates an output signal with a              FETs 143-147 are made arbitrarily large, this will lowerV.
  current modulation amplitude (CMA), which is known to be                (V-V) of the MOSFETs 143-147 for normal operation
  correlated to It within a fixed range. For overload (high          50   (low OMA), which means that V of the MOSFETs 111
  CMA and high I) operation, the AGC circuit 160 reduces                  115 (FIG. 3) will also be lowered. If the voltage swing across
  the gain of the TIA circuit by a certain ratio to allow it to           the MOSFETs 111-115 (FIG. 3) is so large as to be compa
  handle higher input CMA without saturating the TIA circuit.             rable to V, this will cause distortion in the output of the
  The DAC current source 176 (FIG. 5) has 4-bit control for               TIA 110. The control signal BWSW3:0> (FIG. 4) is set to
  setting the current that is injected into the sources of the       55   prevent such occurrences.
  MOSFETs 171 and 172 for achieving the desired gain reduc                   With reference to FIG. 3, the DC Cancellation circuit (not
  tion ratio. The AGC circuit 160 monitors I associated with              shown) that provides the control signal DC that drives the
  the current signal produced by the photodiode 116 and begins            gate of MOSFET 117 (FIG. 3) causes the MOSFET 117 to
  reducing the TIA gain as soon as I exceeds the 4-bit                    sink the input average current from the photodiode 116 such
  programmable threshold AGCth provided by variable resistor         60   that the average values of TIAOUT<0> and TIAOUT<1>
  164 (FIG. 5). A smaller reduction in the TIAgain is achieved            track one another and such that the input current to the TIA
  for a medium range of OMA (e.g., one-half of the TIA gain               110, IN, and the input current on the dummy side 110b
  for an OMA ranging from -6 dBm to -2 dBm). A larger                     generated by the resistor 125, INDUM, track one another. Op
  reduction in TIA gain is achieved for higher OMA (e.g.,                 Amp 142 (FIG. 4) buffers IINDUM and V is applied on
  one-third of the TIA gain for an OMA that is equal to or           65   top of it in order to set the source voltage of the MOSFETs
  greater than -1 dBm). The range of OMA over which the                   143-147 similar to the source voltage of MOSFETs 111-115
  AGC transition takes place is also programmable through                 and MOSFETs 126-130.
                                                                                                               Exhibit 11, Page 170
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     In the AGC circuit 160 (FIG. 5), as the input average                   output signal is received and combined with a BWA signal
  current increases and after a certain threshold (set by                    generated by the BWA circuit to obtain a combined signal, as
  AGCth:3:0>) has been exceeded, V goes below V, and                         indicated by block 205. In the BWA circuit, the combined
  V starts to drop below Vo. This starts turning ON MOS                      signal is used to produce at least one drive signal that is
  FET MP1 172, which causes the current generated by the                     outputted from the BWA circuit, as indicated by block 206. In
  DAC current source 176 to be steered into the branch that                  the TIA, the drive signal is received and an effective resis
  includes MP1 172 and into the BWA circuit 140 (I). This                    tance of the TIA is adjusted based on the drive signal to
  additional current causes Vg to rise and to reduce the effective           control the gain and the bandwidth of the TIA circuit, as
  feedback resistance and gain of the TIA 110 to handle over                 indicated by block 207.
  load operation. Continuing with the above example, if                 10      Many modifications may be made to the illustrative
  I-250 LA, the total current injected into the MOSFETs                      embodiments described above that are within the scope of the
  143-147 is equal to 500 LA, which results in an effective TIA              invention. For example, while the TIAS 20 and 110 have been
  feedback resistance of approximately 200 ohm, provided Vg                  described as having effective resistances that are temperature
  does not rail.                                                             independent, in Some cases it may be desirable to allow the
    The transition of the AGC is controlled by changing the             15   effective resistance to vary with temperature in a manner that
  gain of the first differential pair (BJTs 167 and 168) in the              is controllable. This can be accomplished by, for example,
  AGC circuit 160 by changing the value of the degeneration                  using a temperature coefficient with the current source I
  resistors 165 and 166. Bits AGCtr£1:0> control this transi                 43 or with the current source I, 47 that is deliberately set to
  tion. As explained above, the AGC circuit 140 has two power                achieve a desired amount of variation in the effective resis
  threshold levels, namely AGCth1 and AGCth2. This allows                    tance of the TIA 20 with variations in temperature.
  the gain of the TIA 110 to be gradually decreased in two steps               Another example of modifications that may be made to the
  as the input power increases. This is important because if the             illustrative embodiments is related to the manner in which
  AGC circuit 160 causes too much of a reduction in the TIA                  thresholds are used in the AGC circuits 30 and 160 to achieve
  gain for medium range of OMA, the bandwidth will be                        the above-described gain transitions. While the operations of
  pushed too high and ringing may be observed at the TIA                25   these circuits have been described with reference to compar
  output due to reduced phase margin. Using the two thresholds               ing current signals produced by the photodiodes with corre
  to control the TIA gain transitions causes the lower phase                 sponding threshold values, thresholding may instead be per
  margin to occur when the TIA output signal Voltage modula                  formed my monitoring signal Swings at the output of the TIA.
  tion amplitude (VMA) is large enough to tolerate the                       In the latter case, the threshold values used would be VMA
  increased ringing and low enough to prevent non-linear                30   threshold values. Both ways have advantages and disadvan
  effects in the TIA 110.                                                    tages. It is also possible to use both types of thresholding
     An alternative to using this approach to obtain a gradual               techniques together. Also, while the comparisons have been
  reduction in TIAgain as the input power increases is to use a              described with reference to comparing current signals with
  replica/scaled version of input average current to drive the               threshold values, the comparisons may instead involve com
  MOSFET differential pair 171 and 172 (FIG. 5) in the AGC              35   paring Voltage signals with threshold values.
  circuit 160 (FIG. 5) instead of the 4-bit DAC current source                  It should also be noted that the TIA circuit need not always
  176. Although this technique is not implemented in the pre                 include an AGC circuit. There are benefits to having a TIA
  sented design, the replica variable current source 175 repre               circuit that includes the TIA and the BWA circuit, but that
  sents such an alternative.                                                 does not include the AGC circuit. In the latter case, the gain
     The BWA circuit 140 (FIG. 4) achieves better control and           40   and the bandwidth of the TIA would be controlled by the
  less variation of bandwidth and gain of the TIA 110 (FIG. 3)               BWA circuit, which would use the BWA signal, which is I,
  over process and temperature. The AGC circuit 160 (FIG. 5)                 in the illustrative embodiments, to produce the drive signal
  guarantees a well-defined threshold above which it begins                  that is then used to vary the effective resistance of the TIA.
  reducing the gain of the TIA 110. The programmability with                   It should be noted that the invention has been described
  which the amount of gain reduction is selected via the 4-bit          45   with respect to illustrative embodiments for the purpose of
  DAC current source 176 (FIG.5) helps to optimize the AGC                   describing the principles and concepts of the invention. The
  circuit 160 for different data-rates and input operating ranges.           invention is not limited to these embodiments. For example,
  In addition, dividing the operation of the AGC circuit 160 into            the TIA circuits described with reference to FIGS. 2-6 are
  multiple levels (two levels in this embodiment) by using                   merely examples of Suitable configurations that demonstrate
  multiple TH values helps to optimize the performance of the           50   the principles and concepts of the invention. As will be under
  TIA 110 for low, medium and high ranges of input OMA and                   stood by those skilled in the art in view of the description
  average power. Programmability on the degeneration resis                   being provided herein, many modifications may be made to
  tors 165 and 166 (FIG.5) in the BJT differential pair 167, 168             the embodiments described herein without deviating from the
  helps control the transition period in terms of input OMA                  goals of the invention, and all such modifications are within
  during operation of the AGC circuit 160.                              55   the scope of the invention.
     FIG. 6 illustrates a flow diagram that represents the method              What is claimed is:
  performed by the TIA circuit in accordance with an illustra                  1. A transimpedance amplifier (TIA) circuit comprising:
  tive embodiment. As indicated by block 201, a TIA circuit                    a TIA having at least one TIA input and at least one TIA
  comprising a TIA, an AGC circuit and a BWA circuit is                           output, the TIA input receiving an electrical signal gen
  provided. In the TIA, an electrical signal generated by an            60        erated by an optical detector in response to the optical
  optical detector is received, as indicated by block 202. In the                 detector converting an optical signal into the electrical
  AGC circuit, an electrical signal generated by the optical                      signal, the TIA having an effective resistance that is
  detector is received and compared with at least a first thresh                  adjustable, the TIA output outputting a TIA output sig
  old value, as indicated by block 203. The AGC circuit outputs                   nal; and
  an AGC output signal that is based at least on the comparison         65     abandwidth adjustment (BWA) circuit electrically coupled
  of the received electrical signal with at least the first threshold            with the TIA, the BWA circuit generating a BWA signal,
  value, as indicated by block 204. In the BWA circuit, the AGC                  and wherein the BWA circuit uses the BWA signal to
                                                                                                                Exhibit 11, Page 171
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       produce at least one drive signal that is output to the TIA,              are electrically tied together, wherein said at least one
       and wherein the TIA adjusts the effective resistance of                   drive signal includes a first set of control signals that are
       the TIA based on said at least one drive signal to control                applied to gates of the MOSFETs for turning the MOS
       again and a bandwidth of the TIA circuit.                                 FETs ON and OFF, wherein MOSFETs of the first set of
    2. The TIA circuit of claim 1, further comprising:                           MOSFETs that are turned ON provide the TIA with the
    an automatic gain control (AGC) circuit electrically                         effective resistance, and wherein the gain and bandwidth
       coupled to the optical detector and to the BWA circuit,                   of the TIA are varied by varying a gate Voltage of one or
       the AGC circuit being configured to receive an electrical                 more turned ON MOSFETs of the first set of MOSFETs
       signal produced in response to an optical signal coupled                  to thereby vary the effective resistance of the TIA.
       to the optical detector and to compare the electrical           10
                                                                              10. The TIA circuit of claim 1, wherein the effective resis
       signal received in the AGC circuit with at least a first             tance of the TIA is controlled in such away that the bandwidth
       threshold (TH) value, and wherein the AGC circuit out                of the TIA circuit is selectable between at least first and
       puts an AGC output signal that is based at least on the              second bandwidths to provide multi-data rate operations of
       comparison of the electrical signal received in the AGC              the TIA circuit.
       circuit with at least the first TH value, and wherein the       15
       BWA circuit receives the AGC output signal and com                     11. A transimpedance amplifier (TIA) circuit comprising:
       bines the AGC output signal with the BWA signal to                     a TIA having at least one TIA input and at least one TIA
       produce a combined signal, and wherein the BWA cir                        output, the TIA input receiving an electrical current
       cuit uses the combined signal to produce said at least one                signal generated by an optical detector in response to the
       drive signal.                                                             optical detector converting an optical signal into the
    3. The TIA circuit of claim 2, wherein if the electrical                     electrical current signal, the TIA having a first set of n
  signal received in the AGC circuit exceeds the first TH value,                 metal oxide semiconductor field effect transistors
  the AGC circuit changes a magnitude of the AGC output                          (MOSFETs) electrically connected in parallel with one
  signal, and wherein the changed magnitude AGC signal                           another such that the sources of the MOSFETs are elec
  results in a reduction in the effective resistance of the TIA and    25        trically tied together and the drains of the MOSFETs are
  a reduction in the gain of the TIA circuit.                                    electrically tied together, where n is a positive integer
    4. The TIA circuit of claim 2, wherein the AGC circuit is                    that is equal to or greater than 2, and wherein a first set of
  configured to compare the electrical signal received in the                    in control signals are applied to gates of the MOSFETs
  AGC circuit with at least the first TH value and with a second                 for turning the MOSFETs ON and OFF, wherein MOS
  TH value, and wherein the AGC output signal is based at least        30        FETs of the first set of MOSFETs that are turned ON
  on the comparisons of the electrical signal with the first and                provide the TIA with an effective resistance, and
  second TH values.                                                             wherein the TIA has again and a bandwidth that can be
     5. The TIA circuit of claim 4, wherein the first TH value is               varied by changing the effective resistance by changing
  less than the second TH value, and wherein if the electrical                  a gate voltage of one or more turned ON MOSFETs of
  signal received in the AGC circuit exceeds the first TH value,       35       the first set of MOSFETs, the TIA output outputting a
  the AGC circuit changes a magnitude of the AGC output                         TIA output signal; and
  signal by a first amount, and wherein if the electrical signal              abandwidth adjustment (BWA) circuit electrically coupled
  received in the AGC circuit exceeds the second TH value, the                  with the TIA, the BWA circuit having at least one vari
  AGC circuit further changes the magnitude of the AGC output                   able current source that generates a BWA current signal,
  signal by a second amount.                                           40       I, and wherein the BWA circuit uses the current signal
     6. The TIA circuit of claim 5, wherein the AGC output                      It to produce a first set of drive signals that are applied
  signal changed by the first amount results in a first reduction               to respective gates of the MOSFETs of the first set of
  in the effective resistance of the TIA and a first reduction in               MOSFETs to control a gate-to-source voltage of the
  the gain of the TIA circuit, and wherein the AGC output signal                MOSTFETs of the first set to thereby control the effec
  increased by the second amount results in a second reduction         45       tive resistance of the TIA, wherein controlling the effec
  in the effective resistance of the TIA and a second reduction                 tive resistance of the TIA controls again and a band
  in the gain of the TIA circuit, and wherein the effective                      width of the TIA circuit.
  resistance of the TIA and the gain of the TIA circuit after the             12. The TIA circuit of claim 11, further comprising:
  second reduction are less than the effective resistance of the              an automatic gain control (AGC) circuit electrically
  TIA and the gain of the TIA circuit, respectively, after the first   50       coupled to the optical detector, the AGC circuit being
  reduction.                                                                    configured to monitor an average current, I associ
     7. The TIA circuit of claim 2, wherein the BWA signal is a                 ated with the electrical current signal generated by the
  BWA current signal, and wherein the BWA circuit includes a                    optical detector and to compare the average current It
  first current source that generates the BWA signal, and                       with at least a first threshold (TH) value, and wherein the
  wherein the first current source is a variable digital-to-analog     55       AGC circuit outputs an output current signal, I, that
  converter (DAC) current source.                                               is based at least on the comparison of I with at least
    8. The TIA circuit of claim 7, wherein the BWA circuit also                  the first TH value, and wherein the BWA circuit receives
  includes a fixed current Source for generating a reference                    the current signal I, and combines the current signal
  current I, and wherein the fixed current source and the                        I with the current signal It, and uses the combined
  variable DAC current source have well controlled tempera             60       current signal to produce said first set of drive signals.
  ture variation.                                                             13. The TIA circuit of claim 12, wherein if the average I.
    9. The TIA circuit of claim 1, wherein the TIA has a                    exceeds the first TH value, the AGC circuit increases the
  resistive-feedback architecture that includes:                            output current signal I, that is output from the AGC circuit
     a first set of metal oxide semiconductor field effect transis          and received by the BWA circuit, and wherein the increased
       tors (MOSFETs) electrically connected in parallel with          65   current signal I, results in a reduction in the effective
       one another such that the sources of the MOSFETs are                 feedback resistance of the TIA and reduction in the gain of the
       electrically tied together and the drains of the MOSFETs             TIA circuit.
                                                                                                                   Exhibit 11, Page 172
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    14. The TIA circuit of claim 12, wherein the AGC circuit is          19. The TIA circuit of claim 11, wherein the variable cur
  configured to compare the average current I       with at least     rent source is a digital-to-analog converter (DAC) current
  the first TH value and with a second TH value, and wherein          SOUCC.

  the AGC circuit outputs an output current signal. I, that is           20. The TIA circuit of claim 19, wherein the BWA circuit
  based at least on the comparisons I with at least the first 5 also        includes a fixed current source for generating a reference
                                                                       current  IREF, and wherein the fixed current source and the
  and second TH values, respectively.                                  variable  current source have well controlled temperature
     15. The TIA circuit of claim 14, wherein the first TH value dependencies.
  is less than the second TH value, and wherein if the average           21. The TIA circuit of claim 11, further comprising:
  It exceeds the first TH value, the AGC circuit increases the 10 an automatic gain control (AGC) circuit electrically
  output current signal I, that is output from the AGC circuit              coupled to the optical detector and to the BWA circuit,
  and received by the BWA circuit by a first amount, and                    the AGC circuit being configured to monitor a voltage
  wherein if the average current It exceeds the second TH                   modulation amplitude (VMA) of the TIA output signal
  value, the AGC circuit increases the output current signal                and to compare the VMA with at least a first threshold
  I that is output from the AGC circuit and received by the 15              (TH) value, and wherein the AGC circuit outputs an
  BWA circuit by a second amount, wherein I, after the                      output current signal. I, that is based at least on the
  Second amount is added is larger than I, after the first                  comparison of the VMA with at least the first TH value,
  amount is added.                                                          and wherein the BWA circuit receives the current signal
     16. The TIA circuit of claim 15, wherein the output current            Icic   and combines the current signal Ice with the cur
  signal Ice, increased by the first amount results in a first              rent  signal  I, and uses the combined current signal to
  reduction in the effective resistance of the TIA and a first              produce said at least one drive signal.
  reduction in the gain of the TIA circuit, and wherein the automatic    22. A method for performing bandwidth adjustment and
  output current signal I, increased by the second amount circuit comprising:      gain control in a transimpedance amplifier (TIA)
  results in a second reduction in the effective resistance of the
  TIA and a second reduction in the gain of the TIA circuit, and is providing         a TIA circuit comprising at least a TIA and a
                                                                            bandwidth adjustment (BWA) circuit, the BWA circuit
  wherein the effective resistance of the TIA and the gain of the           being electrically coupled with the TIA, the TIA being
  TIA circuit are less than the effective resistance of the TIA
  and the gain of the TIA circuit, respectively, after the first            electrically coupled to an optical detector that generates
  reduction.                                                                an electrical current signal by converting an optical sig
     17. The TIA circuit of claim 11, wherein the BWA circuit               nal into the electrical current signal;
  further comprises:                                                     in the TIA, receiving the electrical current signal generated
     a second set of in MOSFETs electrically connected in par               by the optical detector;
        allel with one another such that the sources of the MOS          with the BWA circuit, generating a BWA signal;
        FETs of the second set are electrically tied together and        in the BWA circuit, using at least the BWA signal to pro
        the drains of the MOSFETs of the second set are elec- as outputting duce at least one drive signal;
        trically tied together, and wherein a second set of drive                      said at least one drive signal from the BWA
        signals are applied to respective gates of the MOSFETs              circuit; and
        of the second set for turning the MOSFETs of the second          in the TIA, receiving said at least one drive signal and
        set ON and OFF, wherein MOSFETs of the second set                   adjusting an effective resistance of the TIAbased on said
        that are turned ON provide the BWA circuit with an a                at least one drive signal to control again and abandwidth
                                                                            of the TIA circuit.
        effective resistance that is proportional to a resistor          23. The method of claim 22, wherein the TIA circuit further
        (R) in the BWA circuit, and wherein the first set of comprises
        drive signals is derived from the second set of drive electricallyan            automatic gain control (AGC) circuit that is
        signals by passing the second set of drive signals through comprising:coupled to the optical detector, the method further
        a filter, and wherein the MOSFETs of the first and sec- as in the AGC circuit, receiving an electrical signal generated
        ond sets have physical and electrical attributes that are           by the optical detector and comparing the received elec
        closely matched, and wherein if MOSFETs of the sec                  trical signal with at least a first threshold (TH) value:
        ond set are turned ON by the respective drive signals of         outputting an AGC output signal from the AGC circuit that
        the second set, respective MOSFETs of the first set are             is based at least on the comparison of the received elec
        also turned ON by the respective drive signals of the first so      trical signal with at least the first TH value; and
        set, and wherein if MOSFETs of the second set are
        turned OFF by the respective drive signals of the second         in the BWA circuit, combining the AGC output signal with
        set, respective MOSFETs of the first set are also turned            the BWA signal to produce a combined signal and using
        OFF by the respective drive signals of the first set.               the combined signal to generate said at least one drive
     18. The TIA circuit of claim 11, wherein the effective ss 24.signal.     The method of claim 22, wherein the gain and band
  resistance of the TIA is controlled in such a way that the width of            the TIA are temperature-independent.
  bandwidth of the TIA circuit is selectable to provide multi
  data rate operations of the TIA circuit.




                                                                                                            Exhibit 11, Page 173
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                   EXHIBIT 12




                                                             Exhibit 12, Page 174
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                                                                                                             US009577753B2


  (12) United States Patent                                                             (10) Patent No.:                US 9,577,753 B2
         Sugimoto                                                                       (45) Date of Patent:                     Feb. 21, 2017
  (54) TRANSIMPEDANCE AMPLIFIER                                                    (56)                       References Cited
  (71) Applicant: SUMITOMO ELECTRIC                                                                U.S. PATENT DOCUMENTS
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  (72) Inventor: Yoshiyuki Sugimoto, Yokohama (JP)                                        6,778,021 B2 * 8/2004 Denoyer ................... HO3F 3/08
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  (73) Assignee: SUMITOMO ELECTRIC                                                        7,202,732 B2 * 4/2007 Davies .................... HO3F 3,087
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  (*) Notice:           Subject to any disclaimer, the term of this                                     ck                                    330/308
                        patent is extended or adjusted under 35                           8,395,444 B2 * 3/2013 Hara .................... Hosq.
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  (21) Appl. No.: 14/747.465                                                              9,035,696 B2 * 5/2015 Sugimoto ............... HO3F 3,087
                                                                                                                                              330,259
  (22) Filed:           Jun. 23, 2015
                                                                                                FOREIGN PATENT DOCUMENTS
  (65)                      Prior Publication Data
         US 2015/0372648 A1                 Dec. 24, 2015                          E.            338c:                 . 28
  (30)              Foreign Application Priority Data                              * cited by examiner
    Jun. 24, 2014         (JP) ................................. 2014-12885O       Primary Examiner — Henry Choe
                                                                                   (74) Attorney, Agent, or Firm — Smith, Gambrell, &
  (51) Int. Cl.                                                                    Russell, LLP.
         HO3F 3/08                      (2006.01)
         H04B I/079                     (2013.01)                                  (57)                        ABSTRACT
       HO3F I/08                (2006.01)                                          ATIA comprises a TIA core that converts a current signal to
       HO3F 3/45                (2006.01)                                          a Voltage signal, a single-to-differential converter that gen
  (52) U.S. Cl.                                                                    erates a differential Voltage signal from the Voltage signal, a
       CPC .......... H04B 10/0797 (2013.01); H03F I/083                           feedback circuit that generates a control signal from the
                     (2013.01); H03F 3/08 (2013.01); H03F                          differential Voltage signal, a bypass circuit that generates the
            3/45475 (2013.01); H03F 2200/375 (2013.01);                            current signal by Subtracting the bypass current from the
                H03F2.200/453 (2013.01); H03F 2200/462                             input current so that an average value of the current signal
                      (2013.01); H03F 2203/4.5288 (2013.01)                        is maintained at a predetermined value, and a monitor circuit
  (58) Field of Classification Search                                              that generates a monitor current proportional to the bypass
         CPC ......................................................... HO3F 3/08   current from the control signal.
         USPC ....................................... 330/308: 250/214. A
         See application file for complete search history.                                          11 Claims, 7 Drawing Sheets

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                                                       US 9,577,753 B2
                                1.                                                                     2
             TRANSIMPEDANCE AMPLIFER                                           BRIEF DESCRIPTION OF THE DRAWINGS

                      TECHNICAL FIELD                                       FIG. 1A is a block diagram illustrating a PON system;
                                                                            FIG. 1B is an example of waveforms of optical signals
                                                                    5    received by the reception unit in FIG. 1;
     The present invention relates to a transimpedance ampli                FIG. 2 is a diagram illustrating an exemplary configura
  fier used for an optical receiver or the like.                         tion of the reception unit in FIG. 1;
                                                                            FIG. 3 is a circuit diagram of a transimpedance amplifier
                        BACKGROUND                                       according to a first embodiment;
                                                                    10      FIG. 4 is a circuit diagram of a transimpedance amplifier
                                                                         according to a comparative example:
    As a traffic of a communication network drastically                     FIG. 5 is a circuit diagram of a transimpedance amplifier
  increases, there has been a continuous demand for down                 according to a second embodiment;
  sizing and power saving of an optical transceiver. A recep                FIG. 6A is a diagram of an exemplary configuration of an
  tion part of the optical transceiver includes a photodetector     15   offset current source:
  Such as a photodiode (PD) which converts an optical signal               FIG. 6B is a diagram of another exemplary configuration
  into a current signal (photocurrent), and a transimpedance             of an offset current source; and
  amplifier (TIA) which converts the current signal into a                 FIG. 7 is a diagram showing changes of a monitor current
  Voltage signal and amplifies the Voltage signal. The current           against a deviation from a typical condition.
  signal generated by the PD is not only used to demodulate
  a signal modulated by a transmission part of the optical                              DETAILED DESCRIPTION
  transceiver but also used to monitor an intensity of a
  received optical signal and detect a no signal (loss of signal)            Details of Embodiments of the Present Application
  State.                                                                                           Invention
     An example of a configuration for monitoring the inten         25
  sity of the optical signal is disclosed in Japanese Patent                                  First Embodiment
  Application Laid-Open No. 11-40840 in which a current
  mirror circuit connected in series with a PD is used for a               First, a PON (Passive Optical Network) system is
  current monitoring circuit. Another current monitoring cir             described as an example of a communication system accord
  cuit is disclosed in Japanese Patent Application Laid-Open        30   ing to the first embodiment of the invention. FIG. 1A is a
  No. 2009-260300 in which an amount of a current signal is              block diagram of the PON system. An OLT (Optical Line
  calculated from a voltage drop generated at a resistor con             Terminal) 82 in a station 80 is coupled with, for example,
  nected in series with a PD.                                            each of ONUs (Optical Network Units) 72 in a plurality of
    The current mirror circuit mentioned above needs a                   homes 70a to 70c via communication lines L1 and L2 that
  PNP-type bipolar transistor, a P-channel FET (Field Effect        35   are optical fibers. The OLT 82 and an optical splitter 74 are
  Transistor), or the like. On the other hand, the transimped            connected with each other via one communication line L1.
  ance amplifier is configured to include an NPN-type bipolar            The optical splitter 74 and each ONU 72 are connected via
  transistor in order to secure high speed performance. Gen              each communication line L2. The optical signal input to the
  erally, since the PNP-type and NPN-type bipolar transistors            optical splitter 74 from the OLT 82 via the communication
  are difficult to integrate on the same chip, each type of         40   line L1 is distributed to each ONU 72 via each communi
  transistor should be manufactured on a separate chip. This is          cation line L2, and the optical signals output from the
  not preferable in terms of the downsizing of the transim               respective ONUs 72 to the optical splitter 74 via the respec
  pedance amplifier. Further, in the configuration including the         tive communication lines L2 are combined at the optical
  current mirror circuit, a transistor needs some Voltage                splitter 74 and transmitted to the OLT 82 via the commu
  between an emitter and a collector of the transistor, which is    45   nication line L1. The OLT 82 has a control circuit 84, a
  not preferable to reduce power consumption. Similarly, also            transmission unit (transmitter) 86, and a reception unit
  in the configuration having the resistor connected in series           (receiver) 88. The transmission unit 86 transmits the optical
  with a PD, a large Supply Voltage is necessary to generate the         signal to each ONU 72. The reception unit 88 receives the
  Voltage drop at the resistor. Such a large Supply Voltage is           optical signal from each ONU 72. The control circuit 84
  not preferable in terms of the power saving.                      50   controls the transmission unit 86 and the reception unit 88.
                                                                         The optical signal transmitted from the transmission unit 86
                          SUMMARY
                                                                         and the optical signal received by the reception unit 88 have
                                                                         wavelengths different from each other.
                                                                            FIG. 1B is an example of waveforms of the optical signal
     In one aspect, the present invention relates to a transim      55   input to the photodetector 89 in the reception unit 88 (see
  pedance amplifier. The transimpedance amplifier comprises              FIG. 2). During a period Ton1, the optical signal is input
  a first amplifier configured to convert a current signal to a          from the ONU 72 of the home 70a. During a period Toffl,
  Voltage signal, a single-to-differential converter configured          the optical signal is not input, and during a period Ton2, the
  to generate a differential Voltage signal from the Voltage             optical signal is input from the ONU (not shown) of the
  signal, a feedback circuit configured to generate a control       60   home 70b. Further, during a period Toff2, the optical signal
  signal from the differential Voltage signal, a bypass circuit          is not input, and during a period Ton3, the optical signal is
  configured to generate the current signal by Subtracting the           input from the GNU (not shown) of the home 70c. Ampli
  bypass current from the input current so that an average               tudes of output signals from the ONUs 72 and optical losses
  value of the current signal is maintained at a predetermined           of the communication lines L2 are different from each other.
  value, and a monitor circuit configured to generate a monitor     65   The optical loss of the communication lines L2 depends on
  current proportional to the bypass current from the control            a distance, namely a length of each optical fiber, between the
  signal.                                                                optical splitter 74 and each ONU 72. For this reason, the
                                                                                                              Exhibit 12, Page 183
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  amplitudes of the optical signals during the periods Ton1.              signal Vtia1 to output the voltage signal Vtia1 to the
  Ton2, and Ton3 (input signal periods) are different from each           single-to-differential converter 12. More specifically, the
  other shown as the amplitudes A1, A2, and A3 respectively.              TIA core 11 generates a Voltage signal Vtia1 which intensity
  In this way, the optical signals are irregularly input with the         depends on the current signal Itia obtained by Subtracting a
  different amplitudes to the reception unit 88 from the dif              bypass current Ishunt from the input current Ipd. The TIA
  ferent homes. Note the periods Toffl and Toff2 (interval                core 11 inverts logic of the voltage signal Vtia1, because the
  periods) are necessary for Switching the optical signals.               voltage signal Vtia1 has a reference level of a positive
  Since the amplitudes of the input optical signals are differ            voltage, for instance, supply voltage VCC. Therefore, the
  ent, a feedback circuit is used in an amplifier circuit of the          voltage signal Vtia1 becomes a lower level when the current
  reception unit 88.                                                 10   signal Itia becomes larger (but the amplitude of the Voltage
     Next, a configuration of the reception unit 88 included in           signal Vtia1 corresponding to VCC-Vtia1 becomes larger),
  the OLT 82 is described. FIG. 2 is a diagram showing an                 and the Voltage signal Vtia1 becomes a higher level when
  exemplary configuration of the reception unit (receiver) 88             the current signal Itia becomes smaller (but the amplitude
  in FIG. 1. The reception unit 88 is, for example, a 10G                 VCC-Vtia1 becomes smaller). Note that whether the TIA
  EPON (10 Gigabit Ethernet Passive Optical Network)                 15   core 11 inverts logic of the voltage signal Vtia1 or not is
  receiver. The reception unit 88 includes the photodetector              related to a circuit structure of the TIA core 11. Therefore,
  89, a transimpedance amplifier (TIA) 1, and a limiting                  there can be another variation in which the TIA core 11 does
  amplifier (LIA) 50.                                                     not invert the logic.
     The photodetector 89 is an element for converting the                   The single-to-differential converter 12 generates comple
  optical signal input to the reception unit 88 into an electrical        mentary Voltage signals Vout and Voutb whose amplitudes
  signal, more specifically, the current signal (photocurrent).           depend on the Voltage signal Vtia1. The complementary
  The photodetector 89 is an avalanche photodiode (APD), for              Voltage signals Vout and Voutb are practically treated as a
  example. The current signal output by the photodetector 89              differential voltage signal Vout-Voutb, because a difference
  is input to the TIA 1.                                                  between the positive phase component Vout and the negative
     The TIA 1 is an IC (Integrated Circuit) which converts a        25   phase component Voutb has a meaning of signal for differ
  current signal to a Voltage signal with amplifying an ampli             ential circuits. The single-to-differential converter 12
  tude of the voltage signal. The TIA 1 operates with a high              includes a differential amplifier 17 that has a positive phase
  gain when intensity of the input signal is relatively weak and          input (non-inverting input) and a negative phase input
  operates with a low gain when intensity of the input current            (inverting input) and generates the complementary Voltage
  signal is relatively strong. Thus, the TIA 1 automatically         30   signals Vout and Voutb whose amplitudes depend on a
  controls the gain according to intensity of the input signal.           voltage difference between the positive phase input and the
  A differential signal (voltage signal) amplified by the TIA1            negative phase input. The differential amplifier 17 amplifies
  is input to the LIA50. The respective output terminals of the           a difference between the voltage signal Vtia1 output from
  TIA 1 are coupled with the respective input terminals of the            the TIA core 11 to the positive phase input and a reference
  LEA 50 through a capacitor 51. A relatively small capaci           35   voltage Vref1 applied to a reference voltage terminal Tref1
  tance is used for the capacitor 51 in order to attain a high            connected with the negative phase input, that is, Vtia1
  speed responsivity for a burst signal (discontinuous signal             Vref1. For example, in the differential amplifier 17, when the
  with, interval periods) in comparison with a capacitor used             Voltage signal Vtia1 is equal to the reference Voltage signal
  for a reception unit (receiver) of a trunk line system or the           Vref1, the complementary voltage signals Vout and Voutb
  like, which mainly receives a continuous signal. Details of        40   are equal, which Voltage is defined as a center Voltage
  the TIA 1 are described later.                                          Vcenter-Vout Voutb. Then, the voltage signal Vtia1 moves
     The LIA 50 is an IC for converting the voltage signals               to a Voltage level lower than the reference Voltage signal
  having various intensities into the Voltage signal having a             Vref1 (corresponding to a large amplitude of the current
  fixed amplitude and outputting the converted Voltage signal.            signal Itia), the differential amplifier 17 outputs the comple
  The LIA 50 equalizes a voltage levels of a positive phase          45   mentary voltage signal Vout larger than the center Voltage
  signal of the differential signal with a voltage level of a             Vcenter to an output terminal Tout, and the complementary
  negative phase signal of the differential signal. A CDR                 voltage signal Voutb Smaller than the center voltage Vcenter
  (Clock and Data Recovery) (not shown) extracts a clock                  to the output terminal Toutb. When the voltage signal Vtia1
  signal from the Voltage signal having the fixed amplitude               moves to a level higher than the reference Voltage signal
  output from the LIA 50 and reshapes waveforms of the               50   Vref1 (corresponding to a small amplitude of the current
  Voltage, signal by performing a regenerating process with               signal Itia), the differential amplifier 17 outputs the comple
  the extracted clock signal containing less jitter.                      mentary voltage signal out Smaller than the center Voltage
     Next, the TIA 1 of the first embodiment is described in              Vcenter to the output terminal Tout, and the complementary
  detail. FIG. 3 is a circuit diagram of the TIA 1 according to           Voltage signal Voutb larger than the center Voltage Vcenter
  the first embodiment. As shown in FIG. 3, the TIA 1 includes       55   to the output terminal Toutb. The complementary voltage
  a TIA core 11 (first amplifier), a single-to-differential con           signals Vout and Voutb have phases different from each other
  verter 12, a bypass circuit 13, a feedback circuit 14, and a            by 180 degrees.
  monitor circuit 15. An input terminal Tin is connected with                The bypass circuit 13 subtracts the bypass current Ishunt
  an anode of the photodetector 89. A cathode of the photo                from the input current Ipd before flowing in the TIA core 11
  detector 89 is connected to a supply voltage Vpd. An input         60   in order to generate a current signal Itia=Ipd-Ishunt. The
  current Ipd input to the input terminal Tin is to be an input           bypass current is controlled by a control signal Vc (de
  signal (current signal) Itia to the TIA core 11 (described later        scribed later in detail) output from the feedback circuit 14.
  in detail), when the bypass circuit 13 is unactivated The TIA           The bypass circuit 13 includes a transistor Q1, for example
  1 is configured to include a plurality of NPN-type transis              an NPN-type transistor, and a resistor R1. A collector of the
  tOrS.                                                              65   transistor Q1 is connected with a terminal Ts and an emitter
     The TIA core 11 includes an amplifier 16 and a feedback              of the transistor Q1 is grounded through a resistor R1. The
  resistor R0, and converts the current signal Itia into a Voltage        control signal Vc output from the feedback circuit 14 is input
                                                                                                                 Exhibit 12, Page 184
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  to a base of the transistor Q1. The bypass circuit 13 bypasses         core 11. Therefore, the monitor current Im also depends on
  (shunts) a part of the input current Ipd as the bypass current         the magnitude of the input signal Ipd before flowing in the
  Ishunt depending on a Voltage of the control signal Vc.                TIA core 11, and this enables to monitor the magnitude of
     In this way, the bypass circuit 13 bypasses a part of the           the input signal Ipd by measuring the Voltage Vimon as
  input signal Ipd based on the control signal Vc. Since a part          described in the following.
  of the input signal Ipd is bypassed, an average value of the             Since the transistor Q2 of the monitor circuit 15 has the
  current signal Itia input to the TIA core 11 decreases in              same characteristics as the transistor Q1 of the bypass circuit
  comparison with the input signal. Ipd. In other words, the             13 and the resistor R2 of the monitor circuit 15 set to the
  bypass circuit 13 is controlled by the feedback circuit 14 to          same resistance as the resistor R1 of the bypass circuit 13,
  increase the bypass current Ishunt in order to decrease the       10   the monitor current Im becomes Substantially equal to the
  time average value of the current signal Itia input to the TIA         bypass current Ishunt. Therefore, a relationship between the
  core 11 when the voltage signal Vtia1 becomes small (the               monitor current Im, the bypass current Ishunt, the input
  input signal Ipd becomes large). Note that the amplitude of            signal Ipd, and the current signal Itia is represented by
  the voltage signal Vtia, namely a difference between the               formula (1).
  Supply Voltage. VCC and the Voltage signal Vtia, becomes          15
                                                                               Im=Ishunt=Ipd-Itia                                    (1)
  large when the Voltage signal Vtia becomes low (Small).
    The feedback circuit 14 is an automatic control circuit that            Here, assuming a value of the bypass current Ishunt is
  generates the control signal Vc for maintaining the average            Ishunt.0 and the monitor current Im is Im0 when the input
  value of the current signal Itia at a predetermined value              signal is null Ipd=0 (with no input),
  based on the differential voltage signal (constituted by the                 Itia--IshuntO=-In0                                    (2)
  complementary Voltage signals Vout and Voutb) output from
  the single-to-differential converter 12. The feedback circuit                is obtained, and
  14 includes a filter having a resistor R3, a resistor R4, a
  capacitor C1, and a DC amplifier 18. The complementary
  voltage signal Vout is input to the resistor R3 from a terminal   25
  Tp. The complementary Voltage signal Voutb is input to the             is found from formulae (1) and (2).
  resistor R4 from a terminal Tn. A circuit network constituted             Therefore, by finding the monitor current Im0 when the
  by the resistors R3 and R4 and the capacitor C1 passes low             input signal is null Ipd=0, the input signal Ipd can be derived
  frequency components of the complementary Voltage sig                  from the relevant Im0 and the derived monitor current Im,
  nals Vout and Youth to be output to the DC amplifier 18 as        30   based on a formula Ipd=Im-Im0.
  input voltage signals Vfl and Vf2., respectively. The DC                 Next, the action and effect of the TIA 1 according to the
  amplifier 18 generates an output voltage signal Vf3 based on           embodiment is described.
  the input voltage signals Vfl and Vf2. Then, the output                  In the TIA 1 according to the embodiment, the monitor
  voltage signal Vf3 is passed through a filter constituted by           current Im depending on the control signal Vc flows in the
  a resistor R5 and a capacitor C2 to generate the control          35   monitor circuit 15. The relevant control signal Vc is also
  signal Vc.                                                             used for determining the bypass current Ishunt, and thus, the
     The monitor circuit 15 generates a monitor current Im.              monitor current Im becomes a value linearly depending on
  which is proportional to the bypass current Ishunt, depend             (proportional to) the bypass current Ishunt (in the embodi
  ing on the control signal Vc. The monitor circuit 15 includes          ment, since the transistor Q2 of the monitor circuit 15 has the
  a transistor Q2, a resistor R2, a resistor RL, and a Supply       40   same characteristics as the transistor Q1 of the bypass circuit
  voltage VCCm. The transistor Q2 is an NPN-type transistor,             13 and the resistor R2 of the monitor circuit 15 has the same
  for instance. The transistor Q2 is the same transistor (has the        resistance as the resistor R1 of the bypass circuit 13, the
  same characteristics) as the transistor Q1 of the bypass               monitor current Im is Substantially equal to the bypass
  circuit 13 described above, and the resistor R2 is the same            current Ishunt). Additionally, since the control signal Vc is
  resistor as the resistor R1 of the bypass circuit 13 described    45   controlled by the feedback circuit 14 such that the average
  above. An emitter of the transistor Q2 is grounded through             value of the current signal Itia flowing in the TIA core 11 is
  the resistor R2. A base of the transistor Q2 is connected with         maintained at a predetermined value, the bypass current
  a terminal Tc which is connected with the base of the                  Ishunt depends on the input signal Ipd before flowing in the
  transistor Q1, and thus, the control signal Vc is input to both        TIA core 11. Therefore, the monitor current Ina depends on
  a base of the transistor Q2 and the base of the transistor Q1.    50   the input signal Ipd. Thus, by monitoring the relevant
  A collector of the transistor Q2 is connected the supply               monitor current Im, the intensity of the optical signal which
  voltage VCCm through the resistor RL.                                  the reception unit 88 including the TIA 1 receives is properly
     In the above configuration, the monitor current Im flow             detected.
  ing in the monitor circuit 15 can be derived by measuring a               For example, in a TIA 100 according to a comparative
  voltage of a terminal Vimon between the resistor RL and the       55   example shown in FIG. 4, a circuit for measuring the
  collector of the transistor Q2, and dividing a difference              intensity of the optical signal is not provided in the TIA 100.
  between the supply voltage VCCm and the voltage of                     For this reason, in the TIA 100, a monitor circuit MC (e.g.,
  terminal Vimon, that is, a Voltage drop at the resistor RL, by         current mirror circuit or resistor) for measuring the intensity
  resistance of the resistor RL. Since the monitor current Im            of the optical signal is connected in series on the cathode
  depends on the control signal Vc which determines the             60   side of a PD 189, and is used to monitor the photocurrent
  bypass current subtracted from the input current Ipd by the            corresponding to the intensity of the optical signal. The
  bypass circuit 13, the monitor current Im is set to a value            reception unit including the TIA 100 with such a series
  linearly depending on (proportional to) the bypass current             circuit in which an element is connected with the cathode of
  Ishunt. Here, since the control signal Vc is adjusted Such that        the PD in series may need more space. Accordingly, the size
  the average value of the current signal Itia is maintained at     65   of the reception unit may be increased. For example, the
  a predetermined value, the bypass current Ishunt depends on            current mirror circuit with a PNT-type bipolar transistor to
  a magnitude of the input signal Ipdbefore flowing in the TIA           be connected on the cathode side of the PD 189, can not be
                                                                                                           Exhibit 12, Page 185
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  integrated on the same chip as the TIA 100 constituted by the          Ishunt.0 defined when the input signal Ipd is null. When the
  NPN-type bipolar transistors, because PNP-type bipolar                 input current Ipd is null (Ipd=0), the current signal Itia
  transistor and NPN-type bipolar transistor require semicon             becomes Itia=-Ishunt0 according to the formula (2). Sup
  ductor processes different from each other. Therefore,                 pose that the differential amplifier 17 has a very large gain
  increase of the number of chips causes increase in size.               and also the feedback loop constituted by the first amplifier
  Further, a series circuit with an element connected to the             11, the single-to-differential converter 12A, the feedback
  cathode of the PD 189 in series requires a larger supply               circuit 14, and the bypass circuit 13 has a very large loop
  Voltage, because Some Voltage should be given to the                   gain, the TIA 1A reaches a steady state that the input signal
  element. However, Such a larger Supply Voltage is not                  of the TIA core 11 (first amplifier) and the input signal of the
  preferable also in terms of the power saving.                     10   dummy TIA core 31 (second amplifier) are equalized as
     In this view, since the monitor current Im controlled by            Itia=-Ioffset=-Ishunt0 when the imput current Ipd is null
  the control signal Vc in the TIA 1 eliminates necessity for            (Ipd=0). Therefore, the bypass current Ishunt0 when the
  connecting the current mirror circuit or the resistor in series        imput current is null is set to a predetermined value Ioffset
  on the cathode side of the PD as in the TIA 100, the                   and is maintained automatically. Further, the monitor circuit
  downsizing and power saving of the reception unit 88 can be       15   15 generates the monitor current Im Satisfying a formula,
  achieved as compared with the TIA 100.                                 Ipd=Im-Ioffset. When the offset current Ioffset is constant
                                                                         against variations of Supply Voltage and temperature, the
                      Second Embodiment                                  intensity of the input current is calculated from the monitor
                                                                         current Im.
    Next, a TIA 1A according to a second embodiment is                      The offset current source 32 generates the offset current
  described with reference to FIG. 5. Note that the description          Ioffset and drains the offset current Ioffset from the input
  of this embodiment mainly describes points different from              terminal of the dummy TIA core 31. Examples of the offset
  the above embodiment.                                                  current source 32 are described with reference to FIGS. 6A
    FIG. 5 is a circuit diagram of the TIA 1A according to the           and 6B. FIG. 6A is a diagram of an offset current source 32A
  second embodiment. As shown in FIG. 5, the TIA 1A                 25   that shows an exemplary configuration of the offset current
  includes a single-to-differential converter 12A in place of the        source 32. FIG. 6B is a diagram showing an offset current
  single-to-differential converter 12 in the TIA 1 according to          source 32B that shows another exemplary configuration of
  the first embodiment and a monitor circuit 15A in place of             the offset current source 32.
  the monitor circuit 15. The monitor circuit 15A is similar to            As shown in FIG. 6A, the offset current source 32A has
  the monitor circuit 15 in a point of having the current source    30   a current Source 321A (first current source) that generates
  which generates the monitor current Im depending on the                the offset current Ioffset depending on a control voltage Vc1
  control signal Vc, but is different in a point that the monitor        (first control voltage), and a BGR (Band Gap Reference)
  circuit 15A directly provides the monitor current Im whereas           circuit 322A (constant Voltage circuit) that generates the
  the monitor circuit 15 provides the voltage drop to derive the         above control voltage Vc1. The BGR circuit 322A generates
  magnitude of the monitor current Im. Hereinafter, the single      35   the control Voltage Vc1 having any temperature dependence
  to-differential converter 12A is described in detail.                  by, for example, adding a Voltage having some temperature
     The single-to-differential converter 12A has, similarly to          dependence to another Voltage having an opposite tempera
  the single-to-differential converter 12, the differential ampli        ture dependence at any ratio, as a kind of compensation. This
  fier 17. To the differential amplifier 17, the voltage signal          allows the offset current source to form the offset current
  Vtia1 described above is input as the negative phase com          40   Ioffset independent of the Supply Voltage and temperature.
  ponent of the differential input signal and the reference              Further, by using the BGR circuit 322A like this, for
  Voltage Vref1 is input as the positive phase component of the          example, even when the dummy TIA core 31 and the TIA
  differential input signal. The reference voltage Vref1 input to        core 11 have the configurations different from each other
  the differential amplifier 17 is output from the offset circuit        (the input-output characteristics thereof are somewhat dif
  30. The offset circuit 30 outputs the reference voltage Vref1     45   ferent from each other) in order to reduce the power con
  Such that the bypass current Ishunt is maintained at a                 Sumption, the bypass current Ishunt can be adjusted to a
  predetermined value when the input signal Ipd is null. Note            desired value.
  that the circuit operation is the same except for an inverted            As shown in FIG. 6B, the offset current source 32B has a
  logic of the differential Voltage signal, even when the                current Source 322B (second current source) that generates
  Voltage signal Vtia1 is input as the positive phase component     50   a control current Ic depending on a control voltage Voff
  of the differential input and the reference voltage Vref1 is           setcnt1 (second control voltage) and a current source 321B
  input as the negative phase component of the differential              (another first current source) that generates the offset current
  input signal.                                                          Ioffset depending on the control voltage Voffsetcnt1. The
     The offset circuit 30 includes a dummy TIA core 31                  current source 322B includes a transistor Q4 and a resistor
  (second amplifier) and an offset current source 32. The           55   R4 connected in series with each other and the current
  dummy TIA core 31 has input-output characteristics (func               source 321B includes a transistor Q3 and a resistor R3
  tions, characteristics) equivalent to those of the TIA core 11.        connected in series with each other. Since the transistors Q4
  In other words, an amplifier 33 of the dummy TIA core 31               and Q3 have the same characteristics and the resistors R3
  has the same circuit structure as the amplifier 16 of the TIA          and R4 have the same resistance, the input-output charac
  core 11, and a feedback resistor R10 of the dummy TIA core        60   teristics of the current sources 321B and 322B are equivalent
  31 has the same resistance as the feedback resistor R0 of the          to each other (Substantially equal).
  TIA core 11.                                                              The control voltage Voffsetcnt1 for the offset current
    The dummy TIA core 31 generates the reference voltage                source 322B is adjusted by, for example, a CPU 50 (control
  Vref1 from an offset current Ioffset. As described above,              circuit) built in the reception unit 88, The currents almost
  since the dummy TIA core 31 has the input-output charac           65   equivalent to each other (control current Ic-offset current
  teristics equivalent to those of the TIA core 11, the offset           Ioffset) flow in the transistor Q4 of the current source 322B
  current Ioffset is substantially equal to the bypass current           and the transistor Q3 of the current source 321 B based on the
                                                                                                               Exhibit 12, Page 186
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  same control voltage Voffsetcnt1 input from an offset control              The offset current circuit 32B has the current source 322B
  terminal Offsetcnt1 which connects the CPU 50 and the                    that generates the control current Ic depending on the control
  offset current source 32B.                                               voltage Voffsetcnt1 and the current source 321 B that gen
    A collector of the transistor Q4 in the current source 322B            erates the offset current Ioffset depending on the control
  is connected with a resistor Rimon and the relevant resistor             voltage Voffsetcnt1. The input-output characteristics of the
  Rimon is connected with a Supply Voltage Vcc. In the                     current sources 322B and 321B are substantially equal to
  relevant configuration, an offset monitor terminal Offsetmon             each other. The control voltage Voffsetcnt1 is adjusted such
  connecting the CPU 50 and the offset current source 322B                 that the control current Ic is maintained, at a predetermined
  is connected at a node between the resistor Rimon and the                value against variations of the Voltage and temperature. This
  collector of the transistor Q4. The CPU 50 derives the
                                                                      10   allows the constant control current Ic (i.e., the offset current
  control current Ic flowing in the transistor Q4 by monitoring            Ioffset) to be compensated with the variations of the voltage
  a voltage Voffsetmon of the offset monitor terminal Offset               and temperature being taken into account, which enables the
  mon and dividing a difference between the Supply Voltage                 offset current Ioffset to be constant independently of the
                                                                           Voltage and temperature. This allows the bypass current
  Vcc and the voltage Voffsetmon of the offset monitor                15   Ishunt.0 when the input signal Ipd is null, that is, the monitor
  terminal Offsetmon by the resistor Rmon. The CPU 50                      current Im0, to be constant, which makes it possible to
  adjusts the control voltage Voffsetcnt1 such that the control            accurately derive the intensity of the optical signal from the
  current Ic is maintained at a desired value (i.e., such that the         offset current offset set to the offset current circuit 32 and the
  offset current Ioffset is maintained at a desired value)                 monitor current Im on the basis of formula (3).
  depending on the derived control current Ic. In other words,                As in a comparative example shown in FIG. 7 (graph G1
  the CPU 50 controls the derived control current Ic to adjust             in FIG. 7), when the offset current Ioffset has the dependence
  the offset current Ioffset to a desired value by using the               regarding the Voltage and temperature (hereinafter, referred
  feedback signal from the offset monitor terminal Offsetmon.              to as “the temperature or the like'), the offset current Ioffset
     Note that the CPU 50 can take account of some tempera                 has to be set (corrected) under conditions Typ+A of deviat
  ture dependence, by measuring, for instance, the ambient            25   ing the temperature or the like toward the plus side and
  temperature of the resistor Rimon by a temperature sensor                conditions Typ-A of deviating toward the minus side, which
  not shown as well as the voltage Voffsetmon, to adjust the               complicates the operation. On the other hand, when the
  value of the offset current Ioffset to a desired value more              offset current Ioffset of the offset current circuit 32B holds
  accurately.                                                              the constant value independently of the temperature or the
     Next, the action and effect of the TIA 1A according to the       30   like, the monitor current Im0 is constant (graph G2 in FIG.
  embodiment is described.                                                 7), and thus, the offset current Ioffset does not have to be set
     The TIA 1A according to the embodiment includes the                   (corrected) plural times, which is superior in terms of
  offset circuit 30 that generates the reference voltage signal            manufacturability and manufacturing cost of the TIA 1.
  Vref1 input to the differential amplifier 17. The offset circuit           As described above, the embodiments of the invention are
  30 generates the reference voltage Vref1 such that the bypass       35   described, but the invention is not limited to the above
  current Ishunt is maintained at a predetermined value when               embodiments. For example, the description is given that the
  the input signal Ipd is null (Ipd=0). This allows the feedback           transistor Q2 of the monitor circuit 15 has the same char
  circuit 14 to generate the control signal Vc by setting of the           acteristics as the transistor Q1 of the bypass circuit 13, and
  reference voltage signal Vref1 of the offset circuit 30, which           the resistor R2 of the monitor circuit 15 has the same
  makes it possible to easily and accurately derive the inten         40   resistance as the resistor R1 of the bypass circuit 13, but no
  sity of the optical signal. The offset circuit 30 may be                 limitation is placed on it, and it may be that the transistors
  incorporated into the single-to-differential converter 12A,              Q1 and Q2 and the resistors R1 and R2 respectively have the
  and has such some flexibility of placement because the                   input-output characteristics different from each other, and
  reference voltage Vref1 is a DC signal.                                  the monitor current Ian is found depending on a difference
     The offset circuit 30 has the dummy TIA core (second             45   between the respective Input-output characteristics. In other
  amplifier) 31 that generates the reference voltage Vref1 from            words, for example, when the transistor Q2=Q1-2, and
  the offset current Ioffset and the offset current circuit 32 that        resistor R2=R1x0.5, the monitor current Im may be found.
  drains the offset current Ioffset from the dummy TIA core
  31. Note that when an input signal to the dummy TIA core
  has a positive sign, the offset current circuit inputs a negative   50      The description is given that the BGR circuit 322A
  offset current -Ioffice to the dummy TIA. The input-output               generates the control, Voltage Vc1 as the configuration of the
  characteristics of the dummy TIA core 31 are substantially               offset current circuit 32A, but the configuration for gener
  equal to the input-output characteristics of the TIA core 11,            ating the control Voltage Vc1 is not limited thereto, and
  and the offset current Ioffset is substantially equal to the             another circuit may be used so long as it is a low voltage
  bypass current Ishunt.0 when the input signal Ipd is null           55   circuit capable of generating a predetermined constant Volt
  (Ipd=0), that is the monitor current Im0. This allows the                age.
  intensity of the optical signal to be easily and accurately
  derived from the value of the offset current Ioffset set to the            What is claimed is:
  offset current circuit 32 and the monitor current Im on the                1. A transimpedance amplifier for converting an input
  basis of formula (3).                                               60   current to an output Voltage, comprising:
    The offset current circuit 32A has the current source 321A               a first amplifier configured to convert a current signal to
  that generates the offset current Ioffset depending on the                    a Voltage signal;
  control voltage Vc1 and the BGR circuit 322A that provides                 a single-to-differential converter configured to convert the
  the above control voltage Vc1. This allows the offset current                 Voltage signal to a differential Voltage signal that is
  circuit 32A to have a configuration constituted by the              65        output as the output Voltage;
  NPN-type bipolar transistor and the resistor, and the con                  a feedback circuit configured to generate a control signal
  figuration not requiring a large Supply Voltage.                              from the differential voltage signal;
                                                                                                                Exhibit 12, Page 187
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    a bypass circuit configured to generate the current signal           5. The transimpedance amplifier according to claim 4.
       by Subtracting a bypass current from the input current            wherein the monitor circuit and the offset current circuit
       So that an average value of the current signal is main              are constituted by NPN-type bipolar transistors and
       tained at a predetermined value;                                    resistors.
    a monitor circuit configured to generate a monitor current           6. The transimpedance amplifier according to claim 4.
       from the control signal, the monitor current being                wherein the offset current circuit includes,
       proportional to the bypass current; and                           a first current source configured to generate the offset
    an offset circuit configured to provide a reference Voltage             current depending on a control Voltage, and
       So that the bypass current is maintained at a constant            a constant Voltage circuit configured to provide the con
       value when the input current is null,                        10
                                                                            trol Voltage.
    wherein the single-to-differential converter includes a              7. The transimpedance amplifier according to claim 6.
       differential amplifier having a positive phase input and
       a negative phase input, the positive phase input receiv           wherein the monitor circuit, the first current source, and
       ing one of the Voltage signal and the reference Voltage,             the constant voltage circuit are constituted by NPN
       the negative phase input receiving the other of the          15      type bipolar transistors and resistors.
       Voltage signal and the reference Voltage, the differential        8. The transimpedance amplifier according to claim 6.
       amplifier generating the differential Voltage signal by           wherein the constant Voltage circuit includes a band-gap
       amplifying a Voltage difference between the positive                 reference circuit configured to output the control volt
       phase input and the negative phase input.                            age maintained at a predetermined value.
    2. The transimpedance amplifier according to claim 1,                9. The transimpedance amplifier according to claim 8.
    wherein the monitor circuit is constituted by NPN-type               wherein the band-gap reference circuit is constituted by
       bipolar transistors and resistors.                                   NPN-type bipolar transistors and resistors.
    3. The transimpedance amplifier according to claim 2,                10. The transimpedance amplifier according to claim 6,
    wherein the offset circuit is constituted by NPN-type                wherein the constant Voltage circuit includes,
       bipolar transistors and resistors.                           25   a second current Source configured to generate a dummy
    4. The transimpedance amplifier according to claim 1,                   current depending on the control Voltage, the second
  wherein the offset circuit includes:                                      current source having a same circuit structure as a
    an offset current circuit configured to provide an offset              circuit structure of the first current source so that the
      current Substantially equal to the bypass current when               dummy current is substantially equal to the offset
      the input current is null, and                                30
                                                                           current,
    a second amplifier configured to generate the reference              a resister to convert the dummy current flowing in the
      voltage from the offset current, the second amplifier                 resister to an offset monitor Voltage,
      having a same circuit structure as a circuit structure of          an offset monitor terminal to output the offset monitor
      the first amplifier so that the first amplifier and the
      second amplifier output a same output voltage when the        35      Voltage to an external controller, and
      first amplifier and the second amplifier receive a same            an offset control terminal to receive the control voltage
      input voltage,                                                        from the external controller.
    wherein the offset current is Ioffset, the bypass current is         11. The transimpedance amplifier according to claim 10,
      Ishunt0, and the input current is Ipd, and                         wherein the second current source is constituted by NPN
    wherein the monitor circuit generates the monitor current       40      type bipolar transistors and resistors.
      Im substantially satisfying a formula, Ipd=Im-Ioffset.                                 k   k   k   k    k




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                   EXHIBIT 13




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                   EXHIBIT 15




                                                             Exhibit 15, Page 209
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  (19) United States
  (12) Patent Application Publication (10) Pub. No.: US 2017/0026011 A1
       KhaW                                                          (43) Pub. Date:                  Jan. 26, 2017
  (54) TRANSIMPEDANCE AMPLIFIER WITH                           (52) U.S. Cl.
        BANDWIDTH EXTENDER                                           CPC ................ H03F 3/082 (2013.01); H03F 3/08
                                                                                                                   (2013.01)
  (71) Applicant: Mindspeed Technologies, Inc.,                (57)                    ABSTRACT
                  Newport Beach, CA (US)                       A transimpedance amplifier that includes an input config
  (72) Inventor: Michael P. Khaw, Portland, OR (US)            ured to receive a current input from an upstream device and
                                       s         s             output configured to present an output voltage. The current
                                                               input may be from a photodetector or any other device that
  (21) Appl. No.: 14/839,747                                   is part of an optical signal receiving unit front end. In one
                                                               configuration, there are three amplifier stages in the tran
          1-1.                                                 simpedance amplifier connected in series. A feedback path
  (22) Filed:        Aug. 28, 2015                             with feedback resistor connects between the input and
                                                               output of the transimpedance amplifier. A bandwidth
                 Related U.S. Application Data                 extender circuit connects between a stage output and a stage
                                                               input of the transimpedance amplifier. In a three stage
  (60) Provisional application No. 62/194,745, filed on Jul.   E.diment, the E.dwidth E.der circuit xiii
        20, 2015.                                              between an input of the second stage and the output of the
                                                               second stage. The bandwidth extender includes at least one
                    Publication Classification                 active device configured to provide positive feedback to
                                                               increase gain. The bandwidth extender circuit is able to be
  (51) Int. Cl.                                                automatically or selectively deactivated to filter unwanted
        HO3F 3/08               (2006.01)                      frequency components.


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          TRANSIMPEDANCE AMPLIFER WITH                             tance photodetectors require Small optical apertures which
               BANDWDTH EXTENDER                                   are more expensive to manufacture due to low production
                                                                   yield. Therefore, there is a need in the art to develop a TIA
                     1. PRIORITY CLAIM                             topology which has high tolerance and flexibility to accom
   0001. This application claims priority to and the benefit       modate a wide input capacitance range, thereby providing a
  of U.S. Provisional Patent Application No. 62/194,745 filed      cost effective and widely application solution.
  on Jul. 20, 2015, the contents of which are incorporated by       0007. In addition, with cost still a controlling factor, more
  reference in its entirety herein.                                and more inexpensive lasers are now commonly used in 2.5
                                                                   Gbps data rate applications. However, such low cost lasers
               2. FIELD OF THE INVENTION                           are known to exhibit laser relaxation oscillation phenomena
                                                                   at certain frequency as shown in FIG. 1).
   0002 The invention relates to transimpedance amplifiers          0008 FIG. 1 illustrates an exemplary plot of optical
  and in particular to a method and apparatus for selectively      signal magnitude over time. The horizontal axis 112 repre
  improving the bandwidth capability of transimpedance             sents time while the vertical axis 116 represents signal
  amplifiers.                                                      magnitude. The plots, which are overlapping and collective,
                                                                   show poor signal eye quality due to laser relaxation oscil
                      3. RELATED ART                               lation. Laser relaxation frequency is induced by unwanted
   0003. In electronics, a transimpedance amplifier, (TIA) is      coherent optical feed-back from an external target. The
  a widely used device configured as a current-to-voltage          problem with laser relaxation oscillation is its high fre
  converter, most often implemented using an operational           quency content introduces aberration glitches that reduce
  amplifier. The TIA can be used to amplify the current            receiver eye opening and thus greatly degrade receiver
  output of Geiger-Müller tubes, photo multiplier tubes, accel     sensitivity. This interferes with a receiver's ability to accu
  erometers, photodetectors, such as but not limited to pho        rately recover the transmitted signal.
  todetectors in fiber optic communication systems, as well as      0009. A number of TIA designs are possible. FIGS. 2A &
  other types of sensors to generate a usable Voltage. Current     2B, both single stage and multistage-stage amplifiers are
  to-voltage converters are also often used with sensors that      commonly used in TIA designs. As shown in FIG. 2A, the
  have a current response that is more linear than the Voltage     TIA 204 an optical signal input 208, such as from an optical
  response. This is the case with photodiodes where it is not      fiber 212. A photodetector 216 receives the optical signal
  uncommon for the current response to have better than 1%         208. Any type photodetector 216 may be used subject to
  linearity over a wide range of light input. Thus, the tran       meeting specification requirements for the TIA and appli
  simpedance amplifier ideally presents a low impedance to         cation of the TIA. The photodetector 216 is connected
  the photodiode and isolates it from the output voltage of the    between a ground node 216 an input to an amplifier 230. The
  operational amplifier. One common factor of transimped           photodetector 216 has an inherent capacitance Cpd 224. The
  ance amplifiers is an ability to convert the low-level current   capacitance Cpd 224 is not a separate element, but is part of
  of a sensor to a Voltage. The gain, bandwidth, current and       the photodetector 216 and will vary with the brand and type
  Voltage offsets change with different types of sensors (such     of photodetector used in the TIA 204.
  as photodetectors), requiring different configurations of tran    0010. The optical signal presented to the photodetector
  simpedance amplifiers.                                           216 is converted to an electrical signal and sent to the
   0004. When configured in a communication system or              amplifier 230. The amplifier 230 may comprise an opera
  data exchange system, the bandwidth of the transimpedance        tional amplifier or any type of low noise amplifier capable of
  amplifier is of importance due to the trend for communica        serving in a TIA environment and amplifying the output of
  tion systems to operate at higher speeds with each new           a photodetector 216. The output of the amplifier 230 is
  product release. One aspect of a TIA that affects bandwidth      presented on the TIA output 240 and fed back through a
  capabilities is an ability to Support a wide range of input      resistor RF 234 to the input of the TIA. The resistor RF 234
  capacitance. This is an important requirement for TIA for        and the amplifier are part of the TIA and typically co-located
  optical communication applications. Maintaining Sufficient       on an integrated circuit. The resistor RF 234 in the feedback
  bandwidth during operation of transimpedance amplifiers          path converts the input current to a Voltage and set the gain
  under various input capacitance is also an important require     of the amplifier. Gain is defined as Vout/Iin=RF.
  ment.                                                             0011. The TIA design may be expanded multiple stages
   0005. As demand continues to increase for high sensitiv         as shown in FIG. 2B. FIG. 2B illustrates a block diagram of
  ity of the TIA along with lower cost TIA designs, the main       an exemplary multistage-stage amplifiers in a TIA. As
  driving force is to replace the APD-based receivers (ava         compared to FIG. 2A, identical or similar elements are
  lanche photodiode) with the PIN-based (p-i-n photodiode)         labeled with identical reference numbers. In this embodi
  type devices. APD-based receivers are more expensive due         ment, a first stage amplifier 230 connects to one or more
  to higher cost to manufacture and require external circuitry     additional stages, shown by dashed line, up to an Ntn stage
  to control temperature compensation.                             amplifier 230N. By adding additional stages, gain can be
   0006. A typical PIN-based optical receiver consists of a        increased.
  photodiode and a TIA. It is well known that the photodiode        0012 Prior art TIA designs, such as that shown in FIGS.
  capacitance at the input of a TIA can significantly degrade      2A and 2B, are very sensitive to input photodetector capaci
  the bandwidth and the sensitivity. Recently, new generation      tance Cpd and lack capability to improve eye quality dete
  of Super-TIAS became available with promise of ultra-high        rioration that is caused by the laser relaxation oscillation
  sensitivity but require minimum photodiode capacitances to       blow-by.
  achieve such low input referred noise (IRN). While it is a        0013 The innovation described below overcomes these
  possible solution, it is not without drawbacks. Low capaci       drawbacks in the prior art and provides additional benefits.
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                          SUMMARY                                   todetector output current at a first stage amplifier of a
   0014) A novel photodetector with a transimpedance                transimpedance amplifier that has one or more amplifier
  amplifier is disclosed that includes a photodetector config       stages. The transimpedance amplifier also receives a feed
  ured to receive and process an optical signal to generate a       back signal from a feedback path at the first stage amplifier
  photodetector output that represents the optical signal. A        such that the feedback path includes feedback resistor. Then
  transimpedance amplifier is configured to receive the pho         amplifying the feedback signal and the photodetector output
  todetector output. The transimpedance amplifier has a tran        with the one or more amplifier stages to generate a transim
  simpedance amplifier input and a transimpedance amplifier         pedance amplifier output signal. The transimpedance ampli
  output. The transimpedance amplifier includes a first stage       fier output signal is then presented as an input to the
  that includes a transistor and a load element such that the       feedback path. This method of operation also performs
  first stage is connected to the photodetector output and also     bandwidth enhancement by amplifying an amplifier stage
  includes a first stage output.                                    output signal from one of the one or more amplifier stage
   0015. A second stage is also part of this embodiment and         and presents the amplifier stage output signal to an input of
  it includes a transistor and a load element such that the         the one or more amplifier stages to increase the gain of at
  second stage has an input that is connected to the first stage    least one amplifier stage to thereby increase the bandwidth
  output. The second stage has a second stage output. A third       of the transimpedance amplifier.
  stage comprising a transistor and a load element, the third        0020. This method of operation may also include receiv
  stage having an input connected to the second stage output.       ing a control signal to selectively enable or disable band
  The output of the third stage forms the transimpedance            width enhancement. The method of operation may also
  amplifier output. Also part of this embodiment is a feedback      include the step of detecting unwanted high frequency
  loop including feedback resistor such that the feedback loop      content in the transimpedance amplifier output or photode
  is connected between the transimpedance amplifier output          tector output, such as by filtering, and responsive thereto
  and the transimpedance amplifier input. A bandwidth               disabling the bandwidth enhancement. The one or more
  extender is also part of this embodiment. The bandwidth           stages may be three stages. In one configuration, the pho
  extender includes an active element connected between the         todetector or transimpedance amplifier operates at 2.5 Gbps
  first stage output and the second stage output.                   data rate or higher. In one embodiment, the method is
   0016. In one configuration, the active element in the            performed in a ROSA package of a passive optical network.
  bandwidth extender is a FET such that the FET has a gate          The step of performing bandwidth enhancement may occur
  terminal connected to the second stage output and a drain         by amplifying an amplifier stage output signal.
  terminal connected to the first stage output. The bandwidth        0021. Other systems, methods, features and advantages
  extender may be configured to provide positive feedback           of the invention will be or will become apparent to one with
  from the second stage output to the first stage output to         skill in the art upon examination of the following figures and
  increase the gain of the transimpedance amplifier. The            detailed description. It is intended that all such additional
  transimpedance amplifier may further include a Switch con         systems, methods, features and advantages be included
  figured to receive an enable signal that selectively enables or   within this description, be within the scope of the invention,
  disables the bandwidth extender. In one configuration, the        and be protected by the accompanying claims.
  first stage, second stage, and third stage include a FET acting
  as an amplifier and an active load.                                       BRIEF DESCRIPTION OF THE DRAWINGS
   0017. A transimpedance amplifier is disclosed that                0022. The components in the figures are not necessarily
  includes an input configured to receive the transimpedance        to scale, emphasis instead being placed upon illustrating the
  amplifier input signal and one or more amplifiers stages Such     principles of the invention. In the figures, like reference
  that each of the one or more stages has a stage input and a       numerals designate corresponding parts throughout the dif
  stage output. Also part of the transimpedance amplifier is a      ferent views.
  bandwidth extender connected between a stage output and a          0023 FIG. 1 illustrates an exemplary plot of optical
  stage input, the bandwidth extender including at least one        signal magnitude over time showing coherent optical feed
  active device configured to provide positive feedback from        back.
  the stage output to the stage input.
   0.018. In one embodiment, the bandwidth extender is               0024 FIG. 2A illustrates a prior art single stage transim
  configured to be selectively enabled and disabled. The step       pedance amplifier.
  of selective enabling and disabling is responsive to a control     0025 FIG. 2B illustrates a prior art multistage-stage
  signal. Disabling the bandwidth extender filters out high         transimpedance amplifier.
  frequency content of a relaxation oscillation signal. In one       0026 FIG. 3 illustrates an exemplary environment of use
  configuration the one or more stages consist of one stage         of the improved TIA design as disclosed herein
  with an input and an output, and the bandwidth extender is         0027 FIG. 4 illustrates an exemplary TIA and photode
  connected between the one stage input and the one stage           tector located in a receiver optical sub assembly (ROSA).
  output. In another embodiment, the one or more stages              0028 FIG. 5 illustrates an exemplary TIA with a band
  comprise a first stage, a second stage, a third stage, a fourth   width extender circuit.
  stage and a fifth stage. Such that each stage has an input and
  an output, and the bandwidth extender is connected between         0029 FIG. 6 illustrates an exemplary circuit level dia
  a second stage input and a fourth stage output.                   gram of a 3 stage TIA design with bandwidth extender.
   0019. Also disclosed herein is a method for processing a          0030 FIG. 7 illustrates an exemplary single stage TIA
  photodetector output with a transimpedance amplifier to           with a bandwidth extender.
  generate a corresponding amplified Voltage. In this exem           0031 FIG. 8 illustrates an example embodiment of a five
  plary embodiment, this method includes receiving the pho          stage TIA with a bandwidth extender.
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   0032 FIG. 9 illustrates a simplified circuit diagram of a         thus must be synchronized with a clock signal at a receiver.
  two stage TIA with bandwidth extender presented for dis            The receiver generates a clock from an approximate fre
  cussion purposes.                                                  quency reference, and then phase-aligns to the transitions in
   0033 FIGS. 10A and 10B illustrates exemplary plots of             the data stream with a phase-locked loop (PLL). This
  bandwidth versus frequency without and with the bandwidth          process is commonly known as clock and data recovery. The
  extender.                                                          output of the CDR 354 is presented to one or more down
   0034 FIG. 11 of a flow chart of an exemplary method of            stream processing elements, such as an analog to digital
  operation of the TIA with bandwidth extender.                      converter.
                                                                      0040 FIG. 4 illustrates a TIA and photodetector located
                  DETAILED DESCRIPTION                               in a receiver optical sub-assembly (ROSA). This is but one
   0035 FIG. 3 illustrates an exemplary environment of use           possible example embodiment and as Such different con
  of the improved TIA design as disclosed herein. This is but        figurations are possible without departing from the claims
  one possible example embodiment and it is contemplated             that follow. The ROSA module 404 includes a housing 408
  that the improved TIA design may be used in any environ            that is configured to house and protect the electronics
  ment that utilizes a TIA. This example environment is in a         contained within the housing and to mate with a fiber optic
  fiber link 304 between and as part of communication                cable. Inside the ROSA 404 are four connectors or pins to
  devices. As shown, an input signal 308 is presented to a laser     which Subsequent electronics, such as the limiting amplifier
  driver 312. The driver 312 amplifies the signal to a magni         connect. These pins are the outputs 412A, 412B which carry
  tude and current level Suitable for driving an optical signal      the electrical output signal in a differential format. Addi
  generator 316. Such as a laser or any other optical signal         tional pins include a Supply Voltage Vcc 416 and a monitor
  generating device. The optical signal generator 316 creates        current output (Imon) 420. The supply voltage pin 416
  an optical signal 320 which is presented to a fiber optic or       supplies power to the ROSA while the current monitor
  other transmission medium. At an opposing end of the fiber         output pin 420 monitors output current.
  324 the received optical signal 328, which is degraded due          0041 Connected to the pins 412A, 412B, 416, 420 is a
  to passage through the fiber 324, is presented as an output.       transimpedance amplifier (TIA) 426. The TIA 426 receives
   0036) A photodetector 332, such as a photodiode,                  an electrical input from the photodetector 430 which has
  receives the optical signal 328 and converts the optical           associated capacitance, in this embodiment 0.35 Pico farads.
  signal 328 to an electrical signal on an amplifier input node      Also located on the ROSA 428 are one or more capacitors
  336. The amplifier 340, which is part of the TIA 342,              428, in this embodiment, one nano farad.
  amplifies the input signal from the photodetector 332 and           0042 FIG. 5 illustrates a TIA with a bandwidth extender
  provides the amplified signal as an output. In this embodi         circuit. The discussion of the TIA associated with FIG. 3 is
  ment, the amplifier 340 converts an input current to an            repeated herein. Similar elements are identified with iden
  output Voltage. The output is presented to a feedback resistor     tical reference numbers. A photodetector 332, such as a
  RF 344 and as an input to a limiting amplifier 350. The            photodiode, receives the optical signal 328 and converts the
  amplifier output provided to the feedback resistor 344 is          optical signal 328 to an electrical signal on an amplifier input
  presented as a feedback signal to the input of the amplifier       node 336. The amplifier 340, which is part of the TIA 342,
  340. The feedback resistor 344 sets the gain based on the          amplifies the input signal from the photodetector 332 and
  Vout/Iin relationship.                                             provides the amplified signal as an output on an output node
   0037 Also part of the TIA 342 is a bandwidth extender             360. In this embodiment, the amplifier 340 converts an input
  module 348 that connects to the amplifier 340, or to the input     current to an output voltage. The output is presented to a
  and output of the amplifier. The bandwidth extender module         feedback resistor RF 344 and as an input to a limiting
  348 is discussed below in more detail. The bandwidth               amplifier 350. The amplifier output provided to the feedback
  extender module 348 may be selectively enabled to selec            resistor 344 is presented as a feedback signal to the input of
  tively increase or decrease the bandwidth of the TIA. A            the amplifier. The feedback resistor 344 sets the gain based
  control input 346 provides a control signal to the bandwidth       on the Vout/Iin relationship. This configuration may be
  extender module 348 to selectively enable and disable the          expanded to additional stages as would be understood from
  bandwidth extender module.                                         FIG. 2B and FIG. 6 described below.
   0038. The limiting amplifier 350 may be a RF and                   0043. Also part of the TIA 342 is a bandwidth extender
  microwave limiting amplifiers which may be manufactured            module 348. That connects to the amplifier 340, in this
  with thin film hybrid manufacturing techniques or any other        embodiment to the input and output of the amplifier. The
  manufacturing process to maximize performance, repeat              bandwidth extender module 348 is discussed below in more
  ability, and reliability. The frequency range may be from 10       detail. The bandwidth extender module 348 may be selec
  MHz to 4 GHz, or higher than 4 GHz. In this embodiment             tively enabled to selectively increase or decrease the band
  the input signal to the limiting amplifier may be distorted to     width of the TIA. A control input 346 provides a control
  rail to rail output in order to give a large signal to the other   signal to the bandwidth extender module 348 to selectively
  parts of the RX (such as a clock data recovery circuit). The       enable and disable the bandwidth extender module.
  limiting amplifier may be configured to perform amplitude           0044 FIG. 6 illustrates a circuit level diagram of a 3 stage
  compression by performing a limiting function, which will          TIA design with bandwidth extender. This is but one pos
  protect Subsequent components from input overdrive                 sible circuit level implementation with a focus on the
   0039. The output of the limiting amplifier 350 is pre             components of interest. Other embodiments are contem
  sented to clock data recovery circuit (CDR) 354. The CDR           plated that may differ in configuration yet do not depart from
  354 aligns the data signal with the clock signal. As is            the claims that follow. In this example embodiment, a
  understood, some data streams, especially high-speed serial        photodetector 604 has an associated capacitance 608 (shown
  data may be sent without an accompanying clock signal and          as a separate element but is typically part of the photode
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  tector itself). The photodetector 604 is configured or posi       or inadequate improvement in circuit performance. Thus,
  tioned to receive an optical signal. Such as from a fiber optic   bandwidth extension is desired but without overshoot or
  cable (not shown). An output of the photodetector 604             ringing. One exemplary method for selection of an active
  connects to a gate terminal of a field effect transistor (FET)    device 660 which yields a desired gain is through circuit
  Q1612. The FET Q1612 has a source terminal connected              simulation.
  to ground and a drain terminal connected to an active load         0051. By providing positive feedback with gain from the
  644A, (which is described below in greater detail) and to a       input to the third stage TIA to the output of the first stage
  second stage FET 626 of the TIA. The elements in dashed           TIA, the open loop gain is increased. It is desired to have the
  lines form the first stage 618 of the TIA.                        input referred noise to be as low as possible. The bandwidth
   0045. The drain terminal of the FET Q1612 connects to            extender provides positive feedback to increase the output
  the second stage 622 of the TIA, and in particular to a gate      impedance of the first stage to reduce loading of the first
  terminal of FET Q2 626. A source terminal of the FET Q2           Stage.
  626 connects to ground while a drain terminal of the FET Q2        0.052 Although the bandwidth extender is described
  connects to an active load 644B which is described below in       herein as an enable or disable signal. Such as a single bit
  detail, and to a third stage 630 of the TIA. The third stage      signal, it is also contemplated that the control signal may be
  630 includes a FET Q3 634 that has a source terminal              a multibit signal which sets varying level of positive feed
  connected to ground and a drain terminal connected to an          back to the proceeding stages of the amplifier stages. For
  active load 644C (which is described below in greater detail)     example, with a two bit control input, additional levels of
  and to an output node 640 of the TIA.                             control are available to custom tailor the amount of band
   0046. A feedback loop connects between the output of the         width extending gain is presented as positive feedback.
  photodetector 604 (input to the TIA) and the output node           0053 FIG. 7 illustrates a single stage TIA with a band
  640 as shown. A feedback resistor 650 is part of the feedback     width extender. As compared to FIG. 6, similar elements are
  loop. The feedback loop provides negative feedback to the         labeled with common referenced numbers. Because this is a
  input while the feedback resistor 650 converts input current      single stage embodiment, the values of each individual
  to a voltage. Gain is set by the value of the feedback resistor   component will vary from the embodiment of FIG. 6. As
  650.
                                                                    shown, the output 640 of the TIA feeds into a gate terminal
   0047 Associated with each stage are active loads ele             of the transistor 612. The source terminal of the transistor
  ments 644A, 644B and 644C. Each of these active load              612 connects to ground while the drain terminal connects to
  elements are generally similar and as Such, only one is           the active load 644A.
  described in detail below. In reference to active load element
  644A, a source terminal of a FET Q5 654 connects to the           0054 The TIA output node is the drain terminal of the
                                                                    transistor 612. The feedback resistor RF 650 connects
  drain terminal of FET Q1612 as shown. A current source            between the input to the gate terminal of the transistor 612
  652 provides an input current to the node established             and the output node 640.
  between the FET Q1612 and the FET Q5 654. A resistor 656
  connects between the gate terminal and the drain terminal of       0055. In this single stage embodiment the bandwidth
  the FET Q5 654. A resistor 658 connects the drain terminal        extender feedback loop is configured the same as in FIG. 6
  of the FET Q5 to a power supply node.                             with the active element 660 and switch 664 connected
   0048. In operation, the active load element 644A pro             between the output node 640 and the input (gate terminal) to
  vides a load to the first stage FET Q1612 to tune transfer        the transistor 612. Operation of the bandwidth extender is
  curves and increase linearity of the TIA. This is but one         generally identical but the values and/or sizes of each
  possible example implementation of an active load element         element may vary.
  in a TIA and the load may change with design or application.       0056 FIG. 8 illustrates an example embodiment of a five
  The bandwidth extender disclosed herein can work with any         stage TIA with a bandwidth extender. As compared to FIGS.
  TIA and with or without an active load element.                   6 and 7, identical elements are labeled with identical refer
   0049 Shown at the bottom FIG. 6 is the selectively               ence numbers. In this embodiment the feedback resistor
  enabled bandwidth extender. In this embodiment it includes        connects to the input to the first stage FET and the output
  a transistor Q4 660 is part of a feedback loop from the gate      node. The bandwidth extender connects between the output
  terminal of a third stage FET Q3 634 and the gate terminal        of the first stage and the input to the fifth (last) stage.
  of the second stage FET Q2 626. Although transistor Q4 660        Operation of the bandwidth extender is generally identical
  as shown as a FET, any type active device may be used. Also       but the values and/or sizes of each element may vary.
  part of the bandwidth extender loop is a switch 664 respon         0057 FIG. 9 illustrates a simplified circuit diagram of a
  sive to a control input 668 (enable BW extend) to selectively     two stage TIA with bandwidth extender presented for dis
  allow the bandwidth extender to be enabled and made a part        cussion purposes. In this example circuit diagram, an input
  of the TIA.                                                       904 is present to receive a signal. Although shown in other
   0050. In operation, the transistor Q4, when enabled by           embodiments as receiving a signal from a photodetector, it
  the enable BW extend signal, amplifies the feedback signal        is contemplated and expected that any embodiment herein
  from the third stage to the output of the first stage (input to   may be paired with devices other than a photodetector or
  the second stage). In this embodiment, the feedback is            optical front end.
  positive feedback. Active device 660 is selected to have an        0058. The input 904 connects to a first stage transistor
  amount of gain which maintains stability in the bandwidth         908 at a gate terminal. The source terminal of the first stage
  extender feedback loop. If the active device 660 is too large,    transistor 908 connects to ground while the drain terminal
  then peaking may occur Such that high frequency gain will         connects to a first resistor 912. The output node 916 of the
  result in oscillation. If the gain is too low, then the band      first stage transistor 908 feeds into a gate terminal of a
  width enhancement does not occur and there is no difference       second stage transistor 920. The source terminal of the
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  second stage transistor 920 connects to ground while the           stage will be decreased and thus bandwidth is reduced
  drain terminal connects to a second resistor 924.                  accordingly. Thus, the bandwidth extender may be selec
   0059. The output of the second stage transistor 920 is            tively enabled and disabled. By disabling the bandwidth
  presented on an output node 928. A feedback loop extends           extender the bandwidth is reduced, which provide the ben
  from the output node 928 to the node 916. A third transistor       efit of limiting the TIA's bandwidth offers an opportunity to
  932 is located in the feedback loop as shown connected             filter out the high frequency content of the relaxation oscil
  between the gate terminal and drain terminal.                      lation signal by Suppressing it at the input. Stated another
   0060 Using FIG.9 as a guide, the method and apparatus             way, by limiting the TIA bandwidth the laser relaxation
  disclosed herein has many advantages over the prior art.           effect can be suppressed. Therefore, it is also desirable to
  Multistage inverter TIA designs had been popular in achiev         have the option of reducing the TIAbandwidth (by disabling
  ing high sensitivity to support 2.5 Gbps GPON (gigabit             the bandwidth enable circuit or loop) to accommodate
  passive optical network) applications. For example, GPON           inexpensive lasers to further reduce the overall receiver
  systems, have been shown to achieve over -31 dBm of                system cost.
  sensitivity by reducing the input referred noise (IRN) to less      0067 FIGS. 10A and 10B illustrates exemplary plots of
  than 90 nArms. However, as discussed above are two major           bandwidth in relation to output frequency with and without
  drawbacks with existing TIA topologies: 1) sensitivity per         the bandwidth extender. These plots are from simulations of
  formance is highly depended on the input photodiode                actual circuit performance but are exemplary only and other
  capacitance. 2) There is no provision to effectively suppress      embodiments and elements may yield different numeric
  laser relaxation oscillation.                                      values. In both FIGS. 10A and 10B, the vertical axis 1004
   0061 The transimpedance amplifier (TIA) with band                 represents gain while the horizontal axis represents fre
  width extender technique overcomes these drawbacks. The            quency.
  simplified two stage design shown in FIG. 9 aids in the             0068. In FIG. 10A, the two plots are both without the
  understanding of these benefits and how the prior art issues       bandwidth extender features present in the circuit, or if
  are overcome. The gain of the bandwidth extender (feedback         present, not enabled. The first plot 1020 is with the capaci
  loop with the third transistor 932) is defined as gm4*RL1.         tance of the photodetector at 0.75 pico-farads. Thus, with the
  Without the third transistor 932 gain “gm4*RL1” (which             moderately high photodetector input capacitance the gain
  may be referred to as a bootstrapping factor), the gain of the     falls off at higher frequency. Based on these circuit test
  1st stage is reduced to “gm1*RL1. RL1 is the resistance            results, the TIA would not be suitable for use at 2.5 Gbps.
  value of the first resistor 912 and the term gm1 is defined as     The second plot 1024 is with the capacitance of the photo
  transconductance, which is a measure of the conductance of         detector at 0.15 pico-farads. Thus, the lower photodetector
  a component. RL is the active or passive load. Gm of the           input capacitance allows the Suitable gain to be extended to
  device controls or is an aspect that affects gain.                 higher frequencies as compared to plot 1020. However, it is
   0062. The gain of the bandwidth extender is defined as            contemplated that the 0.15 pico-farads photodetector would
  gm4*RL1 and thus increases the gain and the effective              cost considerably more than the photodetector with a capaci
  output impedance of the first stage (elements 908, 912).           tance of 0.75 pico-farads.
  Because the first stage gain is increased, the TIA's open           0069 Turning to FIG. 10B, both plots are created with a
  loop gain, defined as Ao (open loop gain), is increased also.      photodetector with a high capacitance of 0.75 pico-farads. A
   0063 Working from the basic TIA feedback equation                 third plot 1030 is without the bandwidth extender while a
  which defines bandwidth as BW=(1+Ao)/(Cin Rf) where                fourth plot 1034 is with the bandwidth extender enabled. As
  Cin is the photodiode capacitance Cpd plus the amplifier           shown, the gain of the plot 1030 drop off at higher frequency
  input capacitance Cg, while Rf is the shunt feedback resistor.     but when the bandwidth extender is enabled, such as by
  This equation shows that the TIA's bandwidth will be               being Switched it into the TIA circuit, the gain at higher
  extended by higher open loop gain Ao, created by the               frequency increases, thereby enabling operation at higher
  feedback gain from the bandwidth extender. Increases in the        frequencies. In this example embodiment, the bandwidth is
  value of Ao increase bandwidth of the TIA. Increasing the          improved by 40% over the situation with the bandwidth
  value of RL (shown in FIG. 9) and the feedback that causes         extender is not enabled. This is a significant performance
  the gain of the first stage to appear higher and that causes the   increase given the complexity and cost of the bandwidth
  increase in bandwidth.                                             extender.
   0064. The equations that define gain of the first stage are       (0070 FIG. 11 of a flow chart of an exemplary method of
  thus defined as:
                                                                     operation of the TIA with bandwidth extender. This is but
        W/O Bootstrap=gm1* RL1                                       one method of operation and it is contemplated that other
                                                                     methods of operation may occur without departing from the
                                                                     claims that follow. At a step 1104 the bandwidth extender
   0065. Therefore, by enabling the bandwidth extending              circuit or feedback path is enabled or disabled. This may
  loop, the loss of bandwidth due to higher input capacitance        occur based on a control signal from a controller or other
  of the photodetector can be compensated. This allows a             element configured to automatically detect operation param
  wider range of photodetectors to be used, which can add            eters. The enable signal may also be manually set, such as
  design flexibility and allows for use of reduced cost photo        by a user or system operation. This step may also occur
  detectors.                                                         during operation Such as by comparing bit error rates or
   0066. As shown in FIG. 6, a switch may be presented in            other performance parameters by automatically comparing
  any embodiment of the bandwidth extender feedback loop as          performance with and without the bandwidth extender and
  shown in FIG. 6. By disabling the bandwidth extender, such         selecting the option that yields the best performance.
  as by opening a Switch or any other means, the bandwidth            0071. At a step 1108, the TIA receives the input signal
  extender is disabled and the output impedance of the first         from a photodetector at a first stage of the TIA. As discussed
                                                                                                           Exhibit 15, Page 226
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  below, additional feedback signals are also received at the       provide positive feedback from the second stage output to
  TIA input and processed during operation. Then at a step          the first stage output to increase the gain of the transimped
  1112, the first TIA stage amplifies the input signal to create    ance amplifier.
  a first TIA output signal. At a step 1116, the system amplifies     4. The photodetector with a transimpedance amplifier of
  the first TIA stage output and a feedback signal from a           claim 1 further comprising a Switch configured to receive an
  bandwidth extender with a second TIA stage to create a            enable signal that selectively enables or disables the band
  second TIA output. At step 1120 the second TIA output is          width extender.
  presented to a third TIA stage and the third TIA stage              5. The photodetector with a transimpedance amplifier of
  amplifies the third TIA stage output. Then, at a step 1128 the    claim 1 wherein the first stage, second stage, and third stage
  third TIA stage amplifies the second TIA output to create the     include a FET acting as an amplifier and an active load or a
  TIA output. In this example method of operation there are         passive load.
  three TIA stage but in other embodiment a greater or fewer          6. A transimpedance amplifier comprising:
  number of TIA stages may be present.                                an input configured to receive the transimpedance ampli
   0072 At a step 1128 the TIA output, which is the output               fier input signal;
  from the third TIA stage, is presented as a feedback signal         one or more amplifiers stages, each of the one or more
  to the TIA input, through a feedback resistor. At a step 1132,         stages having a stage input and a stage output;
  the bandwidth extender device or circuit processes the TIA          a bandwidth extender connected between a stage output
  output to create a bandwidth extender output. At a step 1136           and a stage input, the bandwidth extender including at
  the output of the bandwidth extender is presented as a                 least one active device configured to provide positive
  feedback signal to an earlier TIA stage. Such as the second            feedback from the stage output to the stage input.
  TIA stage. This input from the bandwidth extender increases         7. The transimpedance amplifier of claim 6 wherein the
  the gain of the first stage, thereby increasing the bandwidth     bandwidth extender is configured to be selectively enabled
  capabilities of the TIA.                                          and disabled.
   0.073 While various embodiments of the invention have               8. The transimpedance amplifier of claim 7, wherein the
  been described, it will be apparent to those of ordinary skill    selective enabling and disabling is responsive to a control
  in the art that many more embodiments and implementations         signal.
  are possible that are within the scope of this invention. In         9. The transimpedance amplifier of claim 6, wherein
  addition, the various features, elements, and embodiments         disabling the bandwidth extender filters out high frequency
  described herein may be claimed or combined in any com            content of a laser relaxation oscillation signal.
  bination or arrangement.                                             10. The transimpedance amplifier of claim 6, wherein the
    What is claimed is:                                             one or more stages comprise one stage with an input and an
    1. An photodetector with a transimpedance amplifier             output, and the bandwidth extender is connected between
  comprising:                                                       the one stage input and the one stage output.
    a photodetector configured to receive and process an               11. The transimpedance amplifier of claim 6, wherein the
       optical signal to generate a photodetector output that       one or more stages comprise a first stage, a second stage, a
       represents the optical signal                                third stage, a fourth stage and a fifth stage, with each stage
    a transimpedance amplifier having a transimpedance              having an input and an output, and the bandwidth extender
       amplifier input and a transimpedance amplifier output,       is connected between a second stage input and a fourth stage
       the transimpedance amplifier input configured to             output.
       receive the photodetector output, the transimpedance           12. A method for processing an photodetector output with
       amplifier including                                          a transimpedance amplifier to generate a corresponding
    a first stage comprising a transistor and a load element, the   amplified Voltage comprising:
       first stage connected to the photodetector output and          receiving the photodetector output current at a first stage
       having a first stage output;                                      amplifier of a transimpedance amplifier having one or
    a second stage comprising a transistor and a load element,           more amplifier stages;
       the second stage connected to the first stage output and       receiving a feedback signal from a feedback path at the
       having a second stage output;                                     first stage amplifier, the feedback path including feed
    a third stage comprising a transistor and a load element,            back resistor,
       the third stage connected to the second stage output and        amplifying the feedback signal and the photodetector
       forming the transimpedance amplifier output;                      output with the one or more amplifier stages to generate
    a first feedback loop including feedback resistor, the               a transimpedance amplifier output signal;
       feedback loop connected between to the transimped               presenting the transimpedance amplifier output signal as
       ance amplifier output and the transimpedance amplifier            an input to the feedback path;
       input;                                                          performing bandwidth enhancement by amplifying an
    a bandwidth extender including an active element, a                  amplifier stage output signal from one of the one or
       bandwidth extender connected between the first stage              more amplifier stages and presenting the amplifier stage
       output and the second stage output.                               output signal to an input of the one or more amplifier
    2. The photodetector with a transimpedance amplifier of              stages to increase the gain of at least one amplifier stage
  claim 1, wherein the active element in the bandwidth                   of one or more amplifier stages of the transimpedance
  extender is a FET such that the FET has a gate terminal                amplifier to thereby increase the bandwidth of the
  connected to the second stage output and a drain terminal              transimpedance amplifier.
  connected to the first stage output.                                 13. The method of claim 12, further comprising receiving
    3. The photodetector with a transimpedance amplifier of         a control signal to selectively enable or disable bandwidth
  claim 1, wherein the bandwidth extender is configured to          enhancement.
                                                                                                          Exhibit 15, Page 227
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    14. The method of claim 12 further comprising detecting,
  Such as by filtering, unwanted high frequency content in the
  transimpedance amplifier input or photodetector output and
  responsive thereto disabling the bandwidth enhancement.
    15. The method of claim 12 wherein the one or more
  stages comprises three stages.
     16. The method of claim 12 wherein the photodetector or
  transimpedance amplifier operates at multi-data rates, higher
  or lower than 2.5 Gbps.
    17. The method of claim 12 wherein the method is
  performed in a ROSA or other type optical packages of a
  passive optical network.
     18. The method of claim 12 wherein performing band
  width enhancement by amplifying an amplifier stage output
  signal.




                                                                  Exhibit 15, Page 228
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                   EXHIBIT 16




                                                             Exhibit 16, Page 229
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                                       #:625




Assignment abstract of title for Application 14839747

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Michael P. Khaw


Assignments (2 of 2 total)

Assignment 2
Reel/frame                      Execution date         Date recorded             Properties       Pages
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Conveyance
ASSIGNMENT OF ASSIGNORS INTEREST (SEE DOCUMENT FOR DETAILS).

Assignors                                                             Correspondent
MINDSPEED TECHNOLOGIES, INC.                                          ROB WINDER
                                                                      4000 MACARTHUR BLVD
                                                                      NEWPORT BEACH, CA 92660
Assignee
MACOM TECHNOLOGY SOLUTIONS HOLDINGS,
INC.
100 CHELMSFORD STREET
LOWELL, MASSACHUSETTS 01851



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Assignors                                                             Correspondent
KHAW, MICHAEL P.                                                      CHAD W. MILLER
                                                                      7251 W. LAKE MEAD BLVD., SUITE 530
                                                                      LAS VEGAS, NV 89128
Assignee
MINDSPEED TECHNOLOGIES, INC.
4000 MACARTHUR BLVD.
NEWPORT BEACH, CALIFORNIA 92660




                                                                                      Exhibit 16, Page 230
